                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 1 of 134



                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   CYNICISM Smiley Face Hat Women Baseball Cap Trucker Hat Girls Preppy Hat Cute Funny Smile Face Patch Dad Hats Low Profile Unstructured Summer Baseball Hat Unisex Aqua at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/dp/B0BD4DXG2P

   Collection Date
   Fri, 25 Aug 2023 06:57:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VjE6L+BViCRwu0P+M6eh6fcPod5vfrPDRe0/dKnzab3fx+J/iJjVaKV5WgLFW2cmeR04ayUWRFVv59tm2NiZ65/mqm7/4G5RG1ie+AiZ2G3yvJoqTpPxW5Mo9e2HsP3gbcZwRTHNbV+QyqFb/vzLze5r9RWTxgwyIBys0Te/rfvOs69J9gs2qKbIxQ7kawifRWvtlQVNPVXAJbTe
   +nrNFkdmkre2C/8Ws4t+W8BCtaWzm9LCXoZT2avASVQyKKBpPKtQSy5S+VVWGdVgBYIhFQBwKWuKQoTXkiyPYWJ/Yu1dg201BCh+W7HVRcmk7Irlcdvm1MKRNXNhGbmNgPW+6Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BD4DXG2P]]_Fri,-25-Aug-2023-06-57-25-GMT.mhtml

   Hash (SHA256)
   440201be23688f0350444efd871ce2f20ddb6a1cc8d6a5f572acfcce307cd5ef

   Signature (PKCS#1v1.5)
aGnPyB0v2vvT337g897ClBu4EadWX7A/H1SKUJH7wgKZmlDbd1luJ6DsKqhFHpiSnG38WhOWqkYTlxLuK00rGqbK/rAvqBBjfWWIxosJH1IVUEQkIOWhJVwiJi2+PLRbr0Oy3ZwwvR9ehJ1XDkZDjdQwIIOxyCkJwBEODs9qRi1sYnx2xJNGC/bMbi7Ylpm66PS7w/
kLkxrghMaidVeC2T4BkVVSOQDh5R5mUyFTMNodDb0/A9jIlwD43/IN6DJa1hiwZ77zcO3WH2sCfxdRjBPR8DTeuESeyyAodrKIN4NX8UjIv9GwEGWSBaxcprt5uwxK2zboY+P19CFn8M7Ejg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 2 of 134



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 25 Aug 2023 07:01:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RjWXGXW9hbYlBoF4kgjKK4oEG3XBJYrN1R9JWwEtIPva3r+bYOdwB3NGUY2DaCmA4dhKq1EZ+fVipLaTKy7KFEbzCkpOmSo6apnRc2tRnLvSU6GMvHOEl+lLYJq+ZMrCI9Eq3xK6DrcKoWdVZw7GJPUMI8ZrSS5936vxePkuQcxBapCN9fGMgvAnse9oJtCMPUsigjyoABsSac7LYTIV6TTBlU/
   HN2Bnj8AqdhgbN0HubxEWzjY16XpQJ8Ltne4gMRBetC08v0yZY7g8yKxreiEX4nHsk6KyE7H8TBkO5LlYctMVSwspIsAvBOZkaq8bAMWOes+zE1bcVT+HymjWfg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-25-Aug-2023-07-01-06-GMT.mhtml

   Hash (SHA256)
   3e2e103ca1845aa521cf71f4b01a39ca7837d77c796862264a7d7d5c33eabf3b

   Signature (PKCS#1v1.5)
tGroId3rO/CyHF8jfZiUtXxysyOmPe8I0iKyoWKa1BRBY58To50LUIYxOEEoHJJGvTW/wBpf172JhcAZohLdZfpW0CsJn+CabNdTgsaDRR8Uv89ei8X8fjic7BxPTANuebrRzSor8KXO4iaSuRcWC1x9o8Oxey3kUBU6E9FHuun5Y1dUbBKw1LYIJMdMsyS0Dt/hODNBFmjRZI/io+rqL4GxhY+5aoq3/
prGRelmglPRx6uGTsHuK1b8MnFKO+zwyBsbdhhgcRuyoVk7vmMdd38fIhSB4IkXg04kQUnIBQXxsR+pF5m5t87XUkQ2Hc31idlREkYe6kacZm9ikn1FlQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 3 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 12:32:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PgK4qXasZZHOxhaYKdCMZkLumSvNDFoTYExLD9xcwhSbplCX4zScRFOO7PkqSx9bBOp766gndRGeuuERuVU6/c7SYErWk8/YGzjf1mMFa5fyIkIsT0YOO+X3iDLIstlolJJFpvr+YDnpE8+VcJ97tAhCdINfMbHB1iqGGuVKIOO3ZdQgMIiNVHbmHVLSWGqZyTboDKUD+j0Uaq
   +CR3f6wzSkCmjWzZn6HEcuSK/gSFU9jXwIzSCgnJZiQTJJ/0bBOHhlxSLTNlb+RMgLTdIC+eJiZ2ogweAKaaA3ZI2ECwmmsZUvw/C6iEUZXqbPgkbYphjk6xJwelBNMbOZ3pCHgQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-12-32-00-GMT.mhtml

   Hash (SHA256)
   3df99dcdf86bf5d67ab665e282fe55fa88882bd52d4e2cbe4186c4a5fcff3764

   Signature (PKCS#1v1.5)
PZzP5040udb0nTR6yobF8fq/AcMaXYNWzZB4bH0kodtGC3/gEEYfkg3qsp7MTmUVxvBa9xkms8yp3k9kLhXfgQwWui1mmNci31qJM/0jMAQx6L3hLB9P5hT5VXjTEAhUzb3w+a9FyZkt5nnHfe/yu4B5ATIJMz37gj/
yLUcsXESoBl1CiFrkY5q8ssb6PCr9pSEKLWTL48kIY7S8Z5eqK2H6dazGmqNvFqJ1vIvivBF+nCwywUJ+60uWDM6zXhCjXTLSdDK4pQIFGGQUlGTQoS6MzLe7DXKPscqRZVQIyzPnxvcameumMZYX/EaGb+/JaBUh4Bsxt4GsHujJHMh02w==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 4 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   50 Thank You Smiley Say Thank You Sticker Labels Logo Round Approx. 25mm 46382329131 | eBay

   URL
   https://www.ebay.com/itm/314714828878

   Collection Date
   Wed, 02 Aug 2023 06:40:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   odjk6tefbX0d7T2Vjhr0xlb78Pqk54AEgJpmeMBco7XvPT7dvVF96f8Kxjm+6lqPDttIUbtBjx/lp8pZuldUwCbWgZiAj/Xmd0lovL2PQi42s1L7sz/WEBeZh+NLhOuzhs3eqXYvnZNkUgqJUsk3FpZ0HS4Ng5tg7zswmEku/oI=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314714828878]]_Wed,-02-Aug-2023-06-40-51-GMT.pdf

   Hash (SHA256)
   3b441d0abb927e056823f0360f330edbb12ef8835c515b2435995e90baa8fb69

   Signature (PKCS#1v1.5)
sbCYulfEWG6DPpsfLjghB77s9oE2fT5jfNIshNheHFGedkz6nzdsemyfVAraA7wJ24sLwrWcjz3ODtTo23+tziwcElVtxF9DeTIRCANjRCUe4QLW4na8DIlQcYhsT8nOzSA/pfYGw+m2xg6Agu0hAge/CZdGE6woC5k7MWSpbjk=
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 5 of 134



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   50mm 90's Rave Trippy Smiley - 4-Part Metal Tobacco Magnetic Grinder Funny Gift | eBay

   URL
   https://www.ebay.com/itm/404307941798

   Collection Date
   Tue, 08 Aug 2023 04:03:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KjQGPlL291h2454ncfEGk2m8Ms7iwxs63cQhUM420jdSPp/IUM+fKnAuY0sTS78mlQ6gAIEdgrneXtl66spjPzi2t7hXKC76GOqoesWBzedAxk7M38PNYtP+oY5At0QaQqRm1YOCRQkG/ya52d40xe1FDhfqzTwAl5nZFc6O6ipKkzZ/6Gc7VKsjYpxQ3plPSToRkyO1Y5wLRqMra7/Y5Q3d6SQr/
   uEkrw1wbDabMibdE3EIR0CumomAAZPsE3GQVokCGSkiUPLockKO0W+5887q2RCjihH2JWC7lXULaIJgBVYnmNFNei9vOCkk9JMZDZOJ4vFsqnaYal79vpPY8A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]404307941798]]_Tue,-08-Aug-2023-04-03-54-GMT.mhtml

   Hash (SHA256)
   fb6912d9b5686528a90c9ea494cdc6eb00d3daf8a71ed65ebdf481f0feaff24c

   Signature (PKCS#1v1.5)
T0zDW7T7e+NZqpcYmg7qriPcAZ5KVldNO5QEuVsHmw4w57pXiJB5XHFn8MtvSZRmTFSjwpF7pvJUOJ4KQ6N30vo1mGzl69DTirLPfUM+qSneCX3rMe175a6l8GTqITMb7rcRQJaVDh47KiKFVqAc7u1kuUAA/VmxISZPRHccs0Wb5GQRwV6Iiy7U8Eox6Cge1nwX
+cj4klbugqP5vQOkcfmRXezI3z3H8ZNoHRYXkzMkt1sVWHS44+Q1uf7r/ttuIFgUFTWVazqDeNHo7VaMqZwRxYrEXTJmbVwpY9Smepi1t353QokLBzMmjgh12ylqyAer6jDJAxaopYtofI7swA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 6 of 134



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 04:05:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VLjOYn+QrYEwrzDD9UKVc0QmDCKxCSquaaE8LIESm6iZD1vNGeNtFKVglIjTc1XLYEc0kk+U30C5x2Vua4NPxk2MJknNqHdXQFKDczdm74Xep87veWYWbFXJ2alqktJIFxxH8IaP44bu+tw1AvWH73coy5NaADrGYj7zXA2sUn9R4Kle/QML5ZpvlHdrZNZDJ+Xmo+/
   RtCVGcmHu1JImK33tTehGGHwBblc8uVzTasLDm7rJlQtQd0+4tS0xjvauyhVmq0rVohKWyVf6va/JIL+QfP7J3Jh5NRUuLUdcdze/gJih8d0xM44vTzORkhKzVIMuI+xZNH0csCI02fqGdA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-04-05-00-GMT.mhtml

   Hash (SHA256)
   287950055eaacca343d4c3840845fb75fc44d70e8404f45349eb9bdd33f49ac6

   Signature (PKCS#1v1.5)
TI8Lzolxuky+vVqvrVQfEFbjD36/SNO1AENtSZ4xWSEIQnixG7hqUv60fwVkXHTkjcryhgDwTFe5T1xD+RCj1O6amOM7cPROVmG/7fWRA9Lu0/BdxlxpGwT7dMuzQ22C6oKJh9rJRtPzdATRhqUWgQVH8fiaYFA6lSLkGSKRyvbMc9hZnfuFqV/sj1Ze8Mm4N7QRhN3XytARLbUrifW8f/VUD4pIc0/
bqbNJ3TvAWbMeG2Q7DlAejLPYaCqE2XQIWBK3ZhYAi+D6CANf/vh6vmSTNpHGvi880V6kiW69xDlkuP8Ngz+z2peebS41Schjib0vZdwS0cnXu3GnKX1Q6A==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 7 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Glitch Smiley Classic Tank Top | Wish

   URL
   https://www.wish.com/c/64b80dd2a7a37b23528d8356

   Collection Date
   Thu, 10 Aug 2023 09:02:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   n6PqY0qhG52soemKer5KVhLcFhOjN4yWmOodWL6U77FxpGPIHVzpHwRbvIcjApz5e7nngZmdoyPXq7yc8t5t8Ug88gNU3mWzXUfEfw0JFQ4ftGILdDKaFrm7zNqBHbLwvyTf0eugzraQX0G2BxuXbyJm0fyYVtMEcnIG+ZtmkfVrbQuwyAl3Dy4SaThQ2mmspR5NHwll41b/
   rbaFFJtXEioeQ7G7mpIbu6vARbP01qFvMf8e4Scw45pbiR7a1J0IPG+ilp8SO3orO5Ewxb5PlKmGGyoIx625F46k60Fps8P1r1mkeyR9dEsPBBF0H4ypzR6HWZmyzupeXH2myUXwLQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]64b80dd2a7a37b23528d8356]]_Thu,-10-Aug-2023-09-02-05-GMT.mhtml

   Hash (SHA256)
   774f9a27482b8210ac96557bbfe246fa6af5a40ab6acd28e89ffcf1da0625b0f

   Signature (PKCS#1v1.5)
M8GXmnrU5N7mpPwSVeHlwLnJoIN30QwOFTAlkTLYuXcIbVLaYr/cezHZatYWHw1dv31G6BXZqMKAQZUVptOABH81HXubxump4ZmuDNhNqkLvTw5OjOI7OxqHhAWkw3FA6eFxZ+zg1NFnZ6VS8dMRJ7LI1Z30JyLWsE920LxO44s4Ogbu5W03LKyE9Ec3m0gBE
+AeJ263F30/5+gU35OpaTm8wmNEfkwGT8GoDP2d1rB9K6kEBSQmDQkqK8CM3IaT2c3Lu/UkQw6yumdR+TU4DENQLnjeEhRJv0ZlWMTiEgwymOCSgSYseBNRzfypI9iUzYOW4tSIcmjPTFQsZvz3hA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 8 of 134



                                                                                                                                                                                                   Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Thu, 10 Aug 2023 09:04:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Hp51i3/XiJFz1XEXYXC4PwIPGvZ6txTf4Lm921I/nM98wfpU4N6nXPcOddODQ9dpDiuDGGFczk9G5DKHIYEhgDgT1dzVsZE7sadv323NnYoAwWC8kv3DcFT6i333nYKseNFImCNPu5t4qkKXNq2IvDCrAfzh+o846+Wr8dcnrj8LuOd+ezRk23rJJVqyW
   +fOkgw98lTq0wgDJMdYeYoHbQCoZPYDxVFdgCtj1c0Vutmma5lbEBM7qxMXTa/bQ3mlNJHgeslcwj+9qeyeAJk2Go+30ox1tkvMFz+8CixTlLCYPZXjTSHtt0kWsFY1DX7xDsYwd/B7hWUMwJF3IHz7Rg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Thu,-10-Aug-2023-09-04-43-GMT.mhtml

   Hash (SHA256)
   2dceeca3658b872b1e52778b21ba13ec4edc5ced47aa674eb465fbabe7dbf0dd

   Signature (PKCS#1v1.5)
AkXwXeBOv7f4jKJpKEOu1y4xck+1YSUMuJ2M258P5m4wjejaDINASW4J/33qx0cXYvJb1xfGbiajm50ncWe4tZX9s6JE9KtJWkxkFonW5zzKVVQPhXYBLCycbxPtazmweVfSjq1toidDRlLP+v3Q9WJk3VViYJt4TaYyrmRTQUjFEXTtX/
LnLcLZZ1uduVkfK591HDDSlhebMOApA1G8oLU7GRl1w72X7GDIy7URvFKWHUeU8hLKXdN6oUDjHO9hQuKZvg2qU1UCNJESSdb1tRkfQZJwzfARsESksuvnHkDBPE46w+Th+wLv9X3cnCNcb7ggRbK0wI4B9kuz55OI1w==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 9 of 134



                                                                                                                                                                                                                                            Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude 1st Birthday Decorations One Happy Dude Banner Balloons Kids Hippie Groovy One Birthday Decorations Smiley Face One Cake Topper for Baby Boy Girl Smiley First Birthday Party Supplies Decor : Toys & Games

   URL
   https://www.amazon.com/dp/B0C459KG21

   Collection Date
   Tue, 15 Aug 2023 09:29:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   dpGCg3zS9F2tcQIROve6kTBi5v67Vx+KAD5Lsw0+Z9oZUm1nFBpkBS0cPuFdvIY7hg7nBXl10U2e62OQNmbOIV41awFPstnqFtVUEj8TEly+GNxNm00d5kNJruaqChvDJUXBvlhRbSfo/XyxLBhGhf1lA3ZNztmc4k4fSbE1MJL7yVRUW+Q9dG
   +rIryBh2r9YysRvJv6BwA1qlON6rodhvY1ZbV3LmEpYdOqmVnMUVrV/KktOAbyT6lMoiXtBkurZFFeoZ+3ZIqQjKnQdo65VXqYdkmpRRm7Pst98kWWwJJ6Leq8Clj6/nHim2usbUQNARkIOUhezRVfQEhvgiFsEw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C459KG21]]_Tue,-15-Aug-2023-09-29-37-GMT.mhtml

   Hash (SHA256)
   e30761fa5a2df431cbb97119b20f490abd87ddaa4a504c0275986c7c006cc7f6

   Signature (PKCS#1v1.5)
cS9t21+NmPstdkMd+iPJVnpm+ZaWYeEsYAlZey5Bw0+YzuVvGOm4JhiY2EE212uufEW8TAbxmfyOvyEsNKonuQfUcNytsxWh12UvuV75t2jYrMAQJ59VNZKpC0BzZr4RtX6guEzxhL52u863IdPUHcyVgfZZh7T0piIG4ys9rb1StH7DaofhlWt0kDSi/L8ZvHBl9Yyh6Ec9m/
ZDgWkMcov6LOkNMymWtRwPZOg1JDViifD8jGVJuoCIP2fBW/FDqia2pP3Ln5UrE1/iJeFd2gSsLhcjvDLDTHYtg3kucMCSxEizdBcmanDHtETqrYXAD9RYZgCKZ+99HfJSsSWW5A==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 10 of 134



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 09:32:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   dMkxQbU3HzFrvJMOPtLvoqlNYZpDcMR6peAMruuzhu+1duhXz62s/aaa++BGJrql4orJoGO88T8zmlHjnknoloBdEl8s+BwTSTZrxp/RKt8I8f9xB4K66/LvLbRL8S5a9Jb/heklung+U8HHO63M1iIwWZezhiMckQXeES5RZzI72hgahbN1sSQFlSfjcRhppnvwTKIV2LRsiuO0M
   +1eMr1mtsCAgTGsy6c/l1TvQH7eMrZod6KCiA++iNlbaOhq33RmjCjkCseMusmzLOLXnKcxeAF4b7nhxKxhRdLqkGj0WtDX2tFoB/5HBZbufLKbEWWlzeFd9cU/VG3o3PIuMA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-09-32-27-GMT.mhtml

   Hash (SHA256)
   0413431d196d95014c4f7a39e9ae1b0e2589f61dfe0ef7f83900a4e49d2d1fa4

   Signature (PKCS#1v1.5)
vWBLs+RjaJ3ihENiXzX8Z5YoDE4syjMXpEhX97RNGkkEE3NFopQtqUOo+kKx0pL8SDngiGXqoc+RVOeNn6vMTuyQOHxdB+l352sjUWHm73TQyJJp2HYdzD22kyiRD+fDJyW9xXdhNvjwd4BRxzhTKVUN3ZN9wLAZg7NVo
+6pujqX46MQMK1a7aFPeUrrUNuB2STzCl31kaaAAek9sOXu4DuJ7dBAekk4bgaMPIQiTuoXTwO/lCwqGLEPefaP8sy7q0qj0+JS+eweRvnvp6b8/CpE2Qc4+lx4RL7IcmLHcVHQVXkXh3V8KgJWS5Upd9vZyD2xngqHXjQNzx2auiA/qg==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 11 of 134



                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Smiley Face Toothbrush Sand Timer Egg Timer Kids Teeth 2 or 3 Minute Brushing | eBay

   URL
   https://www.ebay.com/itm/301768144820

   Collection Date
   Mon, 07 Aug 2023 20:39:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GD9vSRAa5HGqeLLEmE96RFbqrbwMPEnaJfbFaLY8HcJZ72hBj6yAKqqRDqPpBjbp8B8YPEW0iGxLaJbvbftmpNzxe1tmhc7mOGklejf8EJGPjJjnOkKqdKl2gZdEi9gDyy+Nm4tGN8I5Guo/bcZ3DyIqcP9fE03f
   +zV5CByGnDsPtGOQSp8lnluygfuT2AYFdn1GLWTgpaqtFotOzJubx2Goe6CSOGZ6q2L6Ldj+XO8hbH1xoiMRo0eDr3fwJeIp1U/C+1HtHVs/31MWX56a+nPgM4VxqwrW0rnQ39Zu5Rx3KCLpwBdMDq0EI6HGdA+gpj/OE8jnSlIyd3DyZmavNQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]301768144820]]_Mon,-07-Aug-2023-20-39-25-GMT.mhtml

   Hash (SHA256)
   eff3de0b1ac01c257cc89357968014533b90ff51a113e3b82f686f363ffcf26d

   Signature (PKCS#1v1.5)
MwrfmeBrz6P8d7wRhOdC1JMnVygwM93+y8UYRqUqSbt6MIYDppMhHIUnphJZDCVPK0US7+Wbgp1cQUaIyhFNmSyerTG5OmPsTRuq5Lt9fxt1XHScRcHYfseIMbTqsnvSzWJ6Lzv9RVOgkC940OFFbh6Q519ENLny/
VYbFSM00EuaH4Vp7u1kD64dfsRC4QgiJ1DCh30f4F0o5KfTt96gX1B70bAAjdYm4OjbJ2oKQxHV58ar6TO9fH/J2aqJ2U6NYPqKweuzwrediEybXupqxHl5gAOc4nSNHGKU5jDrYwq6MFwHK/V9TB5aE58i0Kd/c3tvOS9mZpiult1ajq1QMA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 12 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 20:40:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XCwN+DSRjuD+/NqDxXxXoQiI3X2J+FbXDWGtYS3jm7it5m0QarqXg61uh5oHlnkUjwux1JHqrzNrsViJneM1bbQFxQIlgJr3m7wIqNmfo6ZgCLB7vLBQ0mhhojTdWaDOeNJQMqIPj5a3589qL+GD51YNGmvQdqVo4JqaU0SP6BqCumDvRkX5x6mD8aTKGqiFzIfBFf4eU9unmA/
   SXzuTCHLvBoCIZR8aVwEF4wx642kDG0At6DCD4XQJOgAQow1wUsJiDO3Wgvjlvp5v/L4pd4wYKCsLyCcGcmo8lBqvwR6AyFVjXP1iHSsf8mDNEjfHPfeZFzj/axb6ExgjVrZGaA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-20-40-29-GMT.mhtml

   Hash (SHA256)
   99759d0580916d5d47378dc842cded87dc75aad4e65aad92b1e319cf376990b7

   Signature (PKCS#1v1.5)
aEEvE5WxAqq0uW+KO+uHmKs3uEnl2+zJaq3yKkWQjyHN7hTr0+cKSW7S/UspWqljA6CNzOPfkNZjMeV3xsH+802iUm7p31Rn1WaLXy5LnBFdaOBJ+CAw8g6QhuK4ZljCgl0RWMqQ7Y1pBGdPD/zUoignfErDa2DukHvikWVoOdqo5Dz1RMXn8Lkx43odFrwdrs1M63PT9egZ4UjykdVr+/
bcR7u/0wW9Gk98bq+VM9DGC6hUtO3EX4m/cQpV7xTSopYO6ojnyOJheVYkYF12TycFwOp3gGv4UDe6bxDZ+ctWa4aUpgiGFX7g0zMoWtTr0k4THvraeDN3hNhPVHJqBw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 13 of 134



                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 18:33:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   byr80qiMLNjiR+qOiK6TyeaA59VM+x2HPSpMNwjRY7vBfNirDJOivOG6yPAGWmfH/xw6Ib9bs7BpFBIYwVNn6153ddiT3sEOuUZXFtMo6E3Em6cX2CnmraBeBBo5GklPBS7/X
   +SkG09AMNJyFdeDhEBZn40Xadgs7Wck0W250DPCf7uojvBb2DNbvQQmGDF80XERIYXUwLybKMldb6MBbSaswireFldKL8mMDwtVlOf1c0fWNhnigVDIKbyovO+vlijpMiUJHwDN2vaK6y8MjCMC5wspyhRgLyMnefWVoGshGEhDVP/Wd/1zblioLTdY4AJPiiww2oXV7ETuwoWxDQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-18-33-48-GMT.mhtml

   Hash (SHA256)
   eaf18c5ade677212ea9350f5f07595ee7a6592f88636544413069fa1452fe7cd

   Signature (PKCS#1v1.5)
WXzkWcXGXkgMPoYR0tPyO9PTz7g6F2RUwgaZaXCrsXUOrTAx4rbZjobqhaX3tPzmhxnLM6BEeQn5fdYyvbkVQGsJPtCOvGfBRLd0UDiC4unp5kdV+i4VzzQhMiMDF+8DG+zuiNsmi0bE+kdUkL9/
ID7g1RsVACEklPu/0GnobWVdPiS4xi3hiFDmAkzwWz33btvjvruK84n3+ywUuGzX5wrtk1h1iGLr6w+Q0dBbbnoIhGCi8lMBg2O1LaJGiacBIy4Ii1/Lef1rmfYE7EsMNF5Fa9V4EMI31VlWysWezXXWFIRzb2xyTvNY7HJQzzeUhfuRWGTWsVpoEn7F8OYxQA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 14 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Kitsch Retro 80s Large White Smiley Black Heart Charm Pendant Long Necklace | eBay

   URL
   https://www.ebay.com/itm/381764786187

   Collection Date
   Wed, 02 Aug 2023 06:25:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   V0+ADu5cfMivKuTzwhEWRDU9cQjl5NZ6eTRJi7rUzSN7aXs3AMnB7aCqNcCBH678AvH30eCkGNzevcQ6Uvios377PuoCBnPl+FA+UpO6YrRBPqC7d06dCPwMvjII3x0zOiwT4kvoatJ7k6Au2wOzQDVKs/ODW5llPhXRo66NMTM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]381764786187]]_Wed,-02-Aug-2023-06-25-04-GMT.pdf

   Hash (SHA256)
   70e2baf9ca91918358f2eaee445fcb59d621b2798cfb89a351d8615913d5b776

   Signature (PKCS#1v1.5)
Y6zuWdyfkCicKfbAvcvbE7ZDbuAi1vsufwG8MSE2p5LYFDGaxUUWWBGDsF/ARRUbkki6zNzeDNv50K6oic7jpxAc/Pm3TJQ1VMbWtKW31N+pFrnu0PSxFZthXeqwv71xsCmQ3T+5T3Vfh3mMyoqsUi9ggDNeVuxlHRBKLcQRXEg=
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 15 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   8 Emoji Self Adhesive Hooks Plastic Strong Sticky Wall Door Hang Smiley Face | eBay

   URL
   https://www.ebay.com/itm/165304403656

   Collection Date
   Tue, 29 Aug 2023 07:09:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DNroT4j0XhiG5tvp7zbQW3qYClXiJHxGiefhlxdyOAtgmMxZ+8ouzRLDzRLdzw7eFvxqQU3g7Hx2JYzKuu8PefzT4qWon3BKvqQ2YevH3YTQRs21qKQg3hcQVaGPq1FqdP6VHewpZSM+TKnTDyeoOLkv+24feQwI9gaIeAkm5ZY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]165304403656]]_Tue,-29-Aug-2023-07-09-59-GMT.pdf

   Hash (SHA256)
   f8ac07e0503d42a82c47568a3c83c7ba081dcf739847133e50e40e9f572e6f3a

   Signature (PKCS#1v1.5)
PPdaPRj40YoNgP+Uv4FUvlvU+Zmrzb4AUw/vjzvc+W0utJ3Ey+tG4INNSs5bZgVDvhKGXsYiG2Jn0uGoHa+aDLymiXs57fomhS9bhGnKBmFMs/RAyPtA8JNCanngxac+e8+ylZVAJPPQULmskjvz/eF3Pn1I7d1M4bjmLjxqB/o=
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 16 of 134



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 03:01:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cjqQsBvH5Uyqrv3POJzIjtv+6+RUFL1abvqgGy2hHXIeN13sIZ+dhUA1TMQubtDE8eyRQ5ydLIv7oxETBZXSLYrZD7M93DeaFkBo8ve8uOxIu8obMf+kYi7LyM+EHDXv1i+eeMab87zwa70B74VcEZCcItX9FnTpgOP67ty/o8bkC6atE49RMqCrUWQrf9bKBtChANP5WoatfF5H
   +o84Rb1HcTun2SZbaZuU6+w2s5T7Hl52HETaFb6ZSQ7BF0Wvxkpjk9NExXb3qApupu11jxFLle896vhV4CAGJtfhtKDZO6gtts1/RWlmeWp0h4xDDfveBoEU/Out76RVF6hq0Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-03-01-18-GMT.mhtml

   Hash (SHA256)
   3b95fd56d0909af3af3272d76a6ccee0b41c803c27eb1d05943bbfc0da839a47

   Signature (PKCS#1v1.5)
FakmHKxlgi4hrYCh9kGkPv/rgO0fm7y6e6Sv8MMbt4DYHmw38TTSRoH15xhccJ6VROtB++jU3MmKwMBuX+yjPNnt1QrS1pcYEL46dZZZuSLnUgOwFuawN2IvBzO3Ny7Sxw+J3Y40DTpYhsWymvaRkP68jzFQK0r/9XPf+uZx
+ZFc4LyiWyOgyChO1DI7i6u9O3eUYMJZakbvFTOuaUFk1M3BbqkDw5CZG9qxLVBXaVLzO29A579yExZuqLeV7znbi8iJCrMhWgyfHz0zIs5r059TAGP/lAh9ex/3XWDUPcK9o4ZNH0yDySLFm4VK1/t4lQzOGQCc++G60VcpgvglhQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 17 of 134



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                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 14:29:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NN6IgP/o4lPaABS/nNIxoATrYKdX7SN7urCZCM/MQdOyhoUSdux8fmcRtzW4r/tmFdmQ1jtQTuEBCOLxAg/HT545omPvWutFmwOHlNzaC0EZy3SZy6lohfVSzyI5aauNuIIoYLAnu2SboOfonBz0nL7vpSiLouTQYEo4CcuhWd1D8P9BvH/JYm+DutnLjlyltuWlR9aLAjVGAIJiL6H
   +rwTlnEgWsW37sUkCozkw4wi585+3o4F8bYqkiZhwBriyMBcpTH4lU8oSVkiMbsUpFeMb3ajdeLpjP+o1NdESl5x3eqKVNK+UOw0ZeAEYLqZSP5C/GhsXVaXr/sv2mCS3nA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-14-29-00-GMT.mhtml

   Hash (SHA256)
   9cdf0226621b3eee5dfcb831b6190e5c7cedd448e8bcf5de781eece968364ef9

   Signature (PKCS#1v1.5)
GFR16A4QB6qnKMTSmtDdbT1/bRgV5w8sL4Uo9a9ER/dCWAiHdbTgh5NfsbOWj8sQmccQBMO2Cn+tHXNZ+Hq23wGfQUQEuA5Oy/87ZUxYufH8Tdyxey50nSGtB+w1hTnx2YLdcs7f+P/
Qt7ugloZy0fB4JPFIHXSXTqdnSP9yyKAkRbApaxBOHGX2mgmziL80yKIUoU1sd6+PGY3bGtQNqpAoIdxV00xylVBNWqqJRPv2u1A6YquSF/phv+CpsnUAiNLQGgyHv55HMJvIy72Zurot7Smq9gVpRAZNPjXQaLyp2/Gk9/GxTHPZletHlo4XkeIY2kbNSr0BSpbePOo9Bg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 18 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Cute Smiley Desk Telephone Support Air Sac Finger Holder Grip for Phone NEW | eBay

   URL
   https://www.ebay.com/itm/314428786708

   Collection Date
   Wed, 02 Aug 2023 06:53:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e79xg+oai+5gVEpgoU95NyGrU6Y0enPdG7e3cI/Atw8sxJ5T/6E+V5K5mNVSiDyHcdd8hdpaoKmOnG2Q+j9/oSujdWVVoi6Dg/pKzMjNPq+Fj9SykaQewlGK1ljeaU1TpMws181njNSlW0dRIbOC2Wu5BkHgRUTpnPCTYuTzWZ0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314428786708]]_Wed,-02-Aug-2023-06-53-13-GMT.pdf

   Hash (SHA256)
   ec104c7208dcc39f4cee5447710d56e42b639e0b6741d4b6cce7962745cf5a7e

   Signature (PKCS#1v1.5)
AXGsm0xHg2vExD5LaB/fL9MZuiU88NhERsw8Jve9COP+Vbj4rDXmUC9cewMtfuj/9JI/ahEyiDnBF66m1EXF1u0feleNqkU7O4XhMm3lAlMIfEilcSHETPMEJK0X5SrBZd0myayPLHId0ZmYLEda77EO1hg1NetJfQxVro+iaKE=
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 19 of 134



                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   1Ct Round Cut Simulated Diamond Smiley Push Back 14K Yellow Gold Plated Earrings | eBay

   URL
   https://www.ebay.com/itm/234012753672

   Collection Date
   Wed, 09 Aug 2023 18:29:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jlI6QZqaKiqkcWuJMkIIZGDVTWkVzGtwg5Nxk3XavqXZXOs5r1MsUzOqJgwLUyKYbE6l0g2aUOepthK4Hygq6gKd8VZgDolKadwHqu6iNjducwHq
   +JM05hmAwRKCO7RuOOYcBWL4HXqsPoGp0hn7WuQqThxwg0Jd4ayvR0KryuBRXKhxuoB2ajQryefbg1i24O8SKHWleLR2sUjBMbZRCeJjMEC6hprNhUJUE62F00a6OGqbPq0rfsBRnwjolbVD0prx2LlUUOQSwLIsDwb+6VktfyivjdijdnmVk1w36YU7Ssn29RX72IpU+aIw5tlcMfmCtlezxuU3G
   +et0smIGQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]234012753672]]_Wed,-09-Aug-2023-18-29-14-GMT.mhtml

   Hash (SHA256)
   ba3133832a10b529e29755b64a4f45aa45fdc772dde06e98d1eb3e65dd0cc40a

   Signature (PKCS#1v1.5)
hSiZyEI8Wc+Z4Ev5Xb9M+AvNqHzOojezMcUAwR8bt3qbAjAjWI1rIWRQKu4uqQvftWaDFFWoU8DsnKHITwyfSgZeVkGfZ+mROn+GcuA
+UNJfpO3IFINIvqcjrJsmLdIAuLm5X96Kw32a1Lq2Is8C4SnZWoqnWudYGMfAbEf4uU4m4jbWDNMW7p0oAFu0bnRWL2DHQCyMHQXFmDK0ASTTo5GzSa4LlcpPebu+kidWjf4ZoexwB/KvPcvoDkNVmw9GLvRWJt/
xAazB9ZhdaD7oasfT5XZa8fRU69K6vIRIsDdQAi7mFckLcEx4h1mgeEZECBuoHLxuGBJEBA3THU64rQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 20 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 18:30:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kl5itLJS4LZRf0B6Ikd8mgwIG1r/An1GuKUg
   +tgThZ4nVPZRp71tBoLLrA365Z0RuBhKva4ceG7ER8h1XdTibuSa4d1NGC7Fs5Iw7rEiN3pfvejqUrMmrvds6bgfuDlSsl3OS0W3h4VD8wTgAIVwrF98z1iaXtNrYivfuoKuqMxDsxamTvdIbxgGyYaBH08on0eIqHkxUgifjZ0NJK84YSYN3JWNoPycW2K9wieYJ4QQINkfujYWgXiShuHwtDTAukqODuf
   JF4odf9uL4oavLskK4YePW2vi8biIJc07Lwz8sl8qQXLhfqSZcXZJnLnumgu2z9h/3K5I8sxqf6YaPA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-18-30-15-GMT.mhtml

   Hash (SHA256)
   78ed8452531425d1a6c60db913ad0b513485e59b60d4ee9a8d41b5ba0a7bcb5f

   Signature (PKCS#1v1.5)
OIy3TJ/EZaYMl/HkFMf0dv29QWrzKxZYMBzbTM4esXV39qM8wQ7/HFhlBuf2EBrQktabQZugqtUyC/FsQjgJdOosimVQY7WJMPGe2XfSM+oCv+uhzIgqkLlx/s/tZDTaqhP5NgmvmDFLMtaGLpqqu36/TH2HmSOjdRG/grfpAZD0X1/
vd90lnAx797GFSAVCr1S74aD9VtwwzbKFl9PacymrBXDzVLcq3E52cdcuSzOJkEFw+uL8ret2fp68ziswh97QvG6PjI2S/fZPIzr4lr4b+Q8wIewo7g3eGiorzofBebAelipu/PqzoRlZgq4E6JClpGxiN1NF5NTb8WTfig==
                                                                             Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 21 of 134



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                           Evidence Collection Report
   Page Title
   Amazon.com: Retro Man 90s Smiley Face Rave Tie Dye Lover T-Shirt : Handmade Products

   URL
   https://www.amazon.com/dp/B0B3XFM8DC

   Collection Date
   Tue, 15 Aug 2023 13:22:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   fn4Y+MHKgGr9Js7fRlBMZVlJpGs7orv0F+E7Yq+4ZyxxZHWnE9pZ/QHrgy96ZZrAU804tvDGC73P4QsMIliY5Wa+iIoKwbvIbzwz/g7hmOgr0fCub6g0KdK1NKqTs4IqEVw9fs8L++zL5U/tTHCsc5Qi+krXjyYgfx0vs8hWvGzfMNCsHwKF+GFLRW0FGp4wLI7nPrUrIs3xXmuLcAXf
   +KJg40SxQNEdjdFdZWdcwW0ok9bTf/3MKJzcMs348nZjv/zS+8lTbJ/ttaebCCjMqOkwz+RHAmOlZr6dlxlc6plTbZDhSJOj1aLYUPF42FhtXAdwih6uN3Kg71bpH44AGA==




                                                                                                   File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B3XFM8DC]]_Tue,-15-Aug-2023-13-22-59-GMT.mhtml

   Hash (SHA256)
   a8ad8e381d2e8ad97843d9d99fe15c73d66417ddfcccd1f5aa7ce434965d3f99

   Signature (PKCS#1v1.5)
DgCL8tim/SIQmr58OqPfQkM88UoQFK+37TxFedHCLlE9ANZet6I5QZa5K+hOg1fey2d/eewLUVjF5AGzEK9vZLDG4uJK4ugrT5AavRYIRh2+DdV50QqFXbLC62q7VYatLmj2w7lTYbY4xlW5zrG97PTmFxuwZrIOct5QCg36knwt8XutHZOSqNBtUeENKP4Pno79xe//
XLyPbJvts2bl5YDFFmFuO4RmqBS2/K17OAcUl0TFGthQbBbzpA/pPeOvWRk4UALn+Ecmb7i9JBWSoMpU6uVsWXZ3Tz6ULC8qYjKjDBCtOAjfsT6j8KoUnCUrfXVZFO6KLUATeL4ymbukBA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 22 of 134



                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 13:26:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   LOcO2oN2826XuNr3UxTNOIsG5XtfqBKdoLKLsOiqs9845udF9BwuKCi5igA/0EgSAILkhTfaN9RTdNi3Lm2wDwGErN++hEZJgrzNcWFyPj043JBn+zbFTWRRKWcOI5oSWomdWpQ55cQUtxTSPLkSiLSpwEKYfAZecq9UeqxESW/2Rt/Pv54Vv2e0ZOoM0D57UZ+OodVFh1eO0Idbz/
   lxU1437FQuOa14zHOCAsYuBcJHNSG8+s5MAn6afnHjLs4aBhSv1YjzvLWoqqim1Lt4dOi3w48Uw74vCTPdqEBdYhcsw03CIMFZX8XqKUreEv4Thc0m9QRkiiWejk7adwwThA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-13-26-03-GMT.mhtml

   Hash (SHA256)
   0334054f9e2cc58aecdcede58e6a103b1c0df52df0321cb89a03ddc70fbf96d2

   Signature (PKCS#1v1.5)
JBBSLbzE2mpR8N/R7BxAAgCotPvAMl1lbnDaEyQnITvvjQmdXmciLI97JbrHz7KMauz8750CpWm8S5asZb5C7d27nAslS/kSNBMGyU5Ggqxt1UtmNw6XQ616T4/9iB+TzIPYe9AUp1kaAoxOmphbtyegQyEkKo2THyQ6RcJbEeOnnFqp0lzw2OaOU/PPZ8y4lHhvEMDamogx14YaQvhJ
+chsTIrg510N6/LVubJe1omnQ5Ef/GHyoQnMooYK5ZrSPRNPoZ60B6VukAKlEi7cssKHjyBayM0VTJN8lJA4zAZhHJd4/55ifqNye6EySMR3uH+MBthvqtpYCx3lQOUDjQ==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 23 of 134



                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face - Neon Pink UV - 25mm, 45mm, 58mm Button Pin Badge Acid House Rav... | eBay

   URL
   https://www.ebay.com/itm/304907297651

   Collection Date
   Tue, 08 Aug 2023 16:49:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J/v97jmAhQworDVlpa+Hl5JLkH9/lvbhN8+7FuMpoGkKD/AZUDsRQyQ+KBHPqOWCuyIIrt1X6/KK/YT6iz23asNhDnPs0jHNk5oCKDC7M9weLEQkZ2LxT4ZmepeD7bXuDukmJpWT/PHLeNAa9FxRkRL278+Rkpst2KnLztxcg9kjBAp8itxikEZlBfmnqxfM4Xh0kYgxiky+GKXN2BC6/
   Jpr7wkLoA0ynztcQ9UQvV+j1gQGoxxVp6iNUyBONaR0ptM3MsZmMQ7ipvrKCfRaSK+1mZvUDJkCpgA1gfNJ47QO5dV1vWsDj9U+4QUk/Wt/TlBT8JpdRsi2lAfkcRdp3Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]304907297651]]_Tue,-08-Aug-2023-16-49-32-GMT.mhtml

   Hash (SHA256)
   1cd34e3870d03d9875b6ecf2688b34041dc8ec47948504548eefe4f5ea736a65

   Signature (PKCS#1v1.5)
F8/AlXRH+FchdyCR+OtsTik56nMySkMZ+ce9CtRSOSQC0l3BIijBL8mvGpH8Sl63xN5P32z+Gw1BJ9eUXUwkyXC8zYonAAKPRDqOLbUU5xDrMNDjJ90kBwFKMOhiE/LtoNpBS2pxCW
+YttUH4Zaolna8qA4ystezCZHRiM5BbLK04Srt3IWB1rng07dyLPbXM2immyNSDzSLowBQXQSkSZVilhu4MwgYc++MnvZaDgIrdEEbavIiGWeCqZxo34hAHuVUGOMhpKrbG+LeZveCcWpMSMMqWDT4iVLVb15n4d8Xn9jPEshtYEaK0JuPUJiWjr+hjfGTWm/AXz7K1xdnOA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 24 of 134



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                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 16:51:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CGMeSHBQa18ySM/g/98jvrVQiFqMRy7DGMfaO29a+YJ330/MgWac4DTjpO+zqKe1wmCBgY/DfQi1fuSOUK9NwQzG7GXuGt2m+/93SWp9llNiqMOaVjH21/a06UjeXIF54QvrBgEhX9rsXeJo2DdiPfFVf6fcN4zfQ8tgkVPo21mQfrbEA5Zyn9tDsDcxNT4ISFH7f3v/
   nUMtGnhWa5II6M9wLHbz22/J9pkkL4Vg7fTR1F5beismwKKKz6WhVxskHQ0tXjTKWUiy/KKOYGJbL+qlNTbZvb3/IWcrK7Y7RxZaE/0A1yEHUe+gDEZjrBerXN/7yZtmgx07oP9EVr/SlQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-16-51-12-GMT.mhtml

   Hash (SHA256)
   38e2f704a10d74f7511250a51a6e29f1e4a0e500c2db4d3cd7d3ee2a10adf62c

   Signature (PKCS#1v1.5)
kSYUxv6X0GyFCU5YCTiPWE55Zj+y3PKDCEEXnH52yR8yV0jNkAp1Ze+vmU7SQuJxTYbTAOGbIJuQsowv0W7Dwg4kmLAu3QlK0LyenP/B2v9mOurYSJjTJUH++NmLXD6qootsvrLA+CWtRdnzuezwTgxkN2lxwwni6Y7tvOf53LfeDoFPa/
hQfFFmVzpRdhVZ05XhtEOR3xWVLfZdR6MGik1ESRBaIor15t80ZJHHcdiziuP+1jxCzbXzqgIRSJdEgNrOfQ5i5p/e8BGOMkBUvNwM7Cj4usugodi04QVjBjG0WI0W3ScRoWwY3ec3OX8qpL1QnSjzB1HoVF63gwkEnw==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 25 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Tongue Emoji Earrings Hallmarked Sterling Silver | eBay

   URL
   https://www.ebay.com/itm/234721322574

   Collection Date
   Wed, 09 Aug 2023 19:32:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Mwsr4bHHbyumHz+z+mb+KbpFyqCj9F7rrMgRPllYtJAW2VCMGlUugu1lMuAU+jQLuEf7lyQ9gkCtxKz4Z0+GNzMh2CP+YilpAk98ukIhL2PnR7n6Mwud4dBaYqPVRyYjGRSr8DUpSXz0gWRm+AwF6agRWgH3gnbQMuk6gwxFEx9GRlyzheK0sk3fbrrGifEKT+nmZZ/
   QLQyVlLPtNUItFqQ8oBGqeHQikpJJl7wu7yXLn44k9skoMoy02ULyWqcMEZxTsk+EEF97PlWF0cK8KdGuTksWtoT5Mc2ohTmA8EBblcrDKgSJ7qBTKErtV1lsTUNaWE2UI43O0HSuBxGXwg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]234721322574]]_Wed,-09-Aug-2023-19-32-10-GMT.mhtml

   Hash (SHA256)
   b252c4b5d16b9c84b8524b74362720d207c6ea4ad7ceb4b4071bebd656973b5d

   Signature (PKCS#1v1.5)
QW4ukeahCy+Ujnd7pl7JK4W86XVGQmRIQ56lrW+IDyEsZI22xQW6W/bVomBolwwv4/8zWGD6W3YHEyOWKUSPYQbVYjHN3rSVif0Z2PE4JD/E5ZOqRGHLfi3xCmnp7W2pLbmHkbT9BzWowdla/QhaCwsX1L3SJcNw4kCVjn36rNR861ZWUHOBcZqBR6p/yZSCFC
+kUxxeYXxv5Mr737vXX4asuMX7C+sMMd0SxKNTbZizdJl/epvnPBD9hNyocjks2iJiGQXhCnbdCoJ5dX09LK/ATAIpMsXQCGh/FO2tiq3mfaEXC80ocon1VH3CcnJ6zJdf0GRdsgl8e7H2plW0cg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 26 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 19:33:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Sr35IOcjWsnOjrUhIvoEqQdt8sQJK29xpVChY4Anohy9G/aknGRCL8DnNG6+YT7TXJmZAkNxGzBIa8BE0fWi0c9FaHMiPJ3JBIwWl/TG2WfiQc/2vrqqANSOQblSMyHl3Nd7BK4gCLz+7ZmAf2VFNhTXhZBIrDUcgdujjQ/v/LiWPdLvIymJvt1KrVpfYo8J7xVq7BUmwH971fOr7K2vI7cqJC6i
   +SHU1erxiQhLrKy5VH3KR19f9LPRHpTN9qlm2LXWdG3Trzvz2tOIWc9bDczBHOQc9qSYoD2daR4EKDqYY/oRT6rLnDW/RVGuzTrLoU0It39NwPgAx7+4PbQeLw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-19-33-25-GMT.mhtml

   Hash (SHA256)
   16f283a86917bb50580e9de483c5b5bf0b9e6619e1422588ff75aeabe680c7a1

   Signature (PKCS#1v1.5)
G2N6YR9mA24rioDtyH6mqIUXaiCvWyJKyDCyrFaDr2f/KDOSRG40AKJOhPpPXjOiQZYzsPj8Pkne
+s0dVVq6OfIDhiTh9aDkqCIvhpv5blHvk8wwNttoKCweehAA7QaWjNkVLmLvYzUNTYIdycMzWTvElCZxVCeOSulEyeR9DT4KHXWl40TxMXwXbetT9BzGPjAHhNA2IjvI7u4w54ZfhchcHJvy9dMS2yAYI3GgS7VROKUS2LO0IGiiGbRh/38azgvm+HeuuGR8QkkZzgAB
+AMp85j6XbpnLWJjS7rhWP6recJlprsztSQWPjJ0HbypbtbjCkzdBwVcIlzCnbW7og==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 27 of 134



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                                Evidence Collection Report
   Page Title
   250 Count of Small Size 3D Different Mood Smiley Self Adhesive Plastic Sticker | eBay

   URL
   https://www.ebay.com/itm/334468110505

   Collection Date
   Wed, 09 Aug 2023 20:05:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OUBKATHm6NqvW5/rXVxft+rh2FEzlH83nhTH3AaEtPpExHJoJi4bzOfId8xrT4dIIN7yG/qc6PVVgegBKggKevE9sDKlSdH4RD3uhGcwN/mYl6IL8mCGOyHbTL+Lr7AtJpAo0lK1Z1rdXlD6ov1ivnQN3Wc+A0zI5vfxzcM0X3n5V8x/1xvi51hDGRgfhRC0Cy+B7EAob1wYXF
   +HPyA2RFmFpbfHJRfgCaoVZy21GL7e67l1t3yyJD0Atcm0GKcd0vRVullW9VBPajBtTar22HNuLDC7U0ufC7j3T8KlpfFRcN56QnU7AtdUYyWavKZoCiTXHLGjuU/R+cJuzSrCFQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]334468110505]]_Wed,-09-Aug-2023-20-05-46-GMT.mhtml

   Hash (SHA256)
   ece773301d66cf4c5aefc6d76705178c5d20644728c6bf13e4f1468993b843f0

   Signature (PKCS#1v1.5)
jUadzzGirGALXptGkfpdjfQv+nBKVPVmqQyGvHNOBxuzDRYvcXtxAyA7O3WBTyNCo52fu7yhLnJ8ZcSf1oHGHhbCFjMuFS0DvF7DrbMGdN5MfjN5urlRorVC2Adqlj54P4K15h7IZ4gKbSQluF0Xn8flYW86WzdgGvtwgqPwCsO5S0/QB4zvDEkmptj9s18Z2xzKD3HbxVDLKP5D3EB0vwVJR3q5q
+XEvXjsy/rTKv7QXtCJGJHnKQoUnLXzduBLz8E7V+SxZifS9WS/v3SO2xB1NEsQAYRpWu+SsYNY0hKqzU/B3whM0a+kyIZOVO+KwnDD49aLiwV+CqrcnO/56g==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 28 of 134



                                                                                                                                                                                                             Investigator Name: Michaela Borja




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   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 20:07:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J0M/hB+TVRjFo/HWyqNI2S8mafswW4cSARGdkqW/Ky9EY1I5AGCL/LuM8rcIJbLYbisR1/GQj5tQGBDMsRtuhvh0nEVEfspH3EEYxQ1KeYDxruC6Nh46sv/iztdIALnewY0pxdxR2E3m24+99sZ6fVitIFQZEpbSbWRrz03UDCOtGtxt8dCHbblQzpLUnW0tcIQ+oy/
   zn7PDMRg0p3c506ch4PUh1KPeL1TgSAdImK8iGbkqKd1FLGSfNtqpomxyWGyM4l4Cz/K7znuhB8PZjgyhadcrLiPC5izhMuv4okvH1fEA9EstWmly7M6DE6IYXXYcO5wUZhYUYgWAia3m+g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-20-07-13-GMT.mhtml

   Hash (SHA256)
   529fcd761b0ee23a5d80031d0ad7e21432194e503e26c0864aa37f3d5ac16626

   Signature (PKCS#1v1.5)
PBAOj3W2JMTnSHIV7C0imr/NEr/nuWLUazWdao99/o6uCF8LQt2Dj8n+0kdZ39e3c5mkPHPUm7+D/bMWa1Hr7h1yiSnwQp3DV6DKgNnGGujJ+T5qN7iqP5HNmxwvOTaLxwuuf/
KkcW5Ts5S83WnNRtHotvNBbJU37LmIkMaNBFIspz0njsE7LIp2+xQFrhuDzy1pZU5Wrfb309vDmWAmMcDjJDYWh/vTegLsp5iK5OgUUGP2eyfUTgJTzwRmjCGs7eRC92Z87k92N18l7J7GlIvWn+zvY1uD/bJ+KWyt9PHywWvpkh2vDFnf85SKmOzjQmGPeZswUnKWdhrzQUVGag==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 29 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Collapsible Storage Ottoman, White with Yellow Smiley Face | eBay

   URL
   https://www.ebay.com/itm/204407868033

   Collection Date
   Tue, 29 Aug 2023 06:13:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J3wf/IYwkRVl+1uqPvXn5/YpndreGL2a5q81lB5TmUHBMQgPt5rCuVx/2xRBHglVYApX5z0wuELKVB6oJZ5gko3Vn1ENngjC5kAj02D1bQIkbjqI78CUdNbTXIxWU11c9TDVlmFSl0iz6I/o9PfP4UXM9hhoAhnWhx6jIj7p31s=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]204407868033]]_Tue,-29-Aug-2023-06-13-13-GMT.pdf

   Hash (SHA256)
   67eb946de1b124321591b47accc2c13b1f84dd5274bbb100f2d056e6114fb0a3

   Signature (PKCS#1v1.5)
mT8CvxKS3ob5FWdckBlN8mMqIInWSma45q4JIPzJtZ8p1ZoKFhGbUio6FCT0IasyR2jIofprAWkqkGbf1nrzcChe53jF35DN98chm88Dok4ahWz+9Pg4C77KYbBn6AzEe6iL1IAPAGDbQSOusMuVMUefE91fNQBFC8Vcguv7RZk=
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 30 of 134



                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:08:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AntvMxYZZ5gXSdWwjvQl5YAdDHizZa4ps7mkPEBgyRdsBuLg+aTJ70k15GCN4KvsMo4e98DJ+odotJqQ4l3Zk88UvbP8XPTb9Wb9b+INlpMzXP0gMUjgs9AoYoXJLDswYRjTRjiLKu3ZesZAgUB2QfbqsJI/KWUiXfZ5FrAyKR4TAPj7Ec27NUYadPYDoEals
   +AEsh89b6CP2DKqemTDVCGVtLWZX8ToQPjWFHqWvslFsTdC+QlQ+CFnOuVzOGlN7kxGdcBUENHBcyl+DEcx72CEV6XB+WtqbqJqJkPIRowCHyJf2+khfnUieGptNUicI0DTPFgKc1ENm5KHYZjPXw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-08-05-GMT.mhtml

   Hash (SHA256)
   24b52722213d8b0b7719c863f88f68f55489684cb306ea24efd59bea65fa084b

   Signature (PKCS#1v1.5)
SvSYsv3PtTujJVo7JwwuEKnVZosDotSjvaRQXJ+hyXAqOUTUlucLRd3Nn4gv99LXl6TDtSMuNddrCAAYpAysa42fi16DXTBVn5nL5bbNmmbT4DjdkDTLi8q/dAlTK8QVsNhrN1CaCAjpdX827hIJurz80M7Z4B7JpX9i59YKQKimqIzh/
DYpykgs4LV5mi2y7n8wPOxzwPwp78tAvqwS4jZXsJfbi4d95glmSIHorg0EorM859TwuOzScVTOwlUIOw8AQJ1OQawQiY16JIYFaOjRu4oKv6gn01oXBIcqZ4qEAPN34Dsq6+OPrwy8B2zdCvX3ayUNFwQOf8P4hF7phw==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 31 of 134



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Mechanical Smiley Face Kitchen Cooking Timer Alarm 60 Minutes Yellow : Home & Kitchen

   URL
   https://www.amazon.com/dp/B0BYTXGCF3

   Collection Date
   Fri, 25 Aug 2023 13:09:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Nc2RLQnVjbTDJgF/Viwij790RuA7GroBFX5JAZxpOpnlt4YziGAjnaE9qWcBmCShxwKxklEhaJmsGVICjBGzImCss9Q6ibSrIm6ZlyRuYFA6iczxNHfyjPIVk20m1bOYDwJxPvcLYcrKOyStEqH5vCI2TUqtxAmGDJgfre0F2cpoGwVX5mQBGL
   +KVtsTJeq5bst7Upz8uI80+YHIgIStRrBEAIr1CdNlE0yXK+0h73dJysY5U2h8D8T7CkFdxc8QESF9/QgG6GGms75o9YJhLhzkxq6KsmWo6Ijx1aVNYKyYPxRquiQwE3joHZ33VW/+FFBX3w3eMllqT9Rvi3ZASw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BYTXGCF3]]_Fri,-25-Aug-2023-13-09-55-GMT.mhtml

   Hash (SHA256)
   800f57381434366803a9e9e9ebd0829368da167b3b71dbb86c219a762eea0165

   Signature (PKCS#1v1.5)
hIv36a8mtQEuPMy1tBZo/ZWan2/4/+aON5AGTBqyeIZR34f1khJrU5/
l8tJidAtkWLK2wvdAWef6ZnbkzoQYSV40DYkEbOn47NoNCIxArB1Spm9ugWosn2WlGmDlvXsew2iIsdp2kvFxOOgGYr2i8S2wla1RkO5JclJClvLD10cneqh7RMZyOC7ZEcJPlZsiOUnn7Dmap8g8UoxA5CjpJCErP70S1tNQ7vfO5x5XRyziZ+ZCu7b7M5kHmOsqMkp1r+6EsOPuMDDQznnbC
+0L9GrDZuFmrErfkDp11O+a2CL80l9c/0YsB+I0SGKOpH6XA2uSzypgaRws5mUpy8ErNA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 32 of 134



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 25 Aug 2023 13:13:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Yo04Pc8XHXe2FM7oPqksYt4v3wgV8MyilI0L//xjtlzkX202O0OOiQ/oc+k9vm40DeIVxiFtxRDOneHXBLY5CWpay9GJOggYnBGiJJNfLvjDo9qGjnRHho/Oz8anOi5LtP5jwHzRnQUq3ah+KYZkcBhh/
   +kvw4ORgK6964mlGHYnWbZUa82WtbkmUkfcbNdk9peE69TZ5f1Wnbapn6MndnTvLfOb6+9+wCaT9YGLD7XjwgnWvnLUAiOlDDj9GUUW/yH/v4IKCob7YjhnMwoecJQUzqaysy1V1+Zy9aD8Sij4RZb5f+a16Prrxy3xs3nX3M21hGrZcgVxmmtT+p758A==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-25-Aug-2023-13-13-57-GMT.mhtml

   Hash (SHA256)
   de7467c82fecf6904ffc64d8b53fe385a30f6dc9716032b88ae80c9185bbea21

   Signature (PKCS#1v1.5)
LxIQqT6NVYV0r8Xi1OZ1e6sn7GUkRD5Bvb5xSTi1HP8PvgEP5PBiumC+XYSm5ySoYevkoQJNJl7IUkO2K9rXOZ8IbcgQRSY2IkGF1a6EoTjpedn5QI/bMsaoAPXdVot/3NYCrRTKYiFt4A44EmFL9Lh9YYsZRw6DdF5+Cv/j24WjfLZF+SNOBfQBWhqMc8/xIg2Ao3PgLQm8oB2XxXY5kxjcCoSm
+hwfOxYQFFKO7HcUsD6rD5vTjvttHmzAB8010Ux6/VxVFm8SnkKHSk/fYK+X4AT/S3rZ2etqLKZ7VUdtPrbRrWzq14HHOrfN8JhiI3dnOzdPDg54bsRYrDhNSg==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 33 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Aisszhao 24pcs Mini Rainbow Smiley Face Springs Toys and 20pcs Yellow Strechy x 692762989251 | eBay

   URL
   https://www.ebay.com/itm/266297216226

   Collection Date
   Tue, 29 Aug 2023 07:09:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VcWXVjPjvjZQQdlFnoVzDwU75aeg5oVNA35vGhLt60+CgAx0QqHG77dj9u9qdrKbLDORcX3YixaQ/eKZJD5BrfCOCYdb7sdjmqDx4MDj1b8gGCpLFjuQnskY3KTvtFecZz8qaCID6NLonomzU4ZGraVAmX5iYolothcoJEop5K0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]266297216226]]_Tue,-29-Aug-2023-07-09-12-GMT.pdf

   Hash (SHA256)
   33c7809b25aa8de1f5bff21f69a843714551cf03ee47a8f89a72a0b22e6e0e7b

   Signature (PKCS#1v1.5)
X3yrtLL1QBqIAxpQvFyLl/hf0PImmzdSIBQ9XH1mGZIQQ/p4fmHh67NJcGa3FyMhDcdODH/nllXLnaCpuPQtQy5y45rWJyX7Fle4Qdj76FqXIFTZ5KTotd2AzJn6e2p9IJcwv90RBUdgWt/w3oow5Wu7/GHsMRd5hZ438uAMMu8=
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 34 of 134



                                                                                                                                                                                                 Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 02:50:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e/Q/N91fuo3iqoObtZXMXejQZdfmJ+1JrxJ7zTeq13HvcoVgZNgPmN9wBAlSx7NRLEE3WXIFL+gFwMqaPh8QijmdjH3HxWiDJDjGhqNHES11R11wx+dySnOa0p50y3qgxR9o+lyHmyCWgedKbqubU9UeEY2OqQmNR+pywipN0fcWio2QEPBfLEEh+Fh
   +yi91C7Vqq6cOvYQ/60Jt2veSUdfDidipW0sM2LaH5Eu4QIXvWdE9mOC0lsY1LXHqA5DzTd7yrqWVqFyWVNLI5GCVSqU1oGbG5mZydkONCzijjd/dNnHzPyJidsu+EXCvXVY3c1vUw80Ca00q1rimYtNM3A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-02-50-49-GMT.mhtml

   Hash (SHA256)
   bf08170eadc409263c5911b25c54e0fbc371a2de1cabc0e9f87c3f07b4a5e0e8

   Signature (PKCS#1v1.5)
BH8/to870qQIAngpeC9wk0VbO90xOTJ3N4tbrg5SekH4GvWXzdXha2VO6DRIOe8uIgb4AWaSYKqHu3pEx9lWxmh/F/ZnmkZCAddEJNijN64BQho3GqCIMtVI2XUD0AzGRW4oZ92nIUsSONtGe6Av+t2WKQrFNo6vSQwW4u5XbA
+BhGmd3EodfxUeTbj7uPRRneF17mSPTk/9kJkBq568SyfK2TLVcJ8icKh1JByJ7bq9c77O45ToP5Y8KKuVshdWDQ1Atj3G2I7zND4gtJ4bm5USYfvh9SAxszU+5ZemzU111Y06R5IWZwapL8Te07/Vesh9dNj85Fr22HCOgVAYPg==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 35 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   2Ct Round Cut Simulated Diamond Women Smiley Stud Earring 14k Yellow Gold Plated | eBay

   URL
   https://www.ebay.com/itm/374204115803

   Collection Date
   Wed, 09 Aug 2023 19:50:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   F4GZopltrVhxWJ8VbDx/Ad/EJBols59sGb437l0q4oLVlUIIOBS6zjQeSYDToDd+Da6+gl6p/TmY3WgMYaY9YFJ/AmpIqxkC+pO9Upyk1hR3Hy1XHgqKiF5SP/vxX/d1CtRxZmVicA3Ia41zNU8bbqNREluJiqMTlTq/WkHV1YgNLJZtxekskLPT0xtJWnRECsB0qU3/
   JaXWl8HCTX3fDuxa80bt9Q3r55gzP5PFWnBTMKBqa1QMxg/4wiMnzvhgMIisy3Llvv5lJ8X79hz1MBNM130+kluVC8G0dM6/0NtiUTbia4UF/0PwbxHHu3SS4SBTvqfVQDUhQLqvKYzUjg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]374204115803]]_Wed,-09-Aug-2023-19-50-49-GMT.mhtml

   Hash (SHA256)
   8547d450289e7ee0ddd38f069c1ab60da0340bf0ad68ffd99cd917b5d4692cbb

   Signature (PKCS#1v1.5)
D8CTtfdKpeKAg6TOqdEHf8KqaM+Ld2lT+0u8IxyBNAC6+zMpIfjcs82b/Jp0MqXIMSBBgU8mXglpBJwY1jCsz1u4INp55k0fZfpaxIJuJZLMb+kI87HHhhT0ezpc0wY1mrv3GGM1RsDfFN8uPhxqipfLLSCqOI/XY3WAZ6EG0gXS0henMIAkatTj5x0gPXP8T5VvXnjjfLeDXdtCR+fTUsBhvZ09OJpT
+167e8piEyODPEF+iPdnPSSEcGOEfIuIfVFeb/NuNHonc0vl3PsT2DKMRPsuo61DJvV4Sx9fuBXGViWDzcP0UpxNbNSt/Tkt9Zt0LY/TPCcp0E7Z+zKNcg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 36 of 134



                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 19:51:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fnkFPNBQJlUtsW+qR7AAi3i1VTJk8mC8RrL2b+x5hrpjcNe2RaSw2gdhJ+qrcMnagQRG3S9jDV5AIAOinO0WxQk17Te9dPEbsDsZZXRj465bivBb5tnUDsZqxcYQWs0/Jr5KZTVKkN6owZyWewfre/gKnOzT0HSZpIwQ+JRQmw4R/SxsgsQDe3AkA2+GaoNK92JWe4SZeQ+NTQw
   +388unpxiF1Hos2QsWE7awfZtuuEVCmuqbjcVjftuSoM8fml7+9RLl0Ehs7HDOd88LDoWCMhbdgqVTFdNG4ulveo1lTnnFkJwE1pV4vJ28FS8l/L/gekV3GDVY1GuLC1AGyJd7Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-19-51-44-GMT.mhtml

   Hash (SHA256)
   d8175634b8474c349006299d8ee8cf277c8e57a096c058bf2ae7fb2086027b07

   Signature (PKCS#1v1.5)
dMeJ+gyGVJvdXITqq7yEmvtUUxCYdXEV65srOoHTZdPfVz+w60kC7WYpgDwCbl0I7OYUSDFYzeg0t082ImF32LZFHDbdVNeFbZcDGsz54BP7FRzGM+LVfD9L4jc7Bdhpe/AHc/5PqE75fWQyKBTuSangqRNj4FFE4qqdzA6UtgKFtC1wDIFNclb/nJ3eDxK9/hl0DFP2o5JYdNKdzq
+LqRT1hnnw1V1S9pWgqy/h4+7OMFXAdLFc9IU96LET3P5ztdKCnLkcH96pOxJ1cD3Ew2parLSe0vSPCd6A/P9NMkq8foya+q1epgn1gcTQkj/lX1Li73i0qxBF1zS7qTF1Mg==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 37 of 134



                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Light Up LED Motion Sensor Smiley Face Evil Eye Crocs Charms/Jibbitz /Accessory | eBay

   URL
   https://www.ebay.com/itm/166043390009

   Collection Date
   Mon, 07 Aug 2023 14:10:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   a5cSZwNBoQQ7OngQf89XklDK/GRZpOVOrZuEHd/0JQ9RyPqc88yDxDZ3ocy3QHbNAOuyplhCGo+TK6drGhdQv7r9XA30PTww0XgKqi5vuWbpU7h5Cz4I1zXSHKk8zXNFbFjry5BL60ISX8pTaBPsIxBBb053/v+
   +nGzaCsXso5TzWem7m2wsFt3BUxvpKyDZQJWjXLMTiJNV7nWoPWLTBKJV6WE3yJjs1xqAVgIopgddN6gA6o3jXdR8s76KdI/cjx0fso031ccDlZlTsp69kFHe33FR3rX332F6qqHdyLX9467h2+AYe1byOCs5+fTl5zQNRA5vTRvbkwtvzaioVA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]166043390009]]_Mon,-07-Aug-2023-14-10-25-GMT.mhtml

   Hash (SHA256)
   efb5d75be71739805dd50f02b593136cdc6d21a6115424edd8aa9ca5e7349461

   Signature (PKCS#1v1.5)
NEvWrHCzX7MtJMEJK24gTyBgg5tiP54GbsUJ1oKNcRegXPgGUiNhCxmvKrB70sFpYmRSyieYZWw28KAtQ8hJf5SBD7TdaZnh8S7Zk68B/
Gnc2gwWLA9J2w6HVuQoJ61ah8T3rzeUI0XbPgBzaIxyQ2Tt27NqquIWniaqtaQho1mqD5hBYow1KyojbWq6EGFfHNHy301SKo1V05xodomFxZFskGsIIWG0+KWfj7D4XdukhnqajBQNURjVxQW/QQ3PW3ZiluM4zCAg1jusoxwuPlnYIQ0PsDSskLY0dtU6pKUAZ1EKzzUZvFD59LnfYx4En90JPLX+
+dHkyeLBZ4VP3A==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 38 of 134



                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 14:11:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fJYngaXJU8MTaRm24FU49tUy1Blsx+iMFMacaRxE1d+tdp+SKKiMDi995MPy2FYZJ5h+n8WDxdvOztAOHBYbb9CFCZ07kf0fDatfihabu76wQhecLSVK+OpsAzvqFXANLb8U4p2Z0eK/IKRfbkgON0K7+6dos9i4SP8EOiDQOk2hqXzpfAqHO5hIaW8ly5XeATqa72FDS1/
   +6AjHtYLSZimGJfwgy7f9epnZ+dQVi1+Ek25CHflomQjgEL0R8QXboLvN+j1wXBW+8c4nlZLbIEnAbtx3bMrP+K2pQpX8ocDuWMsBgDWtNlSCEtp69mKVLmaSa8FeWoAyXqUagrp78w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-14-11-20-GMT.mhtml

   Hash (SHA256)
   8444bcd0ae3c85317f9ff0a6f07a0dc0a7d03298741a3c87c643f56e863170e9

   Signature (PKCS#1v1.5)
KEz4zxkg74kfZlRZtbHxkAF9rRRTSYn6VaghkO8O003ZyuqbljcKh2465wUOU5dV1PuOf4yYkqvcV21PG5yHdrXMCXIiEaltcE9g0hIU/w2SPCBTRIjHkHr1lvBOsata2tkA/kg8ovO2HU6h23B32RwEBWPqUuGiLcumybIvJQwIInnP3rDooC6XOFnvHfehTDL9z5Fz+KA685DD4z+HAI
+MnLul1mn5Lfz3kQofMK1MBJdmS55pAZYVgQxCANz9kWSCiuhVIxmAVSe0sTYQUcPG+D/n9V+SiTLm9c6pPjegGMSXQ4/bFqJSPs5DW1lXdvZTi+3GcW1KG82k+/eAFQ==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 39 of 134



                                                                                                                                                                                                 Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Moks466 Set 4 pcs Meme patch, Patches for denim jackets, smiley face : Handmade Products

   URL
   https://www.amazon.com/dp/B09C7DNWN4

   Collection Date
   Wed, 16 Aug 2023 08:08:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AdrlWXsRJeZRAW/3W9BW1uJEco8IMRoceYHNtPC5kEw7hYXai2j28MD2YIJNdGHFPQV8GctHkrn3cf6CzZB65zDv8M+THzoftIgmEW6YRxgSD0GPfAKVXZXUfCWRwAGQGlsQ+JtX+bO0xL6COjetPy3EvhUAx7qwyAehhjf8MDVBkVSRCeQu10bt3ZCUs1QeA7Q4pLy6aE/
   fshSr4EhaZ0F0BkxA+G+Oe0UyLdPR5wlTM+No+uxvuVlMr3wHUcReIBUpeR/8luh1aKCKWO3C6R4AAdFrANoKbhreh0naloiREfyKqD4WnniVD0WlwKtbpf5fxcqVLU+iMd8VjW9E3g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09C7DNWN4]]_Wed,-16-Aug-2023-08-08-00-GMT.mhtml

   Hash (SHA256)
   19022e081fd50a8ab8730677369f60c799325b1b18c14c4f75bc54f12ee7b08b

   Signature (PKCS#1v1.5)
UafjgUA2SmUuFTMja69JZu31eCPdUZgqMrzuV/KjHzNjUoTNXgLdsHfLyL03l74rtBtyyPNr6aAIVEqSqKNcRRbyWrqkMFnhZ9pkdZJHJc13UyrhLljkEw9bF/ME/g7v6eMshZw7TDy70lu0dEqIsTAlEhC/U/EJsCE8C
+11fTBKuwsAqblEWRaAwh/8cyLlvpDJFlXkQE6UDtkE7Qr40g1D9rwbgTOuj6d1INzGf1PO94WueppVRYzvTmh0yFwiRyRe2oquHN4r5GIjr+pj8aKj1Ap/j8wRthXubwWSVC37tjpmWzO7Wjj796SZQy1tWY4Y8rgazqCLmg1hmXK82Q==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 40 of 134



                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 08:09:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mY724TkxWAm+UzgLQuaRRUPIZwqe+gvTgdh2eSLA59QSYsJAcNFpne1ibtidBB8S7pqtSOJSIOFZqBQyAVD/j1xf062DyT/Go/eMWLsZI0oEGkKzzXOWHJ5hiWsONwYzJKNlHcO3jpme43QP6EocONICnmSewp1w5LomW5BC3WA01xk2oZ0rGR
   +ur4NvFwSsUGSIqQ3q4TJDxFJjVFhzJAZtW9+JuS9VyCxvb/TB61Q4SiG7/iELwsa/l9jp2yMG0LBaJ3uUAsf2kGvGKiLBo/lK3EPV5YnF/s7HCPeDIbe0LWJEa6NHjDodyPNvwWnUZsdD2oIWoB/LLfIXWUQ+/w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-08-09-56-GMT.mhtml

   Hash (SHA256)
   6278c718c36133ca47aea75a43e510dbc2a8f1d68cc4aad84a2e68202a655f11

   Signature (PKCS#1v1.5)
PVLuCkjfCNw1AgfLcgr4/A7ilGWusD3JPpJkehByLazSCWubaHMP3lDgcbYwLkao8nlyQbFPuphk4Iy65+UmXYmE+Q7ZsS3eu0fyFjO71nhaNtFTkSj4qHLWNHAqJYWgqbxlJ9DTBYuML0ogFRFEG39E/CFwa7Lk1UW1eOjN8UbUoOibltA0pYxxQ3RbLnOSk1TBF
+azk1q8ULZ2IPDP3E34UWGrMwJK4KL0XRf5xAmrmDoZt67YvR6UH7efqhKIb+aKZMXdMGV1xeJb6ewIhPYLMfC/kYgMR2Lxf6SrwCNwYebB14Y5XBszGIbPGDtoHynYXMWUqySh5qsnKDoOVw==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 41 of 134



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: enhong Personalized Smiley Face Ring,Fashion Custom Engraving Stainless Steel Signet Ring for Women,Silver Gold Smile Face Rings : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09811TRLN

   Collection Date
   Sun, 27 Aug 2023 16:50:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Xu4994AUFPDD144CvKdHJpLfWh7/e/TRGXF69JJfNIT4XA+aDN6tVivSKvj5+kZ8YDpNj6SdHeK8rZ8l9+kADrqbxjEkxT/zTh/J+kCrBWTAH59EPovWsIaZhM1dSTkCC0NdVa8M7++4Q+uDEfWQXdFg5OIlsl0XDaVbS62Qdj+/BZLW2ZU933YqKBdRSVFKSuZfC+n4khtYB18bewJt0ZL3Iww
   +tsw7xiA4pR0WqorxC4N2fFUDFylIEgjeuWXr/GI3OzSyFbtg94bgawUvfjI7NV0HioY6ett7YZYLYew1rpUPDFXEBFr8V2vNUvObycTz/RSyI0A1tfPes8cc+Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09811TRLN]]_Sun,-27-Aug-2023-16-50-35-GMT.mhtml

   Hash (SHA256)
   b5cac0e342c04ce66a89dcfd48172e5dc2b0df7ca1fa401c7a4bab47fb7c6f2a

   Signature (PKCS#1v1.5)
Vz4IBdwQY7MGFRznhane/CS0svGkRSwTeTwJJ6qzFiRH2vQw8dhIbqUxvIdBs0B2p8sG5n0jCLuhtI0kPJYi8+M+abt4tD6VLB9EQxJSMME7EA7ljmvEjc9PN5lPYtR3FW0XH9/
HWpGJLYlGvioZxbIDbVH496x4OQ9UnhCmOUOGT1yx35K8CwGXA0ywCGxseqFdh0IVNBls0UJeZVy0rGC6F5MMxw8AV/mBqdLlL338bMJcL3DgdIn6wHU0XPfnc8Wm4FFpOkQipoMMk4yPZj9pKtuh3BP395fzMsgZDcebpTMASqH2/IAKrgM7vNLarvPRrAF/WWYWX6Rc+nXx+Q==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 42 of 134



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 16:52:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BZRhoFywPVebVkuWLTQFM1RgTuOq381d8FlhX5I5D9H9dx/SoKzKkPFpxAKG9VUnfs7xP950WhR9xkaoxqrYQ4vpwVWGtrxCSkuvq4cQGM5EzR1hsGdwUwJQdpqPGwd4zTzkooaqECikN86BSVSGr2HusfEhoEhZTs81wmLZ2t53IN1qeCW266iVeo1ekMyPwrHdPmzdeXNXf6X/
   VaEkHKXZQFEiI5CZH9ezmEqy2TdIzWO48gSDSs7/hDtxUAYW/qjj86Pg6BxlksexGhMNr1gP3eBynZbWDPeAz+s159jAAK+1iO3L+Q38Wv/4DPcLszT9zUKhkBS1ElDkG1L97g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-16-52-06-GMT.mhtml

   Hash (SHA256)
   e32b20bc1623884a9fb475187cb782ea3f248c0c96c06e26f1466efd56cb7fd7

   Signature (PKCS#1v1.5)
ky6jO8jq45caLNQ27upJ4Y1vbkNoQlu64aZd2TO7wMwXCuwv8tXHpd23zcUnglu5gyhphSTiQkETTQZUF7S4WO3Z/znoC3x5xrXnQhpst4EKUCrcfq3NzfvYA47mHPSEpAwsNvGCgTbJCumicBuus7A8UBTaI6uvXEA+v0C4OgMzbXsZsG4y7GJc6/FBKZNA/qk2Ii8OUqulnnxRqaskk3t
+Z3Nv8iSq5nAfvFF/VtP8+dtA1tiG2/u1Ts7gG75f0Z9MpLqyXadlrSE5jqHy3ncT6br/YM6VTKNhvXp787IbMnw3qZdSaQZlWV2ETNis3bGol6zf73GGvOxHp2IBhA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 43 of 134



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                                                                             Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude Birthday Party Decorations Yellow Black and White balloon with Smiley Face Balloon For One Happy Dude Balloon boy's 1st Birthday Party Decor Party Supplies : Toys & Games

   URL
   https://www.amazon.com/dp/B0C7KV3SC7

   Collection Date
   Tue, 15 Aug 2023 09:42:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   AlmRfN4BZNPpqUf79Xe/G00G2gVLd1oKGb70PYZAf6wGPVJ4aW64BiDc5WmvPMJf9XMVV/
   YYlLm3UkWvH/4FnmCJ8QsspiWbR7ES6oOZD1OdBxsFoAUIgpDDAs5W/95kwmxWAoMysczIdKCro3HFUsP70V3Z8gH3RihEp9c8KlDoh44HkxFBMb7MadNhN9W1s1D5jZ8zhLXXduvtpjgKJKQ7kYWAkcj05scaEkqMrx2s/C8dUZSuhu5Ez2Ugxskr6K
   +vRXeBqpJoFzxJ5vTfPLbp2929ugLXFejYc3c0wOS1/tlZEw10rPiYyIwa6vYcqGPL6BtNvAUNyiTfK1v0/w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C7KV3SC7]]_Tue,-15-Aug-2023-09-42-33-GMT.mhtml

   Hash (SHA256)
   6f0452168b47ec9ab86ca22d7c8e4f292645ba85e8be2b65ef8d00ebc7ed02bb

   Signature (PKCS#1v1.5)
u8QGTDyIE023RE25pLC3j2ApbSGNI1g1BWxCDJLEgiBQtraXB2ixM5IvNE5n4iCboDcWThEtUD7AUwIFjO9P9j0Qg3iberWCy5P81q6qhtt9NitxXbAdtzhssM6UJ7IZPser3n/TfMQZ+FT6v5REAkbklo6ohbDq8ujqX8vw8ClL6Qvm54L0GFgHMDMe6fRmKsVKXtIKk/
CdPUFPoCnoQjl4YdQLk10UDBxSGe0vAcJ23mgSlF0bpWCccMBgcS30HX6Auym2wq+W484XlmUpGRv5po5v5IfqNUtgc4SO6oWLWA3LMB/6fgEwvpGfaEcmDYngeCrvLs1iLpS7T1zR5A==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 44 of 134



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 09:45:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   MPdNa2cOOIc5RffTcpbt87HEGIj7YKByHaWnD6Z2UGtsqk/lr5aRo+8fE2OjaulRT1K8kEsaFWeYoKOGSdeCg1oJGTFlMnbV7sFHj6nRJ0Sz8IMcrJ3/8fnVls3mPoKt4nhhoRhG3ELFnuUv1VFQaQeJX5tlZ6RAdKvE+bwQDNobOz5m+nRxVB1NAE+//tze1rVSEBUem17wIdNt44M8IXlRulEgFQ
   +/rClip05yPGTxmR9YOfCbXIHC1Oqs+BQzAf0UHGDRTModOpSQBbw20Z4Yi1QvlAjGKwVhYFbZu7IJhmItuZ8W/iFphPCK5L3YQSTaSxxuF/u0y20i6x7GPQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-09-45-02-GMT.mhtml

   Hash (SHA256)
   f0511cac483b2fc0542690d9b260429ae0cb28305682a6f2645f76de8290b20a

   Signature (PKCS#1v1.5)
O9N7MxMikPT9ejJOvMxkqqEjOoyDEHQNRbXxFS7MqVSmk3GEkR/pF5Ilhp9eOL82MF4yiXVrzeuYOxP7TfrYLRniNVjyuTxL0ATy71rWbTmnUbgOgngAe3e4osBY+l2/XA+G2zP0bzlgXSI6XwU0Yjk1ELeDKDlGWu5jHu6eBwpevI5j
+orGXeE751f10ntKXOGVVPFlsyayPk4QmAc9bLViic7zU4TlIefmRRSGYog5+54LMKJ1cj2fZCcrjfkCjJxaiYPWsLqMnLYKTLRK3H46sN3GWEJVwH1JG8s6occ6e1et25iFTD6tt4YTsv+gt7CgddQqnRWD27jfpP2+xw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 45 of 134



                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 07:05:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BDCA2cl1qcS7qDdWkKlFYiNEicKWhf74KJjwxz9VLiDHu6YdF7H9NxwmDVHfmmZjMB8ifSGKXe3p24hfCmXGWquxNiHwKaG5bfiDGaC/RZc/ctMu9vgYdpLY+tdw11OzdvARdfNRGv26PYRTbY9apTmg7BEeGma2AoZZt8zH5Ma7OneE4IdvzJQC8UOs3Qrt2QfwWrp1/
   +VXD1X0tTbxB0O4PhAAU2SxoeQI01skAqNpUwTcjXfBetHjgD1xMFtrXTieJXirw5LI/Zdk3xtoZUtkgroPx911PVNrf8oxS2HXnO8f9sRbnwjoN2LLIdbg30H+y3H/kklWlcXlOMKdvA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-07-05-27-GMT.mhtml

   Hash (SHA256)
   5c8d04f0a839b41b4504d9ce91044c8891266b564066f4e451984d6a977fb38d

   Signature (PKCS#1v1.5)
hZwP3Vb9+EUzjJuFGTGSaTYs518XmMfhxGsnz55WlSo3xTcPEB8YD3sJ040FZGyfQZf039Ac91GY2rqjLz8CSEAZgrZjTiMe5vLcjNEHtfztucbT+rCkjo3YhQgCaqfXgumxaxc+LYb0bOHuMaW3QsdMOsfiw2Kgy/Nn0mbfkXEkWCKETfjAZ6/iDqyVs88tmbmbSuwbdTkFwo2NyS4PJ8V
+LC4S36TBAvkLQon//vBUAf3X55LIAxs0J639PrlW9TyWhU5xMoRarTHdlh42kggS1PoIjGhvgpqVajHy64UQNb3zS3SfiddLsEOmb3YHKdRuLCuMI5+zKABrvbEY4g==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 46 of 134



                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Plastic Bead Beaded Acid Smiley Face Rave Raver Earrings Handmade Rainbow Round | eBay

   URL
   https://www.ebay.com/itm/314466621059

   Collection Date
   Tue, 08 Aug 2023 07:07:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gRSXAiHt8Vhb/DXtU886AsiJGiDqek6ZxHktZFdpEb6reJKaEDnDidoZPYCdX7ZmEkNqWFSR0nNjK9cw3f/nc2RAvvgHOuH5toAcgyIPxoT+Jf+ytTIXMD9PNhGuFdPFtA8mBD+TjxGdernWCbQw3B
   +6OuUEYH8VEskWzPSwCumqzGmNBRroeCjMHxy0rb1/7GJRgKRXgmkdPly5vJIZ3+FC5Fvnej4zEseFlf+eGx42bnFW0EbvKw54sJSXo5E93nPcbUcI5X/M4mk6vR22Yqj8Q4cx++niEg8whDQxMXNXYcLzd0P2GqJDmP2pmPUquXOWpjhbbL4AN0WmHU2pZw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314466621059]]_Tue,-08-Aug-2023-07-07-14-GMT.mhtml

   Hash (SHA256)
   ebc3d725a1e7087500535cef6640ab88939c605bdc59d010a0ed0803a84b7415

   Signature (PKCS#1v1.5)
GXEFExg9zULhpfZyYH5oSOlEhv6NE4D4QyebvcOSwaXHXF1h/YSq/IqWXul+CVXUlVHQEoDVhyc0qAIcLjRJCfLKiGKI35YP03I3dQ6o7qnPrfuV1bI0mj6MzNwnVs8k7JCGPXO2lsYScrln/O4e1DJ68h7sYBm2He/+eX4frJGQg+t2iSJ2ugj23ozW2P3TT4NyT2pjKdxigTcz8QkHz+vR/jWiAP6dXAIEM
+zUNPPrZWK5ZSYi/w1jNjAsT6S+YI+1fTHzURbZbH09PPGGNqJno+97PlSc3rlYaiBnWfJZHjSipf9nnNRmQVRmPqfJnSfBpS6Wtm5+O9edlywm3A==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 47 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 09:48:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UFULV0rG3/8hpgvu8uxf8AVqjcF1EqwkvPztRWmxak2pK+g8A++GYBCQJar97Jkv2eTncwSRdRCwl3wUrKiAjrE08C0UjR3IVEJRSU/AMudLhxEBdk1iYXuPPoEhtkG9tsRf6Am1Lo1gU8k9E3yXS9o7M8IxqRmjH95NsSgGBBTfza2Ti17L
   +8+idG/58Q2qWxLWXkNN8xadm8tvkePiT9MfBdMjhymH8J2jLre1lxwVRtR9VbwpQaJWACvRqxNBcM3/Tfmvl5Vctg8XzWoSmG3W04dkIYi9GsusflWg917lm3vkGNRzoIU00PdNaX8024FgXKMmPqdnaVernxAxJg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-09-48-06-GMT.mhtml

   Hash (SHA256)
   f8c6d59f519dc6c7cad91661945ab7fb7f5c9468bcbe4fa99820bff414b145be

   Signature (PKCS#1v1.5)
gnVg1wrOHUqsROv2WB+TC5BZoog6Y+X00xuXv56bSeTBTMpA5swsof2SQNwX6s2Tl9G/fd6uxqbtrrcOppbpAbnwxPyVXvSF6AA/pNEdXyr6HxIdP5mai/C7Q7dz5RfV/8xV2GcCc2/wG7OfeoDT45KvJn4wnKmj1eLs7kqi0kShycFTo6jLI5tz8yv8MlbDo1ENNJXDFGjJIVRQyx+1nxRxruKklXQiBBl
+8Nb/zdjRd08xSnDEGKK7bX2kJ4mCld3giSPzWAcj7/kxQO3X8DnGuvDOqNuUrnW13L7m9hDkkETY3UKgEyPN0PmY0MPJdGYocUCq5jYaRpHqQ6MPBg==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 48 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   4 X SILVER SMILEY FACE HEX TYRE VALVE DUST CAPS ALUMINIUM - NEW - UK STOCK | eBay

   URL
   https://www.ebay.com/itm/224664432816

   Collection Date
   Wed, 02 Aug 2023 06:33:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HWWEuGe42ns7fK/LkEkofUxgC+FCNaTVlXiPFj/fPRPz2htVZ1Sq7A4gNyxWWBzjIU/NtOtJCmJzJhIMBjQLjSu5bJ9g4s8RtqGY+ELrgTSw/6OXGGvDmBhEoGtNMya1kbEZAfgaiHZSo262fyuCq5r3HgDstTnQrLPRsSHES/s=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]224664432816]]_Wed,-02-Aug-2023-06-33-14-GMT.pdf

   Hash (SHA256)
   a9b10fcd71c1da7ea4415571719775921d9b85a27501715cf8d45e3238bf2520

   Signature (PKCS#1v1.5)
azVis7qMOjbtHEFpf3N3Hl4PAZ15JM58LyZLDytrFz+I5y5xkzNjQxVeqLgHt5QBuTnc1oeF/B5TQiR5scEj/eplgSa6vhJj4Kk3Ufp0hs71R2o9jAuyIHIRidLyYD1hyRHsb2nDIZ6t4DuRynFsKrWA2gjN2/MVFTU2cRjtIBs=
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 49 of 134



                                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Hot Pink Smiley Face Rug Funny Bath Mat Cute Bathroom Decor Emoji Shower Rugs Retro Funky Bedroom Aesthetic Fun Round Preppy Cool Apartment College Peach Blush Novelty Washable Bathmat : Home & Kitchen

   URL
   https://www.amazon.com/dp/B0BYNTV2FQ

   Collection Date
   Wed, 16 Aug 2023 14:21:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C42GbsZFYClxuA57UaTYP40fcnxaJ23ynLuHyH9ajE9UFOtifkIp65w+fKonacZ+qtrgaKxKG6n9NOhiMLwqYM57qSbgSlW5kAT7nulhUleglBuN2Q37MZmpadDpQxJr8zX/g6avT+Wf7hoGKxyQ89cmPTiDBtqnQn8hQWRwKu7xujq3GSby7LMvJlybhdSShIsqgOnMOhAzUS5x+A1YaBJ
   +eJC0hQr9+lIWmCnZ7L7MLtd8oWsViqstWaPpvimGvjhqJWQvu54WX4vz3K1d6Rc0AqspLGEkx60mxuF94VxEBB25VvDXHp8X/22InM5WUoveKFd8c1Ulmkf+3fSgiQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BYNTV2FQ]]_Wed,-16-Aug-2023-14-21-45-GMT.mhtml

   Hash (SHA256)
   22faee88a170eeba09dbc3797a0f33c53684859cba27715de944ca1cb2abacd5

   Signature (PKCS#1v1.5)
esx213BbEKd2FvYJG64wd6LxoUYN1lNf6evtfTvfpeIg9blDjdIK4P32BYhrmGX1fRcX1veTPnIauT3WhwMwfVXr/klynU/ubDto5qrBjMAqIu/8YRqwrVsR2I91iOtjbBxGaaN3+9nRH2dqdGsblnnQ4fkGWhTEXDmk74VNKdHu7hoQc4wjQ7ZLLMUD/m599gk3FTZeN24IzlPiciBxb+6HSj33XaD/
QIb9axJhu1JcvDaTiUD8WuoDgK9lA77ig/RCEsB48qHDcYmK04nnTTeBVxXvaxmF5QqgZRzrW2zTjDaximV5iDMDuqJz4+p2eQWhnovH6Du1YbKL3FrlvA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 50 of 134



                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 14:26:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Km8kahopuREHnKVZbSghBxvt47ovWylwXiKr3qU8NW6WivgVu2q4FLuli37qOfHCzzR0g5fiSIzjlXIR+1f5xxcRYh/iGFYDFN3EqL2fm+YuoCw+kKsLI0QLwvIobjMlGF7EOQqrg5l7x95hmVO1/B+60vLPKo6UqArfhIiQ7nYDtEAR2UF2rtwSCxvXVESaGFJTZLF2W9oAiS2rQdG9ekq3rk/odVfzV/
   KYqN5AJWyi/uSxcfCXRjCGOBmCRyuxpLIvHEoFxReyu8zudAk1yV5S1He494z0bUcRY94/V6SxcPsfhASgPm8ZGUkBVXFKBcKKsNhBbrSkplJiirLMmw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-14-26-19-GMT.mhtml

   Hash (SHA256)
   fa6b306c71faccf655b39837cd16355b1afe402bab93a8862474e165bfd40990

   Signature (PKCS#1v1.5)
w/Iy5WspgESF5iBD1Glo9vyPuLb9GTEtBOX7dfiSQ3L3e+k/kMGUKpWXoaT4PAUEYbMW4vyH2hSYOoCTkwSPQZzGp0NACO1ea4wVxvDFKX0d+hdfQCUYD/7C/mj+uW1RKBdFTr9YMDbCKfjSJQTH78cJHodwKHDF+bokWMkb4DtDEk3n7RwyycKyxs3krpIkGg1jPBetJUGE5CSgwTXyR
+FRliIWHrrIPi9032x3wEDCt7UB8e0kcRDpGUDmzvdbLt0dFj8d+lzAcWTBhXh8EfCnqg06s3sVQDGWVlZL/iM2H8QmDuPofcQP/cRZI6dctQxj/jcSrXX6R3iXs9EWzw==
                                                                                     Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 51 of 134



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                                  Evidence Collection Report
   Page Title
   Smiley Face Squeeze Ball Pack of 3 Yellow Ball Stress Reliver Ball free ship | eBay

   URL
   https://www.ebay.com/itm/175644400534

   Collection Date
   Wed, 09 Aug 2023 19:04:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AHy9xMTRi8Mu3MYXu5NARfV4JAmF0z2sN9GTZjlDjmnptQd+WaXDu6fNj7esuI13dMrvH+pI2txB5N1uUWRDblkEMmK+RcKV7IpSrBR9knOEQRjq8Nfc08tf8RSbYHkhDbVVQgiLevckMPUlPhIffwV7bn9qcSKje1evL5PaiVRiHfEUpB4Lx9D5osbn0/
   Bfzj43IPC1WY5dmQQEUKHLEx5q1JJqVc7VEr0HJXYQnw6C+U1OOpiar2n4cUrvPOBdz+4p4fN6USCMTzhzBjCZxt0ZAjkMDFHdOspJbFINhsKLh7Ai/36K5vVbuj2IxP9bohCXdPeKTpmER+c8f1Zg3Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]175644400534]]_Wed,-09-Aug-2023-19-04-03-GMT.mhtml

   Hash (SHA256)
   4b933971d46ec583ff7a219a72525681c33caa3801fa0daa0d636ea396439a35

   Signature (PKCS#1v1.5)
UrGSlxFvd3N/ihR1cKKcLALVnvg61bIDxXjjODNaVJmi31PVDYU/22PHNQTTJCHFqwM+4UyWZ4xYs38xs0Yim/IzFNKSJ9EiWUKhn9Tz7MESuD8rPwigRSKkM+MiBe2qJld0hBlftUN2jEnTmqOrHekrFJdayTSpOpH5b7F2DpMiFtjlX2TRbbGIRtUR08dtYVOXaKdvw1DwL82lgx3MKBN3Kqf53sL
+6cQ0dxjCbYdztiQaHGyZi/xSGhBgcMlx4gvRKuJkeKe3mdSL22skJXExBK628FFajXw8uUZ4Be3N28DFnHKrt0YeMUMp0d8+a0nYdfLGPDk1BiGGr7yglg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 52 of 134



                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 19:05:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JPX2SvO7e35ellXXldf6fpO6H3doG1fCk+2/LYk3U0Vpz5Aqzbv95VvrPTjk+wFgqyG4oGtUDx+4aZKIdUCxBIhZcqkTfLhayo1XmBOmEWCTKbhAnCkCTS4WmMGo7JYq7jMuJEcpW1WWH+EOUeFQGghIABu7ZTGNLl2yWrdp5wX/kXaTdf3Ta
   +fa93Y5svdGA2D1sYnZoF785bXr6HjRsI2PUacWb1TjA94xx+pse7Kr3mq4g3N8Hw659ImVqE75tVpyDsTMSnBz7kjuHAKCs51fV404mwhkD9YxVMZF9E5MZHpdwhdmlXPr9qupKdIrPpxFUR29iPA9qdWmif9GIA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-19-05-00-GMT.mhtml

   Hash (SHA256)
   f5af2d80f9ccb8cebd3cf4f7d58c08c0bebf7a04783d629e72688b6f44adda36

   Signature (PKCS#1v1.5)
R6Z+GmnXsmo6VTsAT5YibmDs3eZn3qz+pDeKr3aZcJWRypBI+UB8dBPB+obal5nAEugsaaelYhLUCzQ+L4aKG77o5NNO/JIdzsdrK5ewd2DiaCoPmZLD212YrHTJrqQ+TfhJ2VI85yW+jQCNrGXywnOU7bm0kLTunDyMOLAJYygK4Yra5HPaIWV8FSTEJVk64c5aJdB6Ry2/Bf4ikzz34m8/
akZkCXypQBT0K4yg/kusBJes2zGh2xnw+efHbN0E/WELdGEP0CqwqxXWT5iVw7jMzPNv8vFF4wS1FkeUs7h2mLcIHSCjeaBfo5X5Gq+ukW4HHytV6iUVzFSFZnOAqw==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 53 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Face Charm With Lobster Clasp New | eBay

   URL
   https://www.ebay.com/itm/225357643430

   Collection Date
   Mon, 28 Aug 2023 11:23:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SGyp1gUAp7hIse2jSEyV7VxALhIfomkJoehsauuUNmuG4myymKEmEe6V02Jlom4Da5fjDbPBQFlsYPqvD5hgFdA1oZPKvpAcaRYgmckwabfFOqjNAOt4yBjWv9a/RJqiigwiROZym24HoBKqcgirZSbB/8e/tlTLNjed1PGy3GE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]225357643430]]_Mon,-28-Aug-2023-11-23-05-GMT.pdf

   Hash (SHA256)
   72727068ca475f226c664246cc847d4bc275b0c9ef78265985491045013251c1

   Signature (PKCS#1v1.5)
j51h8oXiV1AJZtz+s2iQiNADD7yenv08DkD4ZSScLM1NTDqhU20gEvv0MJ2TTUVNuZvWPYeYu/mxeECozXkZ01CwYi3aL3GxPIZW5OfJeThrBrwuQ65VsTP6aVUFOV/pDSFyvNUzLwW7/Uiq8ZS4QxjlVAfIOGInXsPTNJwnJKc=
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 54 of 134



                                                                                                                                                                                                    Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 02:17:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AJeRyDmjuhzXQHzKHN0mbsN/6/D5LE1DWPx6CoAAh9jRS3B6JZ2oc4Y6jbE/4i4EAXvAPN7SEP0e3VaJCXSFpxz78JNvX1IjwQNwPBm1Q36cqntAim8lu0fmZU+nmNQNTaanhmmYvOvUBnZDdEGe5Ik1jMx5C5mu+wvvsrgJgG+N8mJ2TdwMT5y93dbD1eb4wctE3ZHP1OT/A0NVF/
   +VXNdqrJz7Aaf1J18iloVQumnD3oM16Vkxy6WwA4VlNGCeJvmS0KWfI9DWfKUb8loF2xnjetystrtetZaAaNHyu4BHcaLPWCYIunLS3XWMHlJQHAi32TPR6Rtlmu5wPH9tHA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-02-17-49-GMT.mhtml

   Hash (SHA256)
   aeaacca3481f8174082d7b454d36945a4058efb1ad7ca0e5a0ed2556ce1017ba

   Signature (PKCS#1v1.5)
afbdwfdZ8QSeZUR2lblcJtxB+kweWphWU5l0raABTacnxKphXGGUEXejLfuKamLP77lVwTtuqYK7+4JfmUoQOZN7WfzeuRGM9zk02DKbKWS7NXDJkXAFxPFMjIZZkWr7MF/zPCRFKY3bJtjbvz03yEHRXpQh/4gXG882sNPCxgM3nxG/7iNYEeo5p+QF4Ch
+0Ee38pWt7XHQEoaf7qtIxH5BlE0TNfYJVX4XvEYt8MZnLYPrwyBXsNmyzEYlNiGiINtWi9rJldQgZ6sCTUWu6/DNqtSjF84RyNhc4ENLRtTevAbd3LMIP2cVn3U8Yb055r/bvrrvNaMIE/CDzihsvg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 55 of 134



                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 14:45:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AE8RcbM21UOAhUfoUNu8Kwe8AbCpIVtep0nKKhV+xmgjOHAKYKF98dPUhr/O91CojdHS62pqesfvaUBJHR8ho169BIGV1ANi6x3BuA7Ur5ZyidYLb1y1NjpdseSwfUWKh2XyE8HZt7tZUh+j5TVyztBciablRT9F+UqE7BkqhYzeuJwvyv0WZy7H+jAwoqyXl0oEaW5C/Tlk8TbwupK
   +7UHwIrxxzQMaUYeQ5/8pgywYlItnRqhopu/tWZk7PwaLAce+dzUT98u+WEZ5y8rR8JFkV8Ojua68P2+t6e71oRN6d1/nXMWlWzSgbZE2m0KN1j2N+2h0fjcMveZgyRMOXw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-14-45-18-GMT.mhtml

   Hash (SHA256)
   e02920b86cb7f21074f998217519c855b7753c10e8c1cea4e777f0814105dd4f

   Signature (PKCS#1v1.5)
EC9eTY4rDiEfnHx0CLW7MHy+qAReVaBAmAmJnZl9AQyrW4YuNwtZLvyGlTmN4/Mq/NKHUq+o0eU0AsuW348S2r9qcP2Hlloake0JzhkNlyLe8LDXC1I8yYmVepBVcd4mq2yUk1L/L6d37BEarFlMsf7ZboEvs01KUioueqSjy13ynx6/
CSHRRytRHtcA5M9IzHnxN7Hgnw4uqx2luDIQlXhekiYR0wYSMb9nH2xx3X/0pgFODcbBCcTjCf9ULfybvCvQSom7Mv3Gd9/pxDwqDbKjcdiIqunhjaJevp9BV/DlG21Pb8XMNHhD0XtqYqFoiA+kFZH7HXxSuHg3BJjdYQ==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 56 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   18" Smiley Face Star Balloon (1 ct) 52329144828 | eBay

   URL
   https://www.ebay.com/itm/314588101092

   Collection Date
   Wed, 02 Aug 2023 06:59:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   klRcl19VDRjE8YPgtfktiW1WY011LnYnc6w1jYv2sCJBeP1C1KPWZrZggSFHMkAewddy4XbHFkKxcBv6ljOS9Zh8k96JhB0arB5ZFP0GCgzqjdI9sbPxPuuDXmQUhWgMfXskQzIRJImlcYaBJwBtBButnqlOj+nbMyTSz6RflZk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314588101092]]_Wed,-02-Aug-2023-06-59-54-GMT.pdf

   Hash (SHA256)
   32288b7f54607d79673d5ffccbfda08153bc93740b41792b70b581864cf18bf2

   Signature (PKCS#1v1.5)
ghYgVDT4k4KECGX2eNn5tMymwGmJeGBFcxtdr1hG75FqWwLkcPjL59abJsTPeOmWoUiyAtyefJqWEShpoi9Wl9wPbzLkAO+ssC20WztiZrRvO/OycFUX6EnLG6ZIbm+ErUZPQYsaO34JkaevUkwBtvgb3xpVAxEZluB5PzWajOo=
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 57 of 134



                                                                                                                                                                                                 Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Vintage 1988 Yellow Smiley Face Coffee Mug, Happy Face Cup From Friends | Wish

   URL
   https://www.wish.com/c/64c37bc1226859abf34349d7

   Collection Date
   Fri, 25 Aug 2023 08:28:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kHxDpRIo98MWXgWS7iHKuN7vZmwdQR3BeY8VIaBJryd6cdXdvHZmYg9aROMPRPMM5KHlVbi4mkBi03BXlJZPu3+fIrhcW6RqWC9iJRUVPsbDcInCf2KTC/hYzF1Q9E2CfROSo878ruEB8YR3961Gqnz+6+3eWajYnIey26iRHj9NFR+fA6wFTo1LwqqaZXBROF4LF
   +52QTsZsaRZjEUOTlCK78vfJ6Bad0wl4Hi3uLh8hcuOKr5Za3RNWrwNT5uurIaF06LYg3KDzCX5oY5B6juW2ANbPMEZbz0tme8xsARSVq0vdhQfmSoH0id0o08oyYh828GpMP7rlEdib9gP6Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]64c37bc1226859abf34349d7]]_Fri,-25-Aug-2023-08-28-03-GMT.mhtml

   Hash (SHA256)
   37b94adc6b0d4dd2f7421e05c16e6e882a2613f123d5d42552ba9a829f15ac75

   Signature (PKCS#1v1.5)
RHbSvSMnwa34ii/vkCx975xD7rKM9eOwwGS+VS8kdZzFRbl3Xc8qv4DPNN3tvGoUOX8Gi5NV1BghHixht+k6gvN+ngE+7uRsyv3lR0q+0wsj9sPSddjWucXS52JUANAF0Kh2KA5k/TxMnIuH7HMWOYrbO2yYl+NHJ
+mw43I8+B6SVjY8gCiYcbzivpd7JYLlirpn5alUOzqQ56fEE01mfr1SKsFYc5jR4N5wEAz5o07iy/HEMskL1MUAeX/acOnFYZeR3+ZAd2IHGnoFdr2Ss0FV4v1HU6+Q+GrOw/xj1FOmQb42ReLfTgWkZvdzhBUHdY8C0pj6fHQK7Ji1LESs8A==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 58 of 134



                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 25 Aug 2023 08:30:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lmAjQNDHNK1wXWJIB4zcxQEH5u155DAVugPNUMb9Y9HeXz2XzeVx17COrVO9vMuB7nBTLmakg3WCWezMBM5U+yL/A3xR070ucuGPBCsijZVFkuAiMmi0YEsHm1X4WO8Duu3pHXHJSZbF3spBMpz46RTwKPkbG0s6Vjm6Ux/TpVtZagL9oNQWMSPZe++xSRf5/xfzX33tyyW76LBFpg/
   V1yCLXKe5Bv8J2jHYn5nVQvEASSmuAn2+OZ/DE0dcFg6ULwAXgHApxISxv9XxwgmE/4TwVXMVOlhKrJdMHN1X/wbUPhLwOWsJkX0rvo2ddt4qmjZyKnTkJYKV5+qk9HBo0Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-25-Aug-2023-08-30-00-GMT.mhtml

   Hash (SHA256)
   ec71ffa1b7038c43ac7c83c6556a8d66156025e909360f20ac6cbdf0e67b7859

   Signature (PKCS#1v1.5)
s4Ps8TwvHFmk7m26slL7g2d5yBMrUn5iYhvgaRlKCILKiMm6imLODG8Ij3CxCO6wydc+C+o1yRcbmgwfE8Fwyc3oxeXrcDVtzFerzKyHTHMFnEMe02C0mHtUETfIDkK1Xx/1f3vA/
qxv8s0UOte6o47j1zCaeWCXyB2ckmHa1i3r10sX1Q1CgAMez5oK6PiED8FyS88q1VNfbkuI5Kfu4WPMy1HGqdLXIcOsWbHPij9vPnJbhzm2j1ecEQ/srrwyQ+KuEZjh07GUd/F9JAtIBBxGaWFMs3PRf9F+l7D27KXJ7LSE5m3FMfX0VGHpBur2CalChjwQAVT2pTTaWcam5w==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 59 of 134



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   12 Smiley Face Fridge Magnets Strong Magnet Memo Magnetic Whiteboard Note Holder | eBay

   URL
   https://www.ebay.com/itm/185777010288

   Collection Date
   Mon, 07 Aug 2023 13:54:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   erJidEopFYVBLwpBH5f9l6IgRc+ZIhRI5x9Vy50Kze/u9q3fJJF0Rg+fWeXQ4ZAwWQBAKNGRLozC+yfsTEn5sVpvYRH9quJZ+f2pM5F+teRgYoSIk1rXNszYK29cgHfQiI7LF7pGZ94wLtGL8NPzUJyLPl12rTBceHkyJ4djr3ho/gT3awqo1mhRFvtwPtuE6hMRVQK9eATwUuSlPzkyBYc/tcw
   +i2Ud3T1Td1nhediE8VF+cBwSFaaK2YV+bOYThaNe5dUjDVHjobiBHySi260cvVBVVdrEp509e6/0k9s3ra9DJxNhrQgc+asWyD4u+mnp1dW1UABP7jyz2CVEZQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]185777010288]]_Mon,-07-Aug-2023-13-54-40-GMT.mhtml

   Hash (SHA256)
   a1b8de22a3f3974d2a1222654a0164fadf2dbd57ac1e9a80d7b7a750c14faec8

   Signature (PKCS#1v1.5)
dItnFLK2syWdoILsG8KrUPK0rCbOukfUYLkVQ3lmKf3jE82XSCM/J84Vf3VLVAYlJcYEPL7FpUd3CQde4f1oQqimrZTx+iHK1utetb0lhAweS61vJfXIGoyBOVASi51YwJ0tauJueeOJWoRbjBRT4hJfX
+Qsv9IOi7x0xMPQ4CF9A3fcADoJIpq2uAMetkwuRfYslcFGhGRC0WgmNMTYtNbZXFoIUOrWq8visuwaAOLc51NtvrpHd6hsTs5YSXj3xTL4inFRNRBxFvDUKpskxMsg1GV7xHorKVOp39U2jXOX/nM9KX/IP/mVp1TVARAnxqrRlW+Tf64b/ZckPyqYxA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 60 of 134



                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 13:56:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JTTEV3LpUMOrZA56Hj+y3amEL6bZ1EFzHIzlxKlz1uklYSWUygVuAhY+ArbBqHqFAQBDdBQ9t6qiDIwBST6NBuxtyek5vB2JbMQbY7kyagsHH6hSUd5kbBJjMH9gy/LJ+XWMC6bCXfRU5YGpt4Af/CkTrF+fcufXk9TYv4/OZh9ykOcKkcL
   +HBaR2XyUUsymMT2r4VU2NOLSO7VHrU7ZOVfqWv57X9k9yIEbiK5+QJFi0WEotq5/vQutjuWIY9S2c83z3iIt7Lb5uZmJmkzWJhPiuAe7/wVmPwUYmrQWpg2RapmFy+LNOMV76vgkxzC/7BoHjvS8YlL5vHfesJcZAA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-13-56-02-GMT.mhtml

   Hash (SHA256)
   a9344d8e7505bc58fc066950f0bbc77bdc11e9cd1d800d02525f581c7102adfc

   Signature (PKCS#1v1.5)
OeXDnE1DMJH9jEQtdC96a2ZsT62CxByAaDHYgDcWOgojgIPld+/zVNFhiXXxcpSpZx0VZ1UueazsmaSS9WFdoS0VPg0kkMUm6rTbYKR4Ve1WFE6lqoJXj61dNLFP/fPF4b1lNBT41JQv87qgyBWM9tP2+uWgq5St5xKllXSKIgqN3YiFHCWr7XZeS8Tsgz9LBGrSqTSZ1/CQYGr9FkA6DU0D
+MgqhGRzZCuHC7aUV5rmGLWB3w0diCrm3jE0H6PR8Oc2PfZmHFqsBOTty9/a7RCueeiDxsQaCQ8zLuz7uf4g8uyWE/Is4eUIafDD0t37DXObFDM3FpHWwb41C4m4kQ==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 61 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   FOMAILE Smiley Face Rug Sunflower Rug Cute Bath Mat Strong Water Absorption Bath | eBay

   URL
   https://www.ebay.com/itm/185950804420

   Collection Date
   Mon, 28 Aug 2023 07:53:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LS+g2iU/2vUag9hN6BZnC17ceoq7z4Zgh78GOIvKl6zNMt7jUak7KKgPJq0cQbM28rtKlLMMaGptfg5ruNNTT9hj7KYUnwdn84QYlliOoX8meciT+B7FlDnrOnW3YqVNwvXyj9vB03nD3j5FamJfDosVURUZH+ttFGacbt+iWsQ=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]185950804420]]_Mon,-28-Aug-2023-07-53-32-GMT.pdf

   Hash (SHA256)
   9d0615465ccb219f7ec7f2919a38082c0442d55a9a2a7d9388437694f2ac4b5b

   Signature (PKCS#1v1.5)
C2m/nnP42KqG1koErBE/dUWrYPzdoinKYODOjLHLvw2NXKNcEl0YwyXfYjTy/u10CtD3/b2rAtLtV0nbJsy64+hE1MDG0p7JEvO4Wi8Anb0/XsVIKYbz17TdV0YZt1+A+cgU06a1NCO6Av03XTcifcUzK8VcAM80Q8+Tea5Em/0=
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 62 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 06:07:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ELt70GTqycDEzrsMW8aZpykPEgMWEfUyUfFyIZu+YYlwZqh4eX0R69NMcmDmkeDDmNiwEQRG0cgBBdbqPaZSDrBCHeia1MHe2cMgfN5zScmySKGGXaYddVM+Y221vl3Vxy4rmzw1e218nJdUl5qw3kl5DUeJJPETS24wg2e/mpGFJGN1Oh6BWlBZ1CtDXVae4YFj/
   bLJCo3P1llMLvI9lMnMfabSb3/egqEtwRdR+vIWGDCIXbB83GO4gVDcbzd0NYvouoT9HA7UnLXy28mfAf21d1F5ycLze8NApgHdqDfH6ZfnINEmOMU693Swhwd1kp0v8SFIPoXigr0fBsL8RQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-06-07-29-GMT.mhtml

   Hash (SHA256)
   8c35ffb428cc575e8a3ebbd62007f31c718eeafe5e7b54ed0708618ebb824b71

   Signature (PKCS#1v1.5)
PiA/ub0wDA+mx/GoSXMHAp4+mOHC0tCL7jOZiuxI7QDRKN8tqjptsNRMCi9yM7bioSRb0go0MQTweLZcWNx2viEfhEs1lOdoVIr1FBSlXqPAVbhLv/wTdCyHX9OaMXspXMjwT8RTkiataVxsX38mHFQSIG1dSAZ8SfxbToe/xgNJrVAIf/tVasIm3/Jy2lJsaD6xzfe1rcX/5c7ml7XwpT/
Ki5eTPcuKGdZUhvFdF0DVmXj7bKQTPcObqENKEtvCVnAnBLNGn5msEnVI3EMyHg+vlspSOnSDBjyHcdx/LKUWB2W2iFUkHY/s/WJuD5AHjOsBiqMxjYK4TLVicUzQfw==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 63 of 134



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   GEGEEN DOMOG Smiley Face Hat Trucker Hats Adjustable Smile Baseball Cap Summer Preppy Y2k Hat for Women Men (Patch-White) at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/dp/B09V53P3LY

   Collection Date
   Mon, 07 Aug 2023 07:40:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g4/F5RW32+CGOKKZeiGlnwO3ZgHDrGdven69gkdC4Sc8OE8KSYIQxywvwaZlYioEFbSDk9uLKTmExKyCrpgZla+nUbM0zG7vQe731slmSN7nzKOJQsiwCSHGDPPFAwWR2BzA1bipXxGeC1jkJsYPiKd9b/GcEeHAh5OWYiVbV+LVGEgBesotMC/gxzNYrM5cTfSdfhPPuXMU1k/
   AAqFpY6MqST1lFrpC47/go+M4hDRE12DdnA84m9SYotY0kr6aP47d1ngpBcld9IOqnHoQmED+zQVxkJQLOpnxpTjVz8hmnaw9nm4tphd6ux37ofEP8spcGCw5kgYyZPX4qSoNKA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09V53P3LY]]_Mon,-07-Aug-2023-07-40-57-GMT.mhtml

   Hash (SHA256)
   9b7633071c4d55d6ebd9c272539126071208bc5d3a3a567a44802501388c4315

   Signature (PKCS#1v1.5)
RkrpdZPL9ShpVvINPRtMsmAIJT84gZgBzJ3Jso4lb/rvPwhjETf8kDtbTEgBfKIq1M/MgCNKlMWmdq4KkaFbPYKQ0e63ZIpzw9y0i/iQfHSCLB/b0SSfCcMPq2Yk81oEFJ3K+0WcCbqt+Tt1bQT7mTgIKVLSOKL2Poub/bdlq4bWxEtWYnoiFBSkNh8eTQXWhlGBLvD3bmM1BF+ubXbA5/
eR87ayC2cfR37pzDumdUg6ajoe4BmqyC6AvVAJqOAZv4C/Yh+CAU5cBuPVOfNilGGrAKhxMG8HkiwokA2WVDQoV5/jFFotKtryakvoN2bQ2OZuYhBmw1xb3zq3wmuJkw==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 64 of 134



                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 07 Aug 2023 07:42:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   laIEjp8gSMVSPJZzcNjkk3GWTz82W7Rm12g1Q2tLMRxl5xTVZevthd/CztjZv5MzH0bnRv3pto90+tn1lkNxsUQ2HIW4E4I6rZDMRJ/I7woRZuGkSwE2vhubVBBmUbcKxviNoVB0NICY/55gtwaP934T/74kVyfaJXVNUbr0VUiZtOqQtbBSQCx0flwrKbk9pdX80OIXC98rHEQt98wrDhdNlj6CA
   +mshqOBMEiqBHY/Hx6uDOiwvq2jfPjXXS9Dp5rTTDS4MOlhxUQGiPWOiUrFN5m9GnQVWnTHn2mtdJz+OTi/OPtRfuDQcYjDmX8wjzq3IUKm7ALfQJ89CfFUzg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-07-Aug-2023-07-42-35-GMT.mhtml

   Hash (SHA256)
   9f3634dbbf3771df23705771cb65891d1f04ef7e682a204aa22b0ebabc7e85e2

   Signature (PKCS#1v1.5)
KU/3XPYZTBLkTHib/j/4KRdvbGHiwtPwmf3l/ix6wzx73lGWE9dBYK7TgB9OEufI3amjfYzmlPDTbV+nIirtGIVNFM81JYg+RFwx3ETZ8Lfng35b64SJOEWWfWr6xNyZmDa98+iGu6meyPdmck2fQjJ/ub98Uw7xqaVCXx2iFqCqSJ0GgHHy5thPoVw8uBwnRfWReJedCbZyfmlrQGbjtnbro8+qWX
+lYuRpxPlOQ9j0M12Zp+K/epJNqAGW9N7fHVyobpMRKgGrL3UQBLVs4b64dYR3AoGxOaSoUTd9Ld11ieYUJEagDhWiNxO0trRrJyokz7a4bsV1b/L/L6tk+g==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 65 of 134



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   100pcs/lot yellow Smiley face bead 10mm Clay Beads Chip Disk Resin Loose Spacer Handmade Beads For DIY Jewelry Making Bracelet | Wish

   URL
   https://www.wish.com/c/64463952879a34100099d19f

   Collection Date
   Fri, 11 Aug 2023 08:08:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   p0HVuqctBdO4Yc27gd+1iCGr9CJCtNUkvTkdOuy+Zw74qwLDO11vWaMr1zikmNMTViVBlb/t2f6Enb4FqPskzJQ1d1LeUkRwFpP9H10J4INnrUmC4/bMXi7AYUnNR0RXk/iRPRn13B3k3OuvNqfLbFwBZQJXJ4M7WT8/
   OAeY6Lwyuw9ztEnysTQJg4RejyyEeAT82l8YFYWo/7eqRTjhuzTHVw2nS6564mfb1fEfkcDYRPwVs8u0qlmw5hxHtRz7MMiKhQg4+04zeskENmaTFmLHdIdd8gaWu1uInDV2sKpomrzgoVRB77I3yGvW4PZjCw2x1SNyHJmD6r332Q5rnA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]64463952879a34100099d19f]]_Fri,-11-Aug-2023-08-08-10-GMT.mhtml

   Hash (SHA256)
   9c7128102ce674dd53eaeb91b57c10b465c17e4b3d2b7406849067fa09ce06c0

   Signature (PKCS#1v1.5)
rl6S9Nzp0c1hCPWaEDpeYxrJf7+1p7Q24kfoZypitPgWteAvwl9+ceMWu+ujS2wKwsdR0GAb07F2CX3qIGgu9twKFJkZffQxkTy+UgZQpe0BAWtIknGrx/oNIKLyLzuFyoNOJgtBKvpTwI1xCffNhrkJ4JwAAQ6DpcObO08UZUKr3gYiUr0NSKUOUcxJ6etKbS+s+w3bbNghKF4XNmYsBJR1Nn0iZ
+haQIgSJeyx37PXJS9PHQY6LZO+9d7sY+uFZcfOBN26mxJ0HN6BaOfvxZZ3zV4TbJoVpbU0iGV/ofOkqh9PG+AJAn93raWKrvchz16ezJ9HZVqAuNbrRZBKGQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 66 of 134



                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 11 Aug 2023 08:08:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pzq2014qpo7RWXERBq396IBNLqZIq+/jPq0mHINQqKndajCjDneR0k7QOST9KZKbdv7axwx3OkgybPhZzkBYrCeUDe5YlGwJbwKd7oF94vZ7LEsHorHdJLkxC3I4u67KT5zMaeKxCqjFj0U7r+XQpCH5EOOGuNnEvYwncoMCu9/YemBvsQT2egryRZevNo7Pd5y6B
   +i5yA6CkohippQL8Ovrm7b0smils9UQ0F0RHiz3k5H30yMndmD20rjNEjjDHXFoMaugC+NxtA/r8pVqyDV5fus7fxHoA0SEZJs4sBnrMAWddv0+gHwtRH1vpc/WFz/+ji2jAgV0faCcxZJGGg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-11-Aug-2023-08-08-57-GMT.mhtml

   Hash (SHA256)
   e5fc005a456031622e25537cf7a6d15452e899496e66574767243cd5511fb8e3

   Signature (PKCS#1v1.5)
uKW2WiTFgm1FRq3U8rwVzE3RLxQKZz6SrSSOphLMc9SK7mp8hwYYOg2Ih4wGDvKqK8GvWA+GYe+w45BeAc/Z9NR7No7W3l5ItLS6YDWR2jKlxkLnbmdX401Z4CeFfOW/5K/3Lot3fC3hnY/ZRVD7kvdmYAR06wyvk8c+7qQi0hN37DWEKQkOTpGt9qJFeBHWWe
+nQH1XChvpWutVqn4hzE1VeF5j7nj+t3p/HCXq7kmOJqyzc866K+hYXKbYoiHVeClYL/u574VODozpemrnk/hkE1TJ6SfE0CnWAp6hpwr30zzbHR3/sOBcTrwWu0bJTXQnKJgTHhzNArFLh5tuIA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 67 of 134



                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   500pcs/pack Acrylic Smiley Beads Oval Through Hole Cute Diy Pine Beads Material Making Bracelet Necklace Beads | Wish

   URL
   https://www.wish.com/c/60d032468e8fce0de7109705

   Collection Date
   Fri, 11 Aug 2023 08:11:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CT1wtoXblmgl3bOicPB+dpHmuPepMelh2JyoSSyGXTKwpmvukqEchCoQTH5eyTJ6nbI275Qpy1O0kLHSRi/+7MdmJMXyKeHrQRKJrrHyXs7vdZYkaMR53RTY5qbaNZJSwdNPyrAFNm+JqZLWcKEDMDA9mnmei6v/JplTfFv2QKlPQS8k/Ji9S4QE701IfoAdCxa1KxFgiQvGsuFu4T47lIxpxh
   +9hdetR87rEb3em5Uln2i/gHbXPcm0pNbHILMehQQnRj6uuTL4Ac7QdQjx8Hn+qY5t6RQDyF3BFb/3oDH+oGRrRSjCTfb4MtYeV04U2w0Kn49Y4TT8nhPG7/BSWQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]60d032468e8fce0de7109705]]_Fri,-11-Aug-2023-08-11-03-GMT.mhtml

   Hash (SHA256)
   e13d7d0b0fb94067804fbeec33cb3c31815d7c4c89f35eaf84c9e8b85928828c

   Signature (PKCS#1v1.5)
HfOXof77Ly8C0pOXx+w1GxgjLqCrh64+gItXFi39iF0wfbKK6N501Uskbfyy/zObgd86fuBTs0jJ+ce/tOHuVocobpfN1y099TIYaVjsT/IAAHZ8wXYpeuf4p7hM1Z2A9edcmW7CXNkuRGlFzwZoX3PCbNyZcV
+takw7vT4uDmeoIVRr8MQId3BDm3qcHgWoUQvKBWPJFHsI6D7PVx6mdzHpv1EV6tXXxgrT/6Y3rxwirS9pUcWkbj1Tez4UzfKhE1rb3oaWEhN4nPt9Ot9LiWN+sBmE+6z3dDW78hRKzPzbaa0Gksa/CAI2qbUivOivgDTuqQF3p9VJXxA8f17bXA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 68 of 134



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 11 Aug 2023 08:11:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nK6WISWfRxn5c/YpFZYlqMwV/flsTEERIngD5Y9BnFLYE1xCa1O0lWV/QIxuxMU1yj86f8I3qPzihppcialluxZepalvVbUKGAXUG8eChxpJ+No1Beh8cuVkQYKXBWns9uSLnhY1XnKp25MiCE4w3Of79YubAa8gLM4/ln9gL09LumsczvJPe0uavLqeQVL1PfwGCGjwBjDXQ5FnEqh88UgATqB
   +rSfD61D70c5POQ+Z68JRMAFiP+l4S7EFPVjZOTjlt5M7oyMPrbFKf6x4PcUv42HLXZoVLIWr04x/gsFAiHxNxQQxIGsO5Yw9W8H2OxXo6EXmwaQxYkq9H+wWSw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-11-Aug-2023-08-11-50-GMT.mhtml

   Hash (SHA256)
   c9503d2d649f996d4c4ad6a512c71fc17bc77fc7c52a65ce2e0d47b5492e9c6c

   Signature (PKCS#1v1.5)
KCb03wrMQ1VPLMaCpdQFPI5KGKf+20rpehszY4qIwC4wz5x31z7nRZQgO4+bjbYuMAEZX9JTkUh4gjtoYnb88tKR+2v/OoB6vg7uADUKvPK902vcovAWaPKmp36Vry6M6LPltH+xl8W5gGn6Zw9bAPqGfDEuLAhaP90vlWB7r9yH086K9nWoaILq5aHxn3yXgle6M+9+rjdZTva5/
qsS79nK1jckhIHyDWgabNpEiab8jYM7f7r7ENP2H6uWziNjiYr4l1/78BFwjUFbF6ci4NWpazt8JLDEG3nBXoGZ2bocbQ9MlKjwKcWVxa2AeBlW0tO0s4P8WURiKKbQ+PfHpg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 69 of 134



                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Koalad Smiley Paperclip Pendant Necklace Gold Paper Clip Necklace Elegant Ladies and Girls Jewelry Suitable for Party, Engagement, Wedding, Prom, Date: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09XN9FLGV

   Collection Date
   Wed, 09 Aug 2023 07:42:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hZlMe+nMOdsUs1XwR+BZsZ68B8m4QjojCaVbkUACOsW1DFBdZYUN7TPeSueE+yx/9b5R9tdSdOnjNGPTVpDwuhWnwL5CMxq0ot78UzpzGeLbstKkqgvNGfQb82Jscj859xgsqbvW4i5llb/JJ1SON/H65EK9xCr3eVsiyxDPh8/
   NUGucD6XXJXeQd5bPYy3LbedIiyabyGcFOK121N0Ii9OzMlnRReMqNIY/XIe0S7kKD6EK0kZ7sBcal03VIm2Cg7PTpVvDF2Ygr+ahKj9T5XkSHHowQ7Q5X9cm6e2Yjq2SjACy7hvJ4/tXubSYME5LXNZqCK4PbZtAVA42fqZONg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09XN9FLGV]]_Wed,-09-Aug-2023-07-42-40-GMT.mhtml

   Hash (SHA256)
   f9f78f3eeb84ed4758fa1bf8cb00598ec8266a094edb47cdaf0ade450d64671d

   Signature (PKCS#1v1.5)
eN8omfaZGItWyeCaWgrR8BmiMMQMwIFa9alY1H6ck6jYuY3ZUInsmmoNuyEjpr9z3z6n/PJqDZlfDeVblZJwPTNo9eVVuzZDKxORYq/57bu2faDg5yuoTrY3+QZQR9tSQkbXJ5p7/J+QfLXD59cucrzbaT8fnxrWB2f7vTNb17EdLXCxVRiT1QWGc0k997qnmNj9oOjvzPlnZceIb4NQO0cTwXNQ/
tw0gua0QB874EAIh7l3Nd73wOl4aCSFMbWo3snVRx6LelSn7yK8WjiQMlREmPO36Sw02I9AOkxvOTh3NaC3jTGvt99ZRj8gZSMLief3QfPM5U7b9T7oDNhMlg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 70 of 134



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 09 Aug 2023 07:44:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gGbxHGqCssu89b0zBZZfa5TYUSzicicl476xlt4UTVdP55NHQ0LJt0aKXrby6rr2lHw7RFceLEU7KbJKEicBZ/ZQeYiB2MahzMlso7OW6Rnc10Ka9LpZMZKyF1Avk6id+9t/vgrGjteMxODw/leXD4hNpw4PTs8AOnZD4uLyxZM7oeviYlHHqJPR4zffdx0PHeKKVGfw7syVdsQkNruBbXzaNUOj/
   Gg7ya68UQrJMCjQOFRy2auhq+4/PexJwTHs1bvanWlnt2tO5qP3miA2VQjR1TJrsKOLibFAiIJfy7/FRYIZWUfAajpWhgxqPWrKodoLrxHpGN65fAMRmbJbiQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-09-Aug-2023-07-44-11-GMT.mhtml

   Hash (SHA256)
   2513cbf8a0c21e888c854f0c85c1e62641418e1ba2ab9a17985545533fdce0ab

   Signature (PKCS#1v1.5)
VGhD/uhCqCTu/FwpfzvTv5ttS9U8ojOnAG1cYnH9AoMp5hnIRHxNaFFAnNmO72fPQiCMbrA0rDQ2uOZInn5Y3BfgWBh2n5+3LiZesZ89n/pXWGQQFq/LWgKtwWHz9G/mnOapc7HNuzW8fVvic8feVNExBoht2M5+0NzUvPnGE7SKdFV+KsF4mhRS7FW9zedos29bri7T7T0m1vXtz+Ogv8FiRX3/J
+lrThfPjobsMOA24i20Hx3Wr0u5WEmn6WbAZHhzElLkeI2rWInpw8XoSFa/JybwGoDkDLHL7zIp+2XB3gqHdWeP+KP4sbricWgg4jKkm3nyMRcXVV/cjE7pRg==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 71 of 134



                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: OPOLLO Funny Twisted Smiley Mushroom Bedroom Rug Home Decor Indoor Doormat Halloween Personality Shape Bath Rugs (32x28 Inch), Plush Soft Absorbent, a-096 : Home & Kitchen

   URL
   https://www.amazon.com/dp/B0B9MHZDG3

   Collection Date
   Fri, 11 Aug 2023 07:33:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ahTmh2lZz16Uy6Wzk+WPIAAe/HieNKgje2Sh36osebloqb2RwgNJPqxVWw0nBL9rWoL6ngCb17xsDDvDxXRxWSLDFyzno7F8rgEF9uEqY8d7Cb6SbdQjAzKDgqZsJoty1adEULps3rXeFjLx3NBiWLo3ZcMoFIsmTeg5NUP2nAaD5k4PswofdI+7yplGu1a1DPdAKAwg2Tqa/8Q1dYe5BNLST/
   vmT8ybwvvCivEDV71Zlmc8H9sESThyYjn45hb8PSPkbiQFPIgD68POqiHDqgRO1a7TMz1FVuzVO8W7D3Ql2c+20FiQy+1fS0AG0CgFZ63vhfEvZ7Vu2AEmTcZcsg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B9MHZDG3]]_Fri,-11-Aug-2023-07-33-54-GMT.mhtml

   Hash (SHA256)
   d5f4857462ff6b2a2a22e5f5b8d8fc2d7573d3308874394e04922f7aba8d24c8

   Signature (PKCS#1v1.5)
GZRunNWFK95Kqay3k2ApRqvoiove44v8zlGMLHGxtEHQ6MSw1TJXFDMOPyuOymmR9aypByBHAR/KjJv4t63wcKnCntrbtV+PyJ6Y9GkhTljNfUExOmBJyks0OSXSdB15aAqW+tyTqr1TF8tfffOgyf5ZCHygDlDnl9MlKHQvMnZ+ECWeUAJjSRSL8YJhVzyhbRL3M
+70hEEs7NF9Gh66tVNnitKsHpDQpxmDGGAZc2jqTGP/X2ucdZavrjlX8O6tDszt1bNLjEcT165OHyBUt4wgAThxssP70jK1HyFtv9D6SNIWzb2+6lQBgNOiTU3x5K6ONGb+XSdl65iJNrYcVw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 72 of 134



                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 07:35:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   x/c58ewwZu3wTuvX54WDy8ofjNFmQzqF6cKeO43pWCoGt3h3X0LyAfa7ELs/yPcECUBPD7fv+h9squ3r7NMDteDbwVrkQo5AjZDICN8fwCxdQbiTXguon6+EG+uAXAi6/HWU6YyhlrAy88FMZYNkaoV0MvZr+klIYulkBxwkUcJjrZe0xkYtM+/
   d2H0jr3Iur5Uc1UcM2Mn8EqzNpXQRuKJN585EYv5ocEisU8vGR2A/KFB3CoTlG94ULlXlIAAa6dODqsgCoq+Y5cyYZCcABTqoaLad58Uku9fC9NjgSGkPDMH09tQVueOJIO64Uhtgv2COT0aCZI0HzzosE9iueQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-07-35-51-GMT.mhtml

   Hash (SHA256)
   8023d9f516f9e8ce7840b832e3dfd7f294aec5884210c8c1b7aa79effe492eff

   Signature (PKCS#1v1.5)
nJLYApOpbx2x201qtiD2ZFg+sMy6c/rQBPjAXal/s78PSmabrOQA5QYMo3op2rpnmpps4v2XopvyH9QUosbchtpI02M6rO78vltn7Ng3hcWGCb2AZxCRZuqj87DNFqsdKzpMamc8+w1rpyoSNst/USYPlckAM61e3CIxrVchxKnQ3Uh3uENeU3dJi7sJ56f05Eu+Wrvu2YCaCPf/7dZ2/
GgG4ENkB3d5WEZh/pBrrw3VE39DtCaJWzEgK+w/y36/tP0QSaAk+4I7QXTmuWLMezQNGiGzomUAFQ2Iu57YgKgRtAkDkrcAue4DvmuIIteQ8vtb1YcymIaPMgNcKh5yfA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 73 of 134



                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   3x5 ft Yellow Smiley Face Flag UV Fade Resistant Double Stitched Canvas Header with Brass Grommets Happy Face Polyester Flags | Wish

   URL
   https://www.wish.com/c/5d2427116d9df27c598eba38

   Collection Date
   Fri, 11 Aug 2023 03:37:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QQIENLAE2Cpb3FuLxALOOJld+2sxyqJzc/eGVhPc+ObPznIbDKW7mI83xpYbdGN/IqcJi1INJRgpPYwfAs/jnPhKpg+Gr9BWUzc4GPJgIf+iVlL3KVelYQQb5n+psYRY2b/O6V2F3Uw2C6ibPb+OULAAGjsa5Bm0kMq7sRYYmnu0NXYyH5Il
   +lhQGQiQPmClfyKXKiVgLos14RKUmSikQi8N5+ueqRiOD7sHlON5Mgy0S4fIMKMwg9T5GfQdMn6zRWnV66EgBsGsppLtNDqKXi6qkukuxEnVtkGEYexyer3uUjOTh/UVkHuhiV11kCaRYcgnIxH/yjpCZod0+NVk0w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]5d2427116d9df27c598eba38]]_Fri,-11-Aug-2023-03-37-08-GMT.mhtml

   Hash (SHA256)
   f6e934efbb702509aa375c712707ae6b3c06adcdf7ab1b4ef51f6cd57ff48f09

   Signature (PKCS#1v1.5)
lETS1SqFwW+c67mhPsznTxsEo5eBEaO5WA6II4Btcp59Xur+0Ue5dByNmewr6hCGoiCsVSe4btcPZ1OhtFDUBd8+buFOVoTwtCVZehCudAFIF2QoSCncxu6N8p4i13EZmZGGD8qzscXE+SbcetGIIBW86rBWcnS1GqXUYi
+lJHkRKBG0t7tz7MswhZ5r8YLcWWnjNAjz5AzSHNo47Kwq9wSphb7gIjHJ/ICrz1BZvp1Zvr/V0x8cZYr6ZcG6ptBGI7WUbFTi12BojxVCfz7Q7P26+YZIQujw8bzYj2hbHQGh2iyN3qIomLdZ83bZEacGvTSWqykG9JmLLyEuFfaXFQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 74 of 134



                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 11 Aug 2023 03:38:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4976:ab00:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PzJXzwlm3gPMcOTWiS+FkdvnHZ1q8tzebg5lgYDOdmMi+5WB2plEWWu61BZiquRGSdCS0ZuqTwqsYeuTlDVF45ahk00X4XGhXoF3U5ZGvk4S45ze3Rk7Putr3yWMgt5A/R61Yehz3igKBIooAK/lxv0i/
   BJNuYr5eWiOD2radseawg213Cep9DyE5qQxWxC3yleW8QZMWBpC96iRVYpmJFCvWMaxnOCRRAhMn91uvfFHECTpy+c6VuysbxkJg4BqPfs7RvjF3m5v6WNwF9eU0t7qzB/0VABKM5NWbaVn2U985cdsEM3Kyfa8yrITGyiKKSuvxLX+38rL0VAaJXoL7Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-11-Aug-2023-03-38-29-GMT.mhtml

   Hash (SHA256)
   691882445366eeb81b679ed943679cf7a53a56a0ea2bc4892464d9a654b5f635

   Signature (PKCS#1v1.5)
KHWMpHPrk04LzzkOEbxtkB2U4bXLdAr6xIk7UrM7oPzRwDgCz2BglDY84SNfoml7VgQJsSpmbszvQP9m+WZjrQrFFIoVOzKwOYrdQLxGAUNXs4gFsL+2o1eYZTNm0IsnEltsIg/Od55QtS4F/
qylP3u0WNJwQsVz6qLkMGGvLn0JbuYdVZOsWwS4wGaej1MkDBHwh1dEDqaaPArKg/46+8/4ZL82fAA+4m/nQVLo58zn3/K2zqxKqTia8poYxwyqif3L0vElgfUGWmo1kGsMGGJPF8hIMtNv4O6a/jnoEy5PnLaV4P6iqzSoNDuGox8w4Ed6i+TKAKlWHVcPG7gDtg==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 75 of 134



                                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: FLINTER Makeup Bag, Cosmetic Bag for Travel - Makeup Pouch for Women, Small Corduroy Smiley Face Makeup Bags - Cosmetic Travel Bags with Quilted, Large Portable- Brown : Beauty & Personal Care

   URL
   https://www.amazon.com/dp/B0BXDNCXF2

   Collection Date
   Thu, 10 Aug 2023 05:09:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.244

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   a1WKKHGi9c7E3A+5DR2s6XlysZp9/mM/rHMQCKBU1IzWwkv1Npm9zLHRTwxH09noe1JywNCnhM88bk7b3laXsjDjHNbvDcK5tQIxDx629AEggNRJxFz+GfGLhzO24SCgLKXoDlQN8ZLTDybFndJHxsBxqUa+Y+eUD/Vurcv2dKxuDVR8/
   u5hhopvRoWuu4uMT1bDQNWLoWKec7A38I7IB6OXZUbj6Yfi132+GFTgBdY3WGMn/JgnCLQUKf4XyAwxroQ0y1kzBZ59daWdBwk6/Jiu7Qbrw97wDwjnzBINMmANyosIfGzVJ+arEnTwY9w0Rb9ZKLhgZnwIGeMPL+52OA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BXDNCXF2]]_Thu,-10-Aug-2023-05-09-58-GMT.mhtml

   Hash (SHA256)
   617a1d64c68c38f77a6dabde8f910483e12d439f400ed6f4ad43fb2f46471d57

   Signature (PKCS#1v1.5)
MXo+84G7I0W3t7W8aLJNGJ/y0Do922bMhN8wiqE8SIRhvX9UY8YYnPOeivzHx6zQA2xhkd7WrTavow2qnSFTxrjsW6wl7YMj6976mLysv6hRqp74x092rXBj182XKoesCvZWc0bha23nPolYDGUyXIHtMI6EDLnK6ns9Ypjm0QePKASReGGeTJ16lSUeUwNZHrzqTPKAmWwuq4aKy9oIHHB/
SyFT0IHTkLx5vhr4Bd5KpnUy2t8x24qYZpeSJ+i33XUpEfy6H+Ips1S8RQUJM2wttOL0CWxnVzzUoqbHm/teMtawG++5aviFLRxi6no48Suuso9TFBsuKPEhOPRrLQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 76 of 134



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 10 Aug 2023 05:12:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.244

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kOnau2ouQcXlc/WZRNYNEYMer44TrgwsREXkXeNa6OaFeQIOpiCbRT2d+e5D+ZWo78LkoyrPpqY22a9/4go7lc+0j9k8hEGH2ZhbhkcOWvJTtjTr3+cjimgPHxukE+MaCBwLAfxd0/oNEePyyYQVuscFp88JF+CBUnZJevuy9+hWWB1d9Lt1xookIqwhUdfCa/qa0VJCuRhiLMKN
   +Ak3bru4TJUFIoL/B+8NF18gipniLQADh23fCRmtIo5MGSjXkDYjTMtS1GUwCnu7tYHlXIk2OZEft2k/he6/axgCFvZyNzuMgKG2bP/x1mtggWzWBSpYacgTUuflEWxEHL35Eg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-10-Aug-2023-05-12-37-GMT.mhtml

   Hash (SHA256)
   ad060a9694cbda8e5711dc4bdfd3b187b1188b07f4ac89795de62272ab9a1fca

   Signature (PKCS#1v1.5)
JZ9jPWu6kBj60j/3A9ZtiloazDch2+joDj0E/+uRa+8RX+civjiQVGoC31VbH9QT40285qsNR5sCyFU/RRokgaeFrwEvPR5FVQuGN197AAvty0SWgJXHQ52ppfj2ra/S4TQvF2MmyibQlObkpmFFw7gM9hwWkhvrG6VG2Tba4npX6GIGKetMKklUqa
+iIW5F5VRchCicpV7ZquepyYlwpR9IHj5ypALmFQCGzZxpb133IJeonBM1TyIhgKOlEaGljx0v0XVgZymCw2Rh+T9KFl7HMGnYJafswuInHjz01tmnTQsNnNcy9DZuZLKNCadT0vCyYxszX7k3u590aQiURg==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 77 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   LEEDS FANS SMILEY CAR AIR FRESHENER | eBay

   URL
   https://www.ebay.com/itm/265747241210

   Collection Date
   Tue, 08 Aug 2023 07:22:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YFhPVPwxgGCInC1zGqy4XU0lMVwkDAOp7lbFel4/8lfJ4UdV/bo/mRjrcDql6F72SQ841y9JylmpG91dTJ3cVwALzIlcqYZmCyTmdxlTqSSbqejVEb8LwetEK32tuAzLoaD639aIAmWL+jDIkfwQA9p/giLjCnBIWNi+plxqJcmruDYMByAE1vUt26YAYjY5JsK/BuL/
   e63O4yVAMSU9Bv06hmh6SHYTTsHfg2pPJJQwfHK4ndwhN+A1qtwNycBEvhj3ieuAwWvwIZUuqfhLgPzfHoZIbG60jssPgdb4CyqyOubdGaPXj/hJsd7ikhTEm8vPFI+zGP4kCviJaJxi7Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]265747241210]]_Tue,-08-Aug-2023-07-22-27-GMT.mhtml

   Hash (SHA256)
   e068e95348575a51067c34ebd56d41c98f1f4255150e64833e22c4833b2ff7cf

   Signature (PKCS#1v1.5)
XlPaSdb5q9PjMjgK+QzfY0gsuAim6GUK7wGpKzhUnvS+x98Hjj8irDMuoMiTB8Z4sMn9EUZtvDeLIpPOsbW51luO3mHGWjWFZKlJ+MdTDoYJ0hNAhUChqmjYYHRF5W3M49I8NMZJdVkv6msshyhHs+Rs0Ww6Fj0zZTjwJChv5E4PpR83Uv9tiGtKWlOse0IgWud5OsJyLLSgvgod
+HlW3e3SlJ3cIzsTeX3NyhDJwWuyXvR3t+M2cSC9Ib1loHU5kylXVFV/wROlVuoRM99I1yK0sFdRr0SoRyQHWozSWnP0QYU7BdIVqGlwX6A7/IAHFuSUSLofhGCJsCFnBwIn0w==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 78 of 134



                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 07:23:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fpDrDmW+5IedA9MHzpMC0jqq3uJPiWP8Xsa0ToaMkDw/zZpQB6Fy9hIR3VtLCVypbJjnlpgyQgYdOFbPJllNg3eV3Db7oLtzf0L7JHvojOut4GMKtqPrNGAO+fZEJsWkTdNjaGgd65mmitWl7qIDcPeOk+eINn+v+Sz3IjbwaRJi8+bmg4uCnBO7tmdpQGtSzdB01kKGQJnB2bFhfQ79GEIJ+h7Ct/
   snkl0pyAuAQaOymeJVpWtRmQ5WrN6izN/pa6EfcbZjjUmJgbfcJEyDXYdlzHtTiNUXt8Dn36qfOgdaY7MNnNSqyINziYIX2wIbQ76kvKdYadOTzZYwJqmzaA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-07-23-07-GMT.mhtml

   Hash (SHA256)
   3d192212ff77e7362e64e2df0be869825f54a6aedc0f5e57d590819119b892e0

   Signature (PKCS#1v1.5)
i3CpHCi1Qd3Sjo7nbNgXV1TIy2L4NCSJ9qir5jsrIGWMP3qHcNtWuY7ZqXnHcKP4Rrp/sQCSWtL5NlREHu2mhWC+h8gUCY63jDadpltXvcYC4Pjj379FW1SWBAcrFVdR5fwQ6zlr44XSOdit89EKGUnb1IiHRGd5XnVONFOcS6R5iIrrSZSUG6t1vVg/Hs5FshR1tUnzs/
IgfNi7hC9L5q5yFPxACxoPgyPVz4U3Oi7Ig/kRsiq8SLr1y2Z8h2kF9Cpwu3HfgZWFGiHosv2v4aHdxabHVjgV5ruvuZ8VoW9VahYHh3sVUsTf9M2EhgFKwIszrlEZJlupoB4REwQGgw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 79 of 134



                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Bracelet Real 925 Sterling Silver Ball Beads Link Bracelet Smile Bell Charm Bracelet for Women Girls 18+5 cm Extender: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B07H5XM39Z

   Collection Date
   Sun, 27 Aug 2023 17:08:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   F5JCDJP2MtnDcafA9dvIwtY1iqBBsud8h/ENVX8ltUytrF+OiXS4kqfWLALqlJiCYwSEFKSQL5jjpXNQd2HlleMqPXVU/7rMrzPTRgOyACOO7LAzaAXHaxD/+9AKDtIhqIpiw220R9RL1CJ5DiiTj6V6tZiDLIlMtW/
   rgsJnN0LmnMFbx2fNBemVY4OQk4ri3YW2Gyx65ZlrcvWqH50K1ZKcqVX8r3VHF0Z+vjfGFn3iEOuZsqmrAoSFZq+eYqrRZgAodA2sraCCUA1OjoqY+lNePdErfYJI0kH4wgNfhExCy0FOVkJFBRRxRkDaC5Q8lDjaTrURFeF7LpCMCqyr7w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B07H5XM39Z]]_Sun,-27-Aug-2023-17-08-07-GMT.mhtml

   Hash (SHA256)
   84ffde45d791a97f769959e64b6b2d047ef3fe479f9dd07d4223395bbc1f8132

   Signature (PKCS#1v1.5)
p+tDO5O/xtwQSQVGLtd9DAe8ssGP1UqBFbUOSzfmyYwzrh9qCtpxeqFRfvygK3Jsfk5MAcFvw1Sf7YpSNDUF/Qj4aOyCnH3aFl5SILh42oDEldC+V4LSUt+crHuI1vCCM1Pcyp2/
XlVz6Vp6Fh8Il4CZXTbC9CtddltLdvC6RMM736/1ehK7wlScqBWGoKPS1+t2UbGjhWQCKBqRyR0mMoA96pJZM6fvOP15Gyt/xtQiv0f+QfxIjtjgCVcM3DfvtSOGSpogY8ELVzwdKHZYopzr5xJIvadtfNU+WFzly+hDFktZI/KCzkEDQH53HbF+yGvc+1V5OimEGj8Lz4oh0A==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 80 of 134



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 17:09:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   x7TfinEcVLF1GWfNNzRUujFt7hhNnsjVcJofRIETCOoDO1IaEEn5wE2Msb+6CQxIbljeXmsDOiqxBnhHi8hFsuAGsyeOPcML+6GOUCD8QuD2MSo6KbT9/OYY
   +YnCu30o0AYTOOaQFToJTacDGLhQa5b2UzaghMvdBfusAtJL1U4lbIMAlLQ407Bq6CA0fIIGcDhCOKGk58LDgQAxvjt9XUPukzmUsw8/FtHoShhM+9unRSG3QvJSowQY51ZzW9uJfK/2RcUkHx0BMduWNzb7KX8DnGh
   +gOs8FpswgUqXcXzlcDPgJucj6fc5eoMYQyBMleCrxooTyAJ9HV8dgyQtYA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-17-09-46-GMT.mhtml

   Hash (SHA256)
   b0a38b17e6651cd965cc2de46b301c2adfa3227104e521a9aead891abf320f67

   Signature (PKCS#1v1.5)
hSQ01H5VGQ4zVBo7B/GAiVpSOtUY6gcRPEtDPmo9AOvCKEWnXVCG/5Nf8VmOYjclntHv1WUI1FWuxcrbSpYAgNHaGjuJCiwnIVa+9HUYksR1jsIjkOlDyanqRrxRHio5rXgk3GCTq+nmw9sxZGtpoP/oLBukzudaXIkG/Ser5S7/QmXHIydJmmUmf+T/Vry2TXQFojr81kaW24UyhKSYR
+IqEQG3cf7zV8dn3Ja/8ByIyKP/eRsS0BNhP9v0pgpAc5h7Lw4eJ66s2MH9yyGDv5PEETfz9vploAslmJwI0ufd4TJM3+dxIY3hCMVJbKJWUwmpx0kzkeA9QAIuMhvmSA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 81 of 134



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                                                                             Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude Cake Topper, Smiley Face Birthday Party Decorations, Hippie 1st/First Birthday Decor, Groovy One/Cool Dude One Year Old Supplies Gold Black Glitter : Handmade Products

   URL
   https://www.amazon.com/dp/B0C1G8J15Q

   Collection Date
   Tue, 15 Aug 2023 11:59:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   WGIqOw6FLXgVwo98yABYSDF7Ru2Pr92vaD4rn7+0uDHNkwJy52Yr5jWVM1CYSC2zmU49Du+5bsZDt4qkNv0yC3lKUYrGUXQGJYU8co5HUUCFf0nm+Q6zBO1s3Pw5OdShdmLEZ4amxXB1jqxk/RBYil6TCOSxdvuldqFABVY+C1kajMAk/
   uibPyyqmrVZNTsjuZRo4GzhbqroGjMMWthfhpqIS9Jbp9LBmxel3DScqdrOWL5qHOlT0QqtlTcSlO7+ry+wVPAJ+okxeElqvxBtLpN6dbxAFR452CPowywdwqA1QWpNvmqLCwRBK4i2vnorBPNE1lvNdC7QmmssGcAg0Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C1G8J15Q]]_Tue,-15-Aug-2023-11-59-58-GMT.mhtml

   Hash (SHA256)
   b7866b4e3b2043b10b889b40b49f0e58e420d5ddbfe0cfbd7fa9f7295f2549df

   Signature (PKCS#1v1.5)
mU8/v/uI0i2B08zC7m0gXPpQZTYRUMvyHhJaYfViybjXsd7WXR3XGBaVAf6olsmsJtgu2L3H5/5Xc9I8QY8QlVIu/+kiK9gpQb6RE2rZ1NhRfrqgjq3stHlVH0bTvdRmVTUWYpjFJqhLuz79B0PUz8B49Tnn+TJMPJCwFTh110478mr/0xYsxcJkE/QSC8SV2/fWIlMBlNnBAs3XLiQbAzXPSvCSEuL6U/
xAO77I7OJpVLozsSWMrKBIOgDRbXbhgoxEOmZfs5tSEnzdSL5FjFU5HRE7kD1JNsBi4KAJFGYuJ4+w0WM7AS5xenAWASXcOC5brBWNgIGzbJQkTqhJag==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 82 of 134



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 12:02:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   pVCdqoK3W5/iuBSczBG5fmyJGfQ2hzD7duz3a4oniEeSZe/RkwBG5TAtHB11I/CQYP/JzrV8qZo6jdOGIvNK9Lsp4xNQFbyIY7wBReHWa0Y6S2cqZw2QpnXWhDow17H/9gtSMBhJqiEOmQvdUhDptyegaFeZqtkF1oqYM+RwFQClkzHdLRMLRs/
   otBue7JCF89uihjP9MOoWnQ1AlPlEQDAQXaBxUAhc3EOI3UxWzMCpQN/gXC6AD+1CTggfB3+Ytz8AuPOSK3gjZQCvRKhCv9CQmuWaStGC+QKh7rWyJxyaAmO26o9OhPgIQdHXhbyN2FYwo77FHSP2fBoWAFH4OQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-12-02-10-GMT.mhtml

   Hash (SHA256)
   a3384da8fe46b695466276face9f9ba1330ae874985b10cf7d538a1388a4e979

   Signature (PKCS#1v1.5)
n9RdQUjgJ1tT83yahtyW28DmvzAFqbvMAhyNUHgzL8Itmm5JHeNXm3v1IDGA4ICQ8JqxGgVrcoDOdt5Y5+tKSr2P+RKEspKe8yNKJytaOba8WZQ4MoyqbWEed15SPsUSyprfdJcQ2PqKlduc8H9vE34lEMZMWsjVPP244/
cpsGUEUNQIA02dq8Z9MJHA2Cml9ZDk4dMuazNnqiMaxYmKyaYvWauecna5D22DbwqEIIIBg2Kv79yVtXATryGafaYfccuH/A3DBxBBgqWhKnevljnmJ2sA07qU/zsBSlsexR+beIzWZYpId4z70hgfZwAWr8yqkkkBHpL/Zzdwp8vmpg==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 83 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Yellow Smiley Face White Bucket Hat Summer Holiday Festival Beach Sun Unisex | eBay

   URL
   https://www.ebay.com/itm/125991323268

   Collection Date
   Thu, 03 Aug 2023 12:13:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HoDCXDI6FpcQaXVhBsl3+wVCyInW8o7PN09UQl4c/up3Qu26XC4jVsEoX/cOUgQW7njVTAOPa1w6P/gzGqAove13J5qxZcbQDDUCEoexzkahGSv2qW01TeeUhEm3xN787F4vOSiwaMX5uwa7Y3kiwR4sTedfBZVJFAp4S4VUi+HdEnM02WJXEBan3tc2u7xfuAuaj
   +20pKQPC1svKgfIAC1uKRwHMXq6Su7Hc5pKFH8dVdS2mS/Qm2NRPNXcTq/NTAsytBm3yYvaYGnJDK9s0bS42d1K2tRvBGbKxYeULlWRJcNoFyUSY4N71xRjx21/fmB9ueyfA6nzth5gRTEfcg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]125991323268]]_Thu,-03-Aug-2023-12-13-44-GMT.mhtml

   Hash (SHA256)
   c3d270e4f95c593ff48c1c0dd4336a600698c81ef7daff507658101538695993

   Signature (PKCS#1v1.5)
HFT4SmeFEvpjoV1RzvEyfGMfdwMyjReB5LSDeoR2u8QHNKtmlJpbmux/YFYLXQU91xMUH/GJnN/vZJoGZ2tVDT9gkKp94pJP/
LkEFDS1ppitxC9lxGMns3QYRTNfB2+sZu9qrBrMKj1vvs4PYTJLrRsN2S4qyDZsPcP2i7ZqUOBuhZtymN4zNfsJO0BLaISsf5ljtpZlFjpkJCCajvRh0iDMyB0ohDzv2ZvlrgwZHuJQ6Y4EvRnfcCUIlh4cpFjqiVO8ctai1yWRrVZDFRPXuGB1heYjyC3393P3H/
Z1KJbKNnyXljv6rK7e1G0rjakeC1DIU0Wf2+je9Foyp9ydWw==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 84 of 134



                                                                                                                                                                                     Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 03 Aug 2023 12:18:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Cp6KR1Q9v77o/zEC+xy4GA4lT0m8QrXpeKNP4zkUg+eUo9XB914VqKkT2+53JvNBEeYNQaueBkCA9xDKfjlKgtbjNETRwLhpKu0O24u71Q5It+xFf7Ug0tZCYepvT2BMNcVqtdN7PrQeW9D+pbS5pUIWcYLdWg8+BwJgEMIMj3/
   ZdEefpXax3wxKcjvv73TYztKkhJgSTjwmwSe4+zcOzzWvm81Bc3TbOJ/bKgsqSnJEZi+j5v9vt0t0njqnPLbRf4Ogolch/mbVIvwyZxvvtXV6LUAq+kTt64AgehZgCcpNP8SVeEaX94kgw5s8KuqnaA5i9MweBAf/ogQS3XHGyg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-03-Aug-2023-12-18-49-GMT.mhtml

   Hash (SHA256)
   cf809d0b4fe2a34c7fd8f9788f3b7fba838665932923ce023a36ed840190923a

   Signature (PKCS#1v1.5)
T8jvlwv1DLATgP8RArkMLqEIoBFV3X8R4P8FZKW8k5Mn5oqB1OltkUyP5K/+u8q0bc50zSk0o/RjqA9+rgEuLZFmnkV4pM0TOu2JjILJKCB3bLK2HWqHYYJHOo7AvVLWrWNcsAAXmNgSwpMZM+P/LgRMAJxwU08iN0VG1/
hqrq37ho9TBteGxstJOuu3ecckeLifbIk6KmVp25sV3TSNsxPT6D7g70gevpjCUDSoHu0bjcqipYQ1+0RPLNSFhhR0A3czVv9H1t4TAXt5EhJvti9rHL0IC/7LQbTcPpoGTfHvwdie7apFSUsFs1uIriRI+6PNd1F9vviF5HOccCofuA==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 85 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Happy Face Cufflinks Smiley Face Yellow Dance 5055407701024 | eBay

   URL
   https://www.ebay.com/itm/254131396180

   Collection Date
   Wed, 09 Aug 2023 18:57:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g0FQGT2D/FzxK3LOpe9D+pDGwczX80BQ/1quLZJMsj/rpuIdPSU1JfRa5zp1FuEJjnHqToLskV33kOyHgbZAwbN3LU+TApiKG8pHMzTHChhU4F419ZJKAPSpMoGTD3CYVigwcETtzBl67eqUiZc3fnKM
   +MchH6pldklFCYcsYbEctena1LUN8TIgBtI7HQ5tJCqHlLvjbi7nRxy9DeI4GcAmRHH29iKZp3uAgp4KcEHOssLryfaLILRrDZalXY4uR518vqSUOdBM4nxMi19z6rmunNSSAt3l88km+/YyfrcS/Ru/UZG94rkTUnHtee4c3ckuoRY1q2w7aWzttdXCvQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]254131396180]]_Wed,-09-Aug-2023-18-57-46-GMT.mhtml

   Hash (SHA256)
   11cb5433fb01c9a72a7acd7922b620ecc869a212d1ec444c80f39f2674ec40a5

   Signature (PKCS#1v1.5)
SDp/B8Z6tHROEEb7NOH1H+Wr6VryExNJ8oaLHQEiCerJMIyGq0uCQ+OVLOfelqGEBO8nhopH5uVA0WyKkpA93BzQS1ATyJ8qme3AO9/B5QFcNa86/VzNQ+C/wCTN3IGX9gLgxGK7hkLSvptU6GGpuHALDrsbOey0IMPcGOjI7CiY7fm2S1WI2bdKT7jXS4AoUsoZdpd4qnrDM1/
elbgDvH2H33Vozi/LQkDFS1E67aMK3R5ycm/Y86b6X4LMZVaBDOhXaO5a1s7bql7fStw0tMqsbmVmcLmTl7fanAeNVvYeJkuIW6yHfUuq71Vp2X4Yk6NV0tKTTpoye+QJODeATQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 86 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 18:58:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   j38dx2JKNG+kd6mBU7Vzxak6LA+dkUNaxeeCjY5vOj8sqFhBs9vSJxGig8XFnfxzCehfgKubKnEvBdpwXaXfKe3MBAw0yZKjZWvmbX6Xf//y0b+PXzQQyYsXxGWTChmUC+pzkPz/sIZ5CPj/
   Pla63jfY7kFzeTWNiUtLEXm59FpkB93UIa2V47slChrMSB3nF81SiGvVela77r2/4vlQAc1XrKDanNnyFWvMnu1r23+WSQ7U/+1klUxbqHo6EcOXAcv89ibD3jsLmQPLT07xCCp6P5D6Ol7rFzZms/Rb0qdxql2Jc1tHOEtSOzn0C6cLXnI10LI6Dc+Z5PtUefpCYw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-18-58-55-GMT.mhtml

   Hash (SHA256)
   fd303ae725e3a01818942c883d9d715e75e64ccbee83b697b76a8a20bd71e308

   Signature (PKCS#1v1.5)
iwTTSoq9D31HY6Xp93/4tQ1ysUJYKhY38NoPcZ0m6v/aRH4Otc+/LaVPHoZEv0fYwJnFi9ksmMlrC9TgFkVrdKSlGwP+MdaX1RnB3FiIqwOAtYptVOHRjsk6ML
+vKoh84b0pxEizUbg96juGt0MK2rKsNKxgMSsm0rEQzNZT99bOBO93jZGKum0oqKQ6P029laMgpNVe0HReCCgu4vtpDt0M9/4237U6jotifRe5xGDAEtI/F7fn3wGYDJvin4fswN+yGLR0S2bySae8lEtb1qzjPK+9Xr3vcLn6EP0sD95K89qZkcZK/bi/YYW5+Ao0UsYWUpMTNAGd0y2sppMa1Q==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 87 of 134



                                                                                                                                                                                                      Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   BUCKET HAT SMILEY FACE FESTIVAL BRIGHT FISHERMAN HAT BEANIE RAVE DANCE SUN | eBay

   URL
   https://www.ebay.com/itm/185915797353

   Collection Date
   Mon, 07 Aug 2023 10:57:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K9KlvffScvN0XmWCDiVdtzCeZYnT/VO+VIEiXYaMtVRH/C4ReLZfkHJJrwXz42Gz0lbx7ZwO3mLaLMourOQUU8SjQ2AIkyr+iisD7qgCBQxGYMjg83RZxTy7w6t34WZGFgBpf3Y0yEgcucj8+oNTEgWA26endAoX0k8ANqeOb7kI
   +pHd48+PQe1RPulKF4KGS6ZUmi42S0Y0uNaaemHH1+zL8G62PWhMA2Bjb6mhnw4mZWsRH59nylF1XYMyKd04EPvGVdKYxXiE7mT+ZFVOKLW/XLNRax5ixz7knDD77eLubwILAhyhneZ+Cw8fHlz/xCoYn4jJOYgtXTA8kVu/YA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]185915797353]]_Mon,-07-Aug-2023-10-57-09-GMT.mhtml

   Hash (SHA256)
   2d68146fe2ee7dcec6614627ce69717bcb22f1d3676e100bf7750d3796e22cf2

   Signature (PKCS#1v1.5)
aCpo/7haqsX3VUlp65ApCG3VwZv+aFXodW11vr3tKr+kfXDJdwD0cdplaOfTwOBwlj2L0POw0PsTV6Aw2U7LEyRwpnEbXpZcrLaQUvQKCWT+TGQpRro/KfEfNPkqfdlRvweDyCO/xBpV7qCHioBHzK+3VaSAOx+YHwNxAK6pC94N1ETj8zQ/QEn1N89r6uLSjiH
+pfm1r7MuNvBFrNa0UXxqT2PrVrP3qXZNPRPgh725nmAxldYBgpTEzFKFPBe1u189R0q4pCqPwWjyMMHwCv0o+zblpywX2MFvGB5MqLAYbqllXVUh7Rfxoj15yIotasPbj0uCL8QDFWC8txKNow==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 88 of 134



                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 10:58:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kq+rew2hJQls/5omtt6zAxf/ys+Z1H6ZCn/rwi8nZDllIfWD2s9ig1QFgRKHojsbvZZXJrVfwfxWzMPDEoD6JkYMGHyQAqYHgja2XLmM7vzjcNM8+6kBetb+WrssLN6ErHCfeK66iO0ZB21t3bKQJGxdhGMV+hhTwoeDzm/H1SYoMTvJlmGTyQC/54a+P92I/
   Nf1uLbNrMMG6ZphiyD5vhebr9p65AJKnn/1zlIN3LlFdd8tJ2SxtXzS2mGD10r8s+BUk+S5Bsc7061UXE+lo90Y8dovJBgyHWeSv3aXM62RRRr8T0QN+kfI8iBc32Hje10zQGUTtrKAAd2x/lv2iQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-10-58-55-GMT.mhtml

   Hash (SHA256)
   e19d5bf01ce93dff2847ca16fee86b905fd9f8a7d6e9e7fa3963aa2421d9d7e0

   Signature (PKCS#1v1.5)
NNkDx0mdrVQDk0kgE2xiPBgWO1mqiPRiKu/CyqBtBWhkOQ4Nh4tmPX/Sb3C1hhibINjOaUSFSxTcVp4zRRIc4VJiqAsUEfVHisHWjo397dQTPS1LkafEe4GLNWQBm/lIEucOAPuXFJisFBDBYssXu/QjlZspII9lL5K03hSPJnvDeZTQBkEB/7qIU75vbWwlDWyd4/
pVjBX1oroLfOc5LIJrInH0sRFi8O2yJ86dyfoiuz9mFv3oQlx9k4s2vTiW7myZh80MFk6fg5rlLFvGbccjVWIe1Ma28xbEekS8GLNWlyZODZI+yaSwiHlM/YCxSe2IdKzYIu3ouyWpD05H0g==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 89 of 134



                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 05:39:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4904:b200:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SzGTUiKQ8DzYl1ZxQv27G367fM/uaE7Rr8b+IFCOm/PqmFCs5va1nMe8fsOUhb5Bsc01Ci3jQ32VeIbnPloEqC7lypKjQ4TtmJLSeSY20TBxvwxnFRu5f9skW1S+b8I2SN+gKPq/
   j2WXlBEnGsHPUQ2SmRDa8BSMDU7SY63m0hV2Kof8teJxgoahmUOCkjWWpu72pySg56NhrcLZhlii1OG3Vd6zJrqnDTbhCrO5TwqqZLXk7e30QJel1xgnY5PL4XgKZghrmLHjqYHJL5Lzqhgn3ARKp4cw0m87qtOFjohq11MTKHFyPWDyStB017Y7iy5vtdOcPz7p+vCJY+wTLw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-05-39-40-GMT.mhtml

   Hash (SHA256)
   daba4684c9df8eeca51d0c2d64dd21b25bbd9d6cab63a528acfa79024a6459c1

   Signature (PKCS#1v1.5)
J8cn5gQVZUTrnG3jwa/MV6nzAW8wb1fBvZF7y/ZC4YTANfrAtrshPcXB/+VBUBUa5Iuv0ZCVg/DbABUNoM/mNA39Cka1x9/0zL29o7bTw7BSSYEqTrYo5QdsOsClGRjOdNrXQ4mOyVx2GRvdtrEumDkZNJw2rgfJsJC3LxzwTbFHWbWPRD6kefCCDsBwafQgGSiECP7OINJW0IEL+HFFr2j/
kecPJ6UQwLTV7fZkOEABDBL8XHLYUMf0TZn+FkOy7lXFTUWkUR3DBVpgrrqbwcz4MBWe9j4awjh7O3zB7ooSWM5x+I0qnwjXkPOWwtnjw7wvWOJ7XcULv5Qs7HMmuA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 90 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Smiley Face Coffee Duster Cake Tattoo Face Airbrush Reusable Mylar Stencil | eBay

   URL
   https://www.ebay.com/itm/353956189474

   Collection Date
   Wed, 02 Aug 2023 06:31:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rOBIZtB3lsDgj4WsQwXEaavMPEw32DeBEFk8Kx1K1w6McyeKq7kvwUs0NiP1gwK6vhWCbV/Rug+rL+d85bMe+VRkeeG7/19FqSqmD2cIH6OHaK+r99T2JAdZuJ+MPskWCb8Jk8FI/oxybm52aoRLs6WG17gDA2jIV9p3dr+q6Xk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]353956189474]]_Wed,-02-Aug-2023-06-31-17-GMT.pdf

   Hash (SHA256)
   d28b1283b82817e4f7fddbee8ef424ee2c31ec94b85e42d90684ea660f8558a7

   Signature (PKCS#1v1.5)
cWqEcQ4S0FD0bTAjNOd+fhg7ACPzCjCW0FfnutiGKyXSl1hYzeS7QjHLniBmOuhmfhsmKQuJP3tiVXxc8IWcTldNqU/XIqp26vQCJGJFdciUYIC0jDRd6yBlcXDqOdYFbLtGFnC+xzNUcw4hi43kGneXBdf7t1EWdGqqgppyALg=
                                                                                   Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 91 of 134



                                                                                                                                                                                                      Investigator Name: Michaela Borja




                                                                                   Evidence Collection Report
   Page Title
   smiley face union jack lapel badge united kingdom great britain london | eBay

   URL
   https://www.ebay.com/itm/183065366279

   Collection Date
   Tue, 08 Aug 2023 15:23:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.65.0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ORIJdPe8sM1QQMjABU37OepnT5ddd3WAMGpECi1hYFTmXjVO2xGaSAL87VyN5lGAyqxiiSE0ZhAELMNDDuL9zU2FsC06hzXv8j+fvn0xbOXkKQVylIVMZYKWLmi4UDTA+AbT4m6ea5bQEnmzt+upZQY4zAh65gwNXYASX4BPvP7lhKfoUuCSMqVRMLevpf+8trfxxzEqGMK+GGqxMcQjvPrf/
   zDno/PTVcl3I+DcKCHlTM3O6zSbqwHppgRakAYK73/HCiTCsD2H6EI4Fs0hUqc/elTB/vaOf0Y2PPQfsMVHNJM16hIyfJtEdbwifCzWjgSdtHm0vdpykYibPCvv3Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]183065366279]]_Tue,-08-Aug-2023-15-23-48-GMT.mhtml

   Hash (SHA256)
   56d172c6a7e986e539476b06c70c86f4b41a3abd189f37d0ed6d4b497a5d8152

   Signature (PKCS#1v1.5)
bZ2R6oNbW8shCPySHXHdzzRJGFN1B5T5fk/joYdJxQxHNHvDLjMWQpdXwRddz5W11cFN+ESU63PtXTFyePECb4J7Fa3nRLhqOK/jm+8UuEaJ8BMulzwHYXlB3CvrFrUmdxpUZ1m54CM1tuWsShDMAEJsi/
SNfDO4RClMcZ2oLC9WsLRkU8PKeoSnypCmpft8UwbUwSGrq4IvolJWeUhOZx18OkgJyr5L4xFOl61zwC/fc5H6oIPjNbARqZjqfyjkUEvBD2XsV5OXNje9TNMaoMusMijnGCo02XcB2ktAky/+/LEdJLQhbauRypGY9FMdRjcyy4CH79yOb36bSIKQwg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 92 of 134



                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 15:25:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.65.0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iPPve/Ur3nAL4Yvd39IZEXLGAahJhbKTTbM23GjQ5HJ8a+MneHoLBxPWnpRCaS8sd7eDVIaBgyvzSuKpZompRL7LvvdLEC5Fd/YtHFk6Mf+Gn6McsqY56izyFKyynDxfqiMVWXawiX0sK2c9/c1Q+l59usT9/OiiWNt8HuR+HHlcGGq1nRRtpiDbmdN9ak9Ab1cFeI8zZCy1YNz/
   TTyJh6nu2u1MaMy6vDTZOZwW0OxSg2totZDP7XtU39KSTZ0wE6/DsTMKeeaTCGaAd74clRYuvH3wzh5vt9Q5jrjDrgQCu7H8WKjTdqa6BbgBl94HlS+OZdVVapsSt7L0KJw5mw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-15-25-35-GMT.mhtml

   Hash (SHA256)
   1badbf82addc47c001e696f20a1c6ab3d540fa34879c5ecd159ac736826ca75c

   Signature (PKCS#1v1.5)
Cpe/9GRGEl4qsvvTutIq44tDoiCEbSMDBmYfEoKrFCyvhwJFZgNRbKo9zXJy6vqBvovbvnlrnr+MbzOiBnJRv+5Qff97Lv3ZmXiSeRl9VqY+y42x2gK9cu4zYlGAaWr+3sJTUavlaRId0n2WAeiN5zeoYrH5gnX1hZegbiyYArefyXNx
+TxEKDzz3IET9aFrrN0aSfqKDszraExEgI74ux9zEX9rkA9fonMvBx0Wy1WMYzlZmMNXyoi8Lm7gO/MHUCFdxXuRutECc7w9syswqjkVtM/767TL9xuxbtrWG3AxgXpOLvv69Iqzki6I2usi23hr7w6teB4bL8ig6OT/gA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 93 of 134



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   3 Patch Applique Smiley Face Acid House Set Embroidery Sew/Iron On Badge | eBay

   URL
   https://www.ebay.com/itm/225706519975

   Collection Date
   Mon, 28 Aug 2023 04:40:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AKMZ2u4G1UZBZZ1sdDRwEQYnqYX1SIQpe7AGoRlpBA6bzDkGNoLDagOtBajuX1uykVqiJZdg5Gh9nGpoGHJfBlpxeYMUZMSaZnca7mEi76b99AIZoK36REYoTNia7aTZIumvjNosq/4UVsqIt6LVixTgnKDIENJQiHMBpL8STBU=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]225706519975]]_Mon,-28-Aug-2023-04-40-08-GMT.pdf

   Hash (SHA256)
   f6ec1c0977f820f244d1d19f0bcac3db1caafe4ce041b6bf7c6906735d1f41a7

   Signature (PKCS#1v1.5)
gBrybo2eb8xkO+GZ8xPoOlLqVP0ckdLQ9nCYfG0JQCODrUPBoAoe8uZatQqCPPXRaTcFJtGNQMFhpdrn5VPjC6UTAW3VDoq4s9WUuP9TEibkQ2MzPpC2RtESGgji+r4YWd+77p5qI6/TBPtBYEtWVlrgZ1wZjbz4AWjqqoEeX8Q=
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 94 of 134



                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 07:04:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XThqQBiI07So8I3hznC4DVB1wzV81cUnfmhTXCfrMBXgt9g9rWK0+OpVGxIOy7VIJZU8/2qkbvE4rReyzDZgqEh5aFO2AnAwCPbYB0+Vty7NGpde99EO9AYAInKGGMKlI5v6v3lkRaqlbOqBbNZ9FmG8h3KjDOc6eVLjxgb89ixMBE7hXEyvRbvj+Fg7izWdj+iCmArLbWRNJIcC0jYfuaflFNs
   +mk0GolmBRCD6Rx+lfhRIaePCsXUyaGYKAkm5sL6+NxW6Kyk2vkt6g26wWtmew8L60mtqkA0cZK2BQZZy9sUVrwKULLgnFY37cDIVktLld/54iIMUt7jWU91gCQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-07-04-04-GMT.mhtml

   Hash (SHA256)
   801227635021d22b66fcb50fd92878060424408e308f82b06991bd3c64339491

   Signature (PKCS#1v1.5)
T5lRcmO3yx9DTPntijsWKyshCwoUQsz5OOueVgKJ38OikJqRtdNKZMz1AfgAVDOsPQ8woN/HS+EzaMlQJ/VEqN8/5Y5wR1cGaa4k76n3p5r+BPIKzi9kcb6nfZyeqtJl2ImgZpjfj9GPl9W1Bp7ePxsWttTmLelJRJHBpddi2GYL5FwALUclCyBMf6hegFbJDF22XRNZraEoKHus7soIpe4RSYkCnBcugPk
+dEAwJSL0iGMvfFAUUNw/j3+IjEohA7u5zUyEFMrU3VLloSxbZ5/LFPpTrFH4R9xwcSJytu/Cd4ilho7/bhPStuR7+d2nv90n8JsEtaXq8Hbk04C28w==
                                                                              Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 95 of 134



                                                                                                                                                                                                      Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Yellow Squeeze Balls Stress Relief Ball | eBay

   URL
   https://www.ebay.com/itm/354952576486

   Collection Date
   Mon, 07 Aug 2023 20:13:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SEOmevLAAYRqfWRXbSNPH1GIAHhAFF5oAvlwQsFwMJ+c8a2AuAfPMztq9Wp3N9AODsUkNRWRwLYb3dbqLPimNaBMU+nTzal2eEqAqp1/EAnhE5gIg8pSbwpPnJgBRI4xbYFfdu2kD7JHnf2Q4wtt9V8p+9888GfLp8JIvVwEZ6o4DfOg/BndOsNMbL4xHY7IvFQsarAK7n3w3TIGz/
   LNidYrh2LxwGb/4hXumALfWUkPohxwDf4JKa2skBdosliyecsJZ0NksDuhpskGAUdAylIlnOoXAW5KQpIB+ZnVnZ84N879Ib6L1KSaAC6hhUrGbjmwWoG3qtOuBTcVgC+tzw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]354952576486]]_Mon,-07-Aug-2023-20-13-21-GMT.mhtml

   Hash (SHA256)
   0ddcac4f3872a85da07a2be6e7924653612394ab82bb18ea08a1ba14af4cfb2a

   Signature (PKCS#1v1.5)
MPMJIiAeG/vXT3s+xSPvzXcYDOzXLrh2eEu3+5A0qA+P3wDyTONYnh8KO2oojMust04XemJNitfJknzaR9HN5bBfPpLg4NMn+fKltHnbSwXaKe/mKtYR3MWU/jNTRRgq42OiIK38QTtZ1oCDDwi/25Tox/
XgKY3aIZK7GJjFbTrmWeB1zzt3bmOtG1Fw8+KVilTVNcmbd0MeHl8MiXs65W2ziMVEc9Y7t5O59e2IPxFtJahONwNN/C4C7HsmxraNeys7v2MYuyMcgtoQ8m79UkPoXMGh0NSe0zQ3KrrHCgrBy4B1OReJpNLxLAWKHndJMjPPV1y/KA3oWQeYrAIFiw==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 96 of 134



                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 20:14:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cqo/tj5MRECwu8J4IGG+y6p86cYV7bPxSMNYCroCcRRMbzl6ReWwEgFbxhB/LIUHONR4uGfql8zVwAQ1T4l9yD2+QvFVCb1JspYpRTS4A4Yl6kkxQ+EQq480M0ibEu7veBwvijPsYp27J5EUSvEUYRP4y
   +EP8D8esUFOFa5fkdxbhIM8sJmgzi4DimPlf8mHWsFDcP51yNipoqBLGASW7PMLWSe30QaFUV7bjGVjRRVMOY1POxzmXIudBXjem9NDYVlOPtTAIVYr+5Cv/p23eNgJ1JaYYU0B/oVUMIuCvqWGN9e+ZJ4RN9lnITB4aCQ+xtaLlZOCcEHQxTxPM2YC8Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-20-14-21-GMT.mhtml

   Hash (SHA256)
   aaf9ca6baa5f356ddcb42af4f04a80e1c3f396bd7fe1ada6a1fa1fae8a3ffe44

   Signature (PKCS#1v1.5)
kEzbWwZnkUJnpeRQM+RnC7pk/GHUJP0SH1bbAsJrQJypIcXQIzb/onzHDQN26Hd4lc2rB7uiyjWaDrr4vcMsKPoLNOVvjj7TK0n1ihDe9SUGl0X3Rw8RtkqMNvr7sJPbw+eHZ9c2hoF0pB6opcDdtOK2Hp0vyGdLGqclaCF5wrAtLiuOV/ZMguE+jaeVyxUgtOuY0kEQ3y49zsC
+BuUCHpoHhCcjn7NPDzo+vl3e8YbfDYfaA7hb7jzqQ9Qs8u6bq5OLaYGgRiraZ0cP0Uithub7FhSFX3qxHg37xAP6Gf8Qm69ssoinvajrDYyMNZ+NV0CBn9vZyKSWA7URm1mjTw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 97 of 134



                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Ring, Solid 925 Sterling Silver, Yellow Gold Vermeil Ring, Happy Face Ring, Signet Ring, Valentine Gift, Gold Emoji Ring, Birthday Gift, Graduation : Handmade Products

   URL
   https://www.amazon.com/dp/B09PYYL3JC

   Collection Date
   Tue, 15 Aug 2023 14:28:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   iayW9dpNchigKMRR+vbRi/GvLDzhvOuxBSS0My1h3SVIamPqDSUwVmDyFDkr4zJJycPZZEtprl28+5s4seSvga3k9sKGJoC5zCV8w/sc7JTRrqnbdQQqnHYwYCw690osNAiYWWdznyuJnNw7wowjmkaJJT/Ymw/ZP9V3fRjhGYL+953gTGSN/Nd/
   Y5Rc7LugpS85PGywMqWXvzZAGEKG2729r0qTxprQD+Wa1LhKJxR8GYEqApd//yWUej+a3I6p87sgkyIFmIgTpFuMzvBlBR+HGrVh2ietjnZRD2EaAJLzczdtR/TwHkRuAcMkISh/u82DPpwMmuDyfpVVik8rIA==




                                                                                                           File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09PYYL3JC]]_Tue,-15-Aug-2023-14-28-42-GMT.mhtml

   Hash (SHA256)
   8ceacac754eb76938292823ebdccf4be6f517c755ae78db2a3f918c9f8b1d6a6

   Signature (PKCS#1v1.5)
V9Vzw+T1lHAvZFgxkXzvbo99Nr1rMcaiGF0XYnHEjp6gDVWDOSnIR0r0/fNZt9/SClpC73CKBpXQspt+NjUPp3NDe0px5bMcegwO8Qjj1tRcz3SdD6JCjuEts8qBsICAvtrhIcgxGQqMSFP2WdIj99gr3PITiTHSWsZ0nse8X7VfjK2pTkGhA3DhYfRto0r9BCi4yWv+t54mqjpu1jVB4EFe
+qO6hvL4wIhPKW8vxpjvFcBfC46CKOxNU100/92GgPTkE0BpbWGPbByBQY7IU009VGv87gJmeq6xArJbcQE/gsCouRoVx4p9008JR8ijnBVjglxv7fXGHcCNaH2IDA==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 98 of 134



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 14:30:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   rdP+3dbvdtKHMhkeTmqiddf23+oehpGufiPZaZHSnAQ5nWQFEia2a4U+5uzSBwVSgkbtmYZQz1/8Ds7sMaS3yCL03mJlAoSYk2tqwUT3MXrnBhvxRVyJEpq/Jyzhe9g/SxCPivzPRvoPkXoIjTNJ2DlmAl3RnS+6IPr9jDKSAxBiL6uIr0b2bfQwBsoPNVB//68Y4VlW
   +dKmGxToDesFpm6jeOwNmeeRcvLBGPvZPjBvdP1NVLdNYTkGURcjYAU3t52hfRuS4SN2TzxeDrhvNGozmvPZNf7XDeuk1AYypSsk4UzHxmEFPImP4eFC7vzxniGcAuWutFh8f+uL+jbBuw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-14-30-44-GMT.mhtml

   Hash (SHA256)
   da496f47e3df6b98f22673f87fe806afc6944ebb29a68f55231df402b78a09dc

   Signature (PKCS#1v1.5)
jxio7Qxy4NjJ/d987iif8uXw7ybFBZuAMWBPt3+WSoeA4/9RlW7UGZyHGHTQ8H5ZuRlocCJmuLNU/QHTxpcodLnGdcLMaNC3rLozUWTf13KNnS/Cua+g6xIPnsKtn30Wlgl0REd0PP4KGwlbH9FhZMk3pv8UcTnIFRbxQbGkQu30WQjSvppBb54/bbWgdzD/
F9ql35fuGBMK0i9ONDGNInxJkXe1BkM0LUCs803KWRiZIWzqY/UZHp/X+mZ8VK3FAWUQwupWIVur4/r2wGjwyHshbqtXtxO5B9967BIjq1ROj4k/7L2lWLhB0lAklCHpMGQNcE9EGRGtxmNBF8ugtA==
                                                                               Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 99 of 134



                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Gemyth Smiley Face Layered Choker Necklaces For Women, Dainty Layering Paperclip Chain Necklace Stainless Steel Adjustable Round Smile Necklace (silver-red): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09JSNJ58Z

   Collection Date
   Tue, 08 Aug 2023 03:29:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ssO9L5QmEnKzsyCPkHWBnTqCgspJ9/lg+fO/BNwQHWAZbVGjvna7hu3FK7NNet2v3bUUCikU22ERGxiLmafWxLxe205K/spZYiVgc7QOQBOPEIkv3eHFidw/H+wiaI8I74hs1jts18RxvOVG4g3TsoTKPmjs0DFNRLDKrO
   +URNMZj4Y5gACWMPx4lvy8iNx7yjlVkZTaLM4oviTDPKSQqaJrnuIJFON3blrlLp1vl+9in0IbiNcTacVuvUkQHzxyVHKtbzryZgZj5h3QMjyycSrldUdojFNIZ2HcMOOz2zgUUphmWIgCBvMbGpznM1QCH9EqHPD47+f9adul8EDakg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09JSNJ58Z]]_Tue,-08-Aug-2023-03-29-01-GMT.mhtml

   Hash (SHA256)
   2169a6f96eb3de43f32b59534e482985f450792b2d3dd0932cf0b5489c666731

   Signature (PKCS#1v1.5)
Ha/I4vRC2tz3eOaNPN0z6W88GDX+hpye/TTRU0E/hxBxyP7AFV8H9AeUucrp1UJJI4hAfjVbCQXxnMoCKLuCXbuncp4rXdzvBen8eJkZ6zxJzYriohae1n5lrxm68oZ1KgmUQQqt3vYbgzOUkS
+DawIC1GKifelFU4adaudlKv1VoSpQpc8xkyTKsSNMvnf023cqfUUtkPwYF9fUrPASvNK50zN2uDqzvwqkrUunPGTnCr1yz9/q7eb6STf6QCWq/S5pC+hP10beXm3CRtUF0ca8OH1kMQhodEMA+Lv/trGJ/J0qLGJ7tfkSuKgI9TPxP1OfsoY2qQk4ycDrY6CebA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 100 of
                                                                                                                       134


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 03:30:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lAhQjXlApTC8bSUzOjTqbZiOOuZNUa43QV85dc6oGHdRI0bbL7DBB2iWMbxKH9BFvD/
   SqIq40zHy9ksOqGEl6JYis1V3LNfZTBG9GvVfqwpdoiIwCyrfWwg05KDPmz9UDxS3IGJb028bV88G6LcFG5CxquiFmT2Q1gNZ92G9ja25FGZJ3tzJwIOUvMVX6YRq1EKhvrOdID565LkCOyTPSPmijKQgfSpXrtyMwpgz9aygaQW2p24G9UK6JqyS/I4TgUQId/
   UhyfAhq8B8Kc7DY9ABwE5fjuIHKvpa1tHHvty0Q073x14Z/a8fu6cbeZs66t6Sv0a9GZaQB2RBNA71RQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-03-30-36-GMT.mhtml

   Hash (SHA256)
   1246d161f74a5d3bd4b9a4ed5e7c3f782ff16b5b86471f0c2102d6612ad41fb4

   Signature (PKCS#1v1.5)
Qip22VCzxvue7ni0dv1O04eRnYJcO+wHtVHr1Cmt9jqKiJSGzFCEWYP24IACIKqSjNKApvL9ySl00ppPm4ftvw6Tz0JLZdMSfSsQ6yPJzKbL2tUWNfimmu/VihaqlFxHgpJxPsgDvA/GobNJbkI1ckYQyUWvDs+XkA2nTDbF+tBkHj9KY37EgWLlQQK3b//
YkJE4hD6e7qdWXgYelX4lnpDhAj7s8i9YFRjkaXk1MmaCz3asZeLaKKJdb8oBHizjMvNbhad5sBpwCLl+njR9r9mmltRl0z++yt/8Xkxu6SsZBCpN2cgGkBGGKShODhjG7X/5UGFWdydkTeiKBPAk7g==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 101 of
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                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Compatible with Samsung Galaxy S9 Plus G965 Slim Lightweight Case w/Air Cushioned [Shock-Absorbing] Bumper Cover - Peace & Smiley Face : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B07BT3YHHL

   Collection Date
   Fri, 11 Aug 2023 06:39:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NyA3s0sTwEyHIJ+mcqDvD0Rx4wxhy3Z0l/VJyfoXeNdzRQb1ipRdkwaIzPlJrAIda0U0OiriP85CFoEovCeMU6xcX+bcP+752bznL6Vj/VJzVkYUJJnaZylKqaU+I92pfGKjZgvFS19zs3ulKFG4HMMVH5Pmy48G89HoM8MQnt2eH/
   +bwXU3jAOXwsRfZ0Yg1J173koTmDAdARpBdNzGJq2iNNUFpAQZC1yVJ5bkDtpQ8TwucP/92RMluBPym819ugFHc8VE4sA6DRHFj/4mxqsdq14emS95tD5Y5+wt0wt9K3yHwjVoXKsAZV6AMy99S5j5mWxb/e1rjhdWxtVqxQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B07BT3YHHL]]_Fri,-11-Aug-2023-06-39-37-GMT.mhtml

   Hash (SHA256)
   d9dc9b29ed79c116e61448227a9eb8b4762916775804cf9ec753501f2a9a43d4

   Signature (PKCS#1v1.5)
N0hrZgOHG6CFZtnwHW+dikPhUN5H4S1+t4O11A4Y48oUIPEzUCYJlRphHfbXs8QdDWCEME4MTEOP00GNatGxhrYfC7NlmtYMM1JniA1T4RF7GGU5QH1zFBsWCN07fPHlvQ45SSVx66sYUIP+thfuqGi17h9pOYKPnj0uEudGyQZNiaZWXLkJ7C7X6rxv8yJfU9ge
+i3ncDNpiw8VKX9pRSyFAJmcBHIRa97Oi7fVkpUYqD+OPwKrVfqGKZw3bZewx/lSQbZwN+WJu6GmYUwCjNBihdp+NIh5p4UXxz9ZeUFpBOjEck/vPRu2R4vrzEb0PcsG+omJ55mzvIgay53gdQ==
                                                                                   Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 102 of
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                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 06:45:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e+VUaH58+5iyD1TPHbJw6uMxuumQiLvsVFOAHAHxAhu6CB2WSq5XEuR2A+eutm0ATVbbbMGyJlwKrWydwA8egCK0ZlFC4MXsyX1DHpJi1ixYNNl/pMVTgDo0IKItXkWXqdUaJ9H22yrDFtN/EDBQkVLysSHEg5V//qGiozB5xv6CSlu0f2NYgJEigKKVHc2iq7E2bfloGQUPsYaUjL/
   BEOOv9AXDBcS2bGY83DFaWO9rs6200a4TWAceXTU6Ll4rdHA5hL8V2bF3sJKOHQX+oHVGPlJuCZvxsoQnrqE9RqxSsfrhPoq1u/JNk8cOZIj6QVygENcYN+9cwz2AukqYBA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-06-45-36-GMT.mhtml

   Hash (SHA256)
   a29036e42804346d1e305e571d04e3fc00ce6598b7f091a3cca76d2651acf92e

   Signature (PKCS#1v1.5)
cL8nTZz4lVDeWaImoH40fRQ5xfjd/7bw21fQ4TO3Ftw5luWXS3ZJQV7VT10MWD0CvyglrBDsJFt1TdSX/eHk4+vK/nOlcBh5gJ792Hf0lA2g1gGhHDtEegSNqqCqJPlh0XWn6i52qRHmlnwgEx4Uyc5AS7Ap9Zn209ZDcCu78ufIr892culIKTPnvT4ePU8mict4F40Mhwz5ZPl/cN/
OkX52+pNFSGGhaqhZ9Trur+6i2xqFHwgcKq/tMcS/0QnTRpLvRXif0Uw/J4SPrNrPhaMLyUkJIXglLRmZ0H7FearzlvOq5EluQG+5Y8dqIgN7DAOQIh+BUtisSbyzQnsiaQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 103 of
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                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Leonid Meteor Shower Silver Smiley face Collarbone Necklace with Short, Simple and Fresh Pendant: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B074T81N6J

   Collection Date
   Sun, 27 Aug 2023 19:46:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   udvol09iQ34rgfwvmz7KAQQ6y0nH4E5rK4gIlq0LVjU4BqVpW7djwS6sjzxASwXygyRQ31ifIsxii6vOqHbSJCVqM19z6r
   +DySQagGKRKJJtm7YnpPb3LZLtB6I1z7jLqltw9mu17C1T33tanb0IrvACY9nETctUG4IrfYZRWkXOpoNifwvopYu40gqWAutZxqGfPFBofr7EmKeT2KDmTTtyIJs9JxQ1KI6DX788AUBPXfvs13QFadUjC49WNUrh/MaeAvonH6QKN6FaScbrh5Cz3VqyBHoskF9luOuqUxpk/NtMrMYHXa/
   OdXvwpMJaqP8h8p2jyTQe3lsal7IdIA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B074T81N6J]]_Sun,-27-Aug-2023-19-46-28-GMT.mhtml

   Hash (SHA256)
   020bb1feb64cf595ea715be55c29ff96bf85386fd06c1d48effb7db755541a8a

   Signature (PKCS#1v1.5)
brf9ugp0lL6+9ROBSPUJuqFgES9idkU5jYdVpgi3H6bzz2oTj7ObTOrlQetGq8bn9gRTlL1hWhcGkKdKY01sMlpm6UoXwUsE0I0N+QIbyCfaW1QsEahHFuN1pARKoxsstsu86m0l/j7NZ21O406h50Ss6iKpN8UZPznClTJD7oDZqUwqER5KIKnZm7v/M+GrbVa5EK7o39KnI
+vwI6TFrL29pXUQZHKmEKPHAo+kXvK0LZP8Ye7h8BgesW2bIPZ65kh5zRFfgj3LA4LoqX6dInij5bM43i2lJS2/Oiu2nePaJauKJHbYzhBvqk+JxG0qjk5fPf6u66b9Q76jNMFbZQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 104 of
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                                                                                                                                                                                             Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 19:47:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   y30WRlSiYAPKn3EMa60UGDaonEsN55POyU+tzZ3CAMQ+W1oK1WMJN5+wQsW8cbw0DzMrCyBMS1oB3onABGCF7GQEX30RFCrIvSD4JCeWprSNcLKVH5z0APtbP0QfauIOOZZ2HSGJ1mMDw4KvX2CKzyegsopObQxhD/EkzqGJrrKpSc0CLozwq/
   cY179QbsuxOFXQRDwcT684ZBKCX15J/21JjzE6kJLgIljuoauYSBNRIW4QzLzsAk6HjRZ5JU9m4zGmGAUgaDfjNOkviGrFnmyL2VVzE6VKAmGDZxqSH9x2KWG4l5WpcveM4CZosY2FG1HZH71EPjbY+mpZyEku3w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-19-47-57-GMT.mhtml

   Hash (SHA256)
   7ba834d3f6c9649e25df8503d6c734f081e1118b9491f9ee705494240f342799

   Signature (PKCS#1v1.5)
AoLAc5E8Vi7kKVrC9E0wmPDyOA2vwIEepxBBKyxOkW5JJAjrwVKSsNrT2k5Ua0uU4cd4Z8czAxN4Z+HGjCApc7KK0+3pYlwtyUzV6W6xEeMCASUoj2XuNrsCmvppN88nM3HBO505skoS+tbfvUAve4dprGt1w/
z2Kb2k7OcX3+19rzvn2mEwYMvtXZ7SSTHYHlKt8OtAbYDeAwQvIsSOBapS1QbvTkXMrXAvP+rulHdjFplOSuc5b+0AMLSV1wGZGWH/2OCk9M2XtHZbLpXWV0ex00daYXAErQDrGJV9MHyzU8wTZHEwHoJpfMKTdv3q1DfuSRaIXnocNDIUWCIlCg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 105 of
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                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 10:34:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eeu18Vs9tQAnOv0SqrcvMUtA43drf+4auZeIRnQTgEJeQ/S8M+wTaPTG7x21YsKeVSzE8SXnQ2oDSheDBpUqmaSO30EfbTquHhKBQebxv+qL2TrtMM2qNIEE3MrbbFjuAA2nvIwC9YDlMawkug5jTspyJsDPUDUnakMApGP96RjwWuLXKUBOa2iHpXCBtyE0VyDzlPTgkDaVK1QqgLq8K/
   SwppZD2GMqi/W3fWb3KZyxa1RJuC0E8Hoi0LnWBjNGcYwWU7v54C7hR3uVtpcxzhlW4JhlxNhsQo+YYIFjmKO48h1u7QNYs/cuhwhL4PHxj1mvStwq7QlZctCeFhZatw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-10-34-33-GMT.mhtml

   Hash (SHA256)
   84df53cea38d97718751ca2254a60feb9c4d66d88275dbf970af21ba007a206b

   Signature (PKCS#1v1.5)
GyvkLhTrqFs5H6RxS3q8JsK7d1VaC2LkynQLUKtyixBD1yb1lGbSiev5hmjNiV5t3b5eHl+4BA8K5lb5SzQmXW3B/xBqGpL58OzRvy8rtnZUaeMxYjHRTT/MOY3xfZhdS+pHwm1/vn0dPhyO3L1VTg2HKh79DVcLUerJsPOaKnGWjkIJGIdBAKiOEXOPpJ5MsmK//lBvcnCG
+1F7ZLx5lkSfbaHcjNPnTqOFiY5fqo57Zsp9SlPDa1iefXHs8zhwR2IbZKnv1UNae1oPh0HpB9HD8oW6iryQ6QCl3uujCj2UX/RdQnsxZO8ume6kHPJHsaP/7XZ2VfV18M3WTNclFQ==
                                                                                     Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 106 of
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                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Golf Metal Divot Tool & Smiley Face Ball Marker -Switchblade Pitch Mark Repairer | eBay

   URL
   https://www.ebay.com/itm/314142280554

   Collection Date
   Wed, 02 Aug 2023 06:35:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GLj1mcgYWKRfP51iOVf1/4S8MoUR+uP6g8rkIkZaR5CJpld/5S2OSajXbkdvJOySrxr+TydxBNFSG3129wfOY7fHmLkhp2E+18wHYPs8NZhKMtYI7JS1/N6v638rMTGeRuqopcQw4jNH2wRGkT1YDYTatUTCm3BVpytsOYtv4hI=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314142280554]]_Wed,-02-Aug-2023-06-35-59-GMT.pdf

   Hash (SHA256)
   ad97fe0e514878c9acbe213bd5366d6838f38eb427deb747ee0b467ad497c75d

   Signature (PKCS#1v1.5)
rLtTlR69fvLL2qWugrZcEzMlZwluiorHnhzjMXyjbH1CxB1F1izBUjEh5G/fMxQl0/RjG8lwJwnWH3dbxYM5KiZnz33BZv8B5PHhVkMfgUTqz2qy3ydYIP4CtK877W1VSzbaVqnA9qXiOD0B/Yod/sKj1m/TEVxbK56R6sttFrs=
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 107 of
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                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 14:53:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hgInyZVq5EAxjFfvMFsLDCLzVvg9o33z7G7IXEo/vyKwPpm7LFQJ5cqdqjvIAjmfOaoQkOsTRE3qjLNJqvAJtExSDx9CtUDEOXSU2p+eZdhMYqILXEznf84umwjlXKOr7HJWQUW+zOKr7xwxIU2+a7EKh1WxkII3ZfIVj8yMj/DrTQktBqSMz9pOf0dnC2c0r8UKTNjC+d13Hq
   +q3BGYWxKzuCstM9/09DqQsc4XBWKdIUdDfyRyouxbMcsOPeu+uF2T6Xv6nrxHRAaEe4rxER3Lkj37XNaXbosGH8wpd+oWDkQ/D5t44nq9P7+zYizSWiIlTGBwBt9vg7zHl4gtcw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-14-53-07-GMT.mhtml

   Hash (SHA256)
   45239aeadee1972bbb5281567306f242e3489a47f4151c7b40a6a1888c5b7550

   Signature (PKCS#1v1.5)
a0dJk/q2nh2xQHqOk7y2s+qzMrPpSJqJpZdQwf5q9zRL10GkcTmhp4QjnJlPyrt+9XGWvFLJ930oZetFUxjp1DY23alA4ekeFwQUN9oI/lnn3f+Vxwx8fIirZmQeM/6bj81B3NQ4Voc+mw1O8PnBa3Cn2tAHlvMJ4k07815Xlqa2ghUuoTxs5YzAL2+mcjHTeLTSmdfmXs/IdL5su
+0xgJkFe4MYLKiVx7TVx3XdsqYJCnJIt1VXe12AfS6f/FqLxcCMWj5RPWTQquvrIno7e+c19IdlFutHn+P61uZ1KymJI9ZM/QHpx/6jb4Ltki4QhxOgG8KaTlcX6Z3mnk5uhA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 108 of
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                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   2.20 Ct Round Cut Simulated Diamond Smiley Stud Earrings 14K White Gold Plated | eBay

   URL
   https://www.ebay.com/itm/195739528918

   Collection Date
   Wed, 02 Aug 2023 07:00:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gNzbM0w/Y5e5u4vBFaSt532ZtGOsP2n3RyeAwvsHJbJSWaZnXHpVbTX90+1NOiEfeQ/ygS+SfLAAipvEl4EPcPcowB90fkoKU7EBPBloQ75+k9f6hfHbNDtZLMPO7V4D5LMRLmOiaP4lEtHLF4E4Cp57356RHAaOxZi2L87PgEM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]195739528918]]_Wed,-02-Aug-2023-07-00-44-GMT.pdf

   Hash (SHA256)
   7a00f4d1edec5b288e303bbfb0206f5c6900b6b46cf9b3657b742ffeff43ac42

   Signature (PKCS#1v1.5)
C/tL7Bb8iUcfhK3sHMQUKC8sEaK96zwYsOheKhtbG71R1TW3b8duRJhj05ekkALEHjMT272SPgntRTuXy3Ej79Icmwm341EZqDL6vdm1BWVl6V291anhnccrSOzhnEkXVll2+u41awHpIPfzhIdiXKo7AWNs2UX3P5vFRHlOCuo=
                                                                                      Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 109 of
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                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                                  Evidence Collection Report
   Page Title
   Blessed Smiley Face Sticker Look Printed T Shirt - Unisex, Kids & Ladies Size | eBay

   URL
   https://www.ebay.com/itm/225435963378

   Collection Date
   Thu, 03 Aug 2023 05:12:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4992:ac00:b095:adb9:19a9:f7f1

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D/00SFHczydfohESQcZyNm9RS6RQRmOVzk0Yn1meU9ENIJRV6gdY7gTX/0pCbRV1M1l1gN74WiKqknCvr2Fl8Awil4LWqfgKQ/EKdc8Z8N9o62gQ981GhmoeULj8rIO/u9VNjsVFggYsn2sbXzkyoWnV342nIdG
   +UqvtBAIqbbA4p3P0/6ORI2qIpMG58OjWBuMh2pp22oqVSgLXMg83u37NDay5XVmYMCBL0MtcUVX0Ul8OFJdlbtu8Kq/In3gzgEUu4pBjF3eJk8UQIDVz6dFGdymKq5CcfHglZBV0+ZKK+qwRiyXrik3LFqEuu9iTd7hj+ilEBtnC4bSbFW+H/g==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]225435963378]]_Thu,-03-Aug-2023-05-12-05-GMT.mhtml

   Hash (SHA256)
   be8658a3ebce280d244f71236754d555d1b9cdb30acb3b40cc83aa7356987bed

   Signature (PKCS#1v1.5)
K7NjcAUTWk+onlZ9QzQiRogmDDY3G1W9zJIkB2SFrhHH4yPMGUeUGl3gzbmWTyCypYSKKQB9D/tlSotR2/TtJIglKKVw3dMOsU3WvH6rsc/UzH/MutZMz1sorF3QUR6OUgN/
jbzcTtF8H67kMdkzfg0Sol7+KNHujtEJt8OQS8FhlyqBt4LxZXyncuCQumTZ3wEgE37Y1QxlIarLT3bTRQyjQLQTH5y65NH6p/Pz1W2K3yweEQjYLlcyDzZ3BbyCoo32L0sfr5lBEE5/GML/1CcQVsPgAqNR+3hXETQBUOyF+duVlA5NzVZ3aJDNiU4pzyYBzjTgPcOTKZ/DKdy1rg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 110 of
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                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 03 Aug 2023 05:16:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4992:ac00:b095:adb9:19a9:f7f1

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HKwT2j7fcC5RjgkKDzmg6nnYloexiColk4DLHmQB0pWT0wdHcH/WSBjh3JYNBILjEgSyA73HyjwsuGR6uEPnPPGN9I1ACuijzUraMYzqpnVGMcVYddmTqQtJ/xVw7D1/91wpiScWtNOw/Uqcor1yGbT/
   PB81sNlfwv9K08kZPpNgATG8mIdg6t3R7SoapQ2j6RZr1UBxgqA6TikRnYW4fV0SdMtnaX8nnVkzln8LB9T+ymwFRsS9r2XJ0Q55llV4Znjwwb4A5co8axxYuyJgnPBp4o1ioDeJTZfg2PQTTRzo7P1lW/iJHwxNgLFi40qk3xxTBI11PCxUAy3nWk0tsQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-03-Aug-2023-05-16-24-GMT.mhtml

   Hash (SHA256)
   4dece860f121b654478b06b35eca7a7d6286432ff355bd47d76ec98d3794330c

   Signature (PKCS#1v1.5)
Roq5/IxSB1hdQroS1wYK7dQcEU3Z7gWX5AJ4SWmvfCFAHuXWaFKRHJe2Y93clr23kTG0npjL7r1+8ok/F9GKg5Z0nYtuVxXCrNEYiofd6/+sSjr3zErxp1/KYzF2CVAGJ6Q/FxRC4zNDcAvb7wXCppAl/dd/vU+A5eSAiS/vgYl6qFzI/RkqvZv0Q0lNdxftnEJzmG/KXG3nmvXgcMJPmih/
jsCPuakLAemCHBiUvBUxn6pu9/BEyxCZhj5HZ7EMAgj2ReF47rL1SPIlSFhFIdsniQgi5VRKpKNjc34uTVOZbYjS7OPOVh0tC62/mfPH3ZO+rmNsGDTOrmDCOBv+3A==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 111 of
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                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Maraca Smiley Face design Colourful Key Rings/Bag Charms | eBay

   URL
   https://www.ebay.com/itm/295765073564

   Collection Date
   Tue, 29 Aug 2023 06:01:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   O4WbrLhyU3fQ2NkSXQ3Usd4b+xZjsS5AhqP56WZjfSe0vVaRgmM1Qy9c3kAH0HOZK4VKw1V5GnUOJrY5ImMaUCuVDTrnexMPV5IKddfoo6WQvyVrgPOudlWK2Y+l8ikSBKiaOShCOaZqCzq8X5zSuWPOk0IYdQ4I5MqSvnF3Os8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]295765073564]]_Tue,-29-Aug-2023-06-01-25-GMT.pdf

   Hash (SHA256)
   ce820055388065f137663bb2fcb5e90d038b5f202f4a48f32ba7053cfcc9846b

   Signature (PKCS#1v1.5)
MpYm/tOagQ48rY7oOE24LYWNH+2Js5i3RX6wUFsrd1NftV8rAEdj/Q+1c4rH+ElFT+ZAqG9EUJNeWfBMEaJzQAmlc0d3YW2zOSII94YPgf0O34tEO4/KupJaAKvocFkNt06qdlHXC/uRqFNM0a/XYABaCeM53yyzlZUETw0+HIE=
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 112 of
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                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 07:15:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Mear1AKLa+4uxLZSvNQciey+0Dx4GUENlQAofM5wyvQokIPRdgsqRqMiShTHAJqCUwKJ+YQxjQqLtqqwPiPFFIB0gCDhdtECCkw8qbnuhrylRL5Bqnm8EpwfXsl2XZNBGcwZYiiteswhIrLnWX/4ZI9fOBAMxCpzu+Du4r
   +lSe6djeJUFs2mwj8HhVFcaXCseyo21utdZwUlgBXKhe3O1NE0xC78qSZ4jR73zyfRoC6LkZD2pInBHOhj3kC0pKHp8+f/zL5G4kkUKCqYhD0LOBHLFOEZqc+W2X+sbnGIyMfaf6PHeNfTAMTY1/9EGH3crDptr/+cX4reJzW7mAoFEg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-07-15-12-GMT.mhtml

   Hash (SHA256)
   2c30f416cbc3ae11f8c0ed2ae51c0e91a523ce99973559f7222f1a6624f4d5c9

   Signature (PKCS#1v1.5)
DupT9P2K8dPsHSGwu+YVHPZigXj5lwf3gMfDy4PkGNW9FAkIIihsLwmgZRP0BFtavMtM26bq+SkAAC/p8Z7Q96quU/XHSiO16HRVYxADPlldBed5Ih65nItsy1DWJ/BHVtJgrD5R6Fg1/2+5uPkejGzt83NM6EZYdrgqGDrSYqHz
+9XtzIGZRef3rakTKONnoECci6uWpaaPjUJXK0uoGBMU4r3m8EEFbz1Zfj7UKoKlxao3i59P1ZLnQeeEn/oCb64c1feizG86DPHCK0qH1q2/i6olPQWWa+arjUlS0zw6IuzEIoyorB2SLKDCwL4vm033oFhJpva9BMaCYcckvw==
                                                                                    Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 113 of
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                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                                Evidence Collection Report
   Page Title
   Set of 3 units, one each New Shape Smiley face £1 coin Trolley Tokens Keyrings | eBay

   URL
   https://www.ebay.com/itm/294393966306

   Collection Date
   Tue, 08 Aug 2023 17:18:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UJuFBXRgZ4XetO75OkyKRztjs5gusIclEOb1pfCjgybBSn/ENi7VrAnTIjcvqlPQC8XsYW+FPz02uKnY8G1HLtgAGvJvZQXkYwZ3XdSPUd57nIDPZ+bq7AyU3+/19AsCDTW0akHK6G2eDzYxf1Qu0I0RIirNEzVw/4cWOLHT08oJEoRs8B+gkwj48IWwE3b03K1l64H9o8PHs8w/
   JMWA6e23AUBPOlSXvwWXH7BR5OpjOtZufiNqwJ//BWCM/FeaUUeAFX71JAm8RVDdpCly+JZezi57ozl+2A3MOeAWI7AfnPDRm4NuRGDuBSXIJuX80tTpMEsHPY46FZt5JILkGw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]294393966306]]_Tue,-08-Aug-2023-17-18-16-GMT.mhtml

   Hash (SHA256)
   79834aaf321d59be49f83750e983e75aac944ad6e7e5ceaefcca2e0ec319d25c

   Signature (PKCS#1v1.5)
DFPaW5pon3Ed4OALf1bHumJFOKLU7P7ghwhPs/JfQxiNFbp8ragUsg+RLb0CyLD2qmQjCNi0ws6olnztxXJaGp4q8lhavOrQZKc50hqTWUeahYQC19iiadOtFYOXZrxbR/
dqyVmULM6y1BLEbxrZ3KQAS50GxjYNtUg9NbZjQ154GSDj5efAcsIWP0iXDg03KuNAImJCdMb6wUdnGslLyg2JAbH95UBcTFDZqANvYZFXXGwobLsEzZWbDxDfM0CwvWJP6x5oqp76Zc30P6/HzZliO+vUYNB6a9WxbtVdVrBaYLhMeIMtF23A/9JPc2zLRfiXxrP4/G78qJtHTg1Q7Q==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 114 of
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                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 17:19:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gwAmOytayIGcKzLY0sJH5djvsaIfhI4lVOR9uTDB7KAdxKSrC9XZU2GGphBAXDgLSITDIMMx5czqxSRo4AW/U+UCvrdaCXWRIwlO37cNGCKcLHy4VFmGa6mNyySgmRn0sExA8vi+JXp7BhKOIcJWKI5Zc44qtbmIma78vINJoKDv9oiMzt67QXn/oDctTrbPqUUJH
   +2TYZrMbxXyEi5xU37vAXjD5gPiNJgh6lR85JoR1GExEqvpqmXbviUy2NvOvsi2gCWViqmm9RtNnAiy5xfUQKhNJih+LlN8vrvH/K/XIRqTGbqbi1QbsoF4VXgu32R30EL7WWtFTOtw4vug4w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-17-19-47-GMT.mhtml

   Hash (SHA256)
   4875028536236241fb4a0b488e85de50b81890ca189c2629d08e82841a3b44d6

   Signature (PKCS#1v1.5)
XgRtwhErtU30cnZBdutTukP7CWegKcr3ZYG5efPd735wXC17CPGnZknvyHN6DX6jYsSZua3crXbZsuA9ZY1ri7Xrb11JxFBSyrwXxYp7WZcfz6h4N67fkG1yOmeqzxAyLKG+ImxCXD8QfzNqADuS13L2rrI+cFSIX5znkdyqQSBYNnBdjKeIitYNu5ui
+sE8Np96tJCABLvDi5JTcL2aQWXRGwYXsLNbxCrW4Gp0viMD6GgdJabUhpG9Zq+J3ZbROHlBlrdQrJaUNSeUQ0jo4lpZIHol4zwft03kjeFN/XynCWXDoPgJPjTve9CEoPFUbcdtAC1hi6F6j1EJWZgTmA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 115 of
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                                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Aesthetic Yellow Smiley Case Compatible with iPhone 12/12Pro, Indie Aesthetic Retro Smiley Case for iPhone 12/12Pro Slim Shockproof TPU Bumper Protective Cover Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0B36ZBN61

   Collection Date
   Fri, 25 Aug 2023 13:36:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rFXr12H534rVGLjjqCFQhZZRnNmAAOvgCeyHrn9XLDQidq2yAQWfoSa6d2ItrZNj2Xg+GpFl4OtO0xmiOswDvAhL40OfBaG2g+hya1oqpZ/ReXe9i9cDP6BL1LUmyIyFXTcJmBmBrZZQSuQzaw6fmbrgjXE7xcl3VvA+ZGRy9uCkLABOSTkCqH3/
   K6Quw2MfxiF1A9jFVQibHIWHkthl1TxM3dapQ8VlfibCjrD31EMc+pdRlc7/XZHpl/+wFM6t+CXcayDsOQS2MgHibedvWu1thboQL3g7eoPq8THVEQMbFHNigZzR/xds/s+0eCsG2Qp+axoUT2gMgDjRpyUhxg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B36ZBN61]]_Fri,-25-Aug-2023-13-36-38-GMT.mhtml

   Hash (SHA256)
   787612bf15bae42a3650ea5c57f5c235a1a3f8ee046ccd39b06ef50964c96615

   Signature (PKCS#1v1.5)
L5EpZYzc0dcFC6aJVBct+SjNfmIo8uIc1j+DafGr0RC8AIcOh8uXco/RF6HdaBQd2etb6vlP4DI2iSNp1AKfXkjTgkZEPvHUVjuUzvGwDfHtCL7cvH7Qr0Ax6kV30HY97yDlSabBUHxNxpsLb7oYjaxDpjWsMMg8hM5zcmpAn0fK7kOPCd2m7J25Oa53WsXUBKe
+n4FywwHCDShaROeGWatagoJ9GRh1YIZjmrPO5FGARF9yG480ZjwIuzGUCqMQeeuBH5pD9P6wvMantjzNAysqQGtAbWygukQPrdvPJPktxr02KG/9EnHO8j5bY9IFy1GJPK3eBlS738z5+jtm8w==
                                                                                   Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 116 of
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                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 25 Aug 2023 13:38:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   yE78S1WeFxVCtXk4ta40wPgqjE79W30/nJ/hnYLb/cHWKtudAwOUJubVgsyPsZrqIZbelXjFadRa9LO1IkeNGZg+liq0i6LvktpgtUFx42GAfqkgl8XTT7ygeUYkv5/2Ojap1YS/sEL+ZYUBf+wJa3bloXVUvMHMfHJjKq+tzHSIXbgRXaKOKzCwzSZE64vwO/
   GQIFc3NbelrSuDOZkMltXbT161A048uvJNVITHgU2PMGyjZaOl2QcHVRGzDqKsXffxlQo0aPWBHgL0X8sJv9hytYOcu0eTVTjohBt00Yi8He++8cVV6BY5rUwc6KOPNHumqxtrXYXoCIa48DaV3Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-25-Aug-2023-13-38-31-GMT.mhtml

   Hash (SHA256)
   ac329cdb9a8c6e838e5a6235572b2cbc696096ccbfdf4aa0bac204bcda291b3b

   Signature (PKCS#1v1.5)
cWxIL9i6cHp7/hsP7aAFGt4wmNr96By2NXGH+bdwc3nOMNfcjjdY68xkBso4NCw0t+9uEBmhQRxFfL0vHC+LUcJod8Rg40p/kksY7uUk2BhDaKpHJ/aCLpWdwjRUhh4obShWLbP1TjClJI8bkfNpNhNVtq/ERYTLjVMU0bp+ZvIr9wQVbWb7fXwhnSXSpvpRWXZjpoA5zKC7h
+feGqbL1y5QpusNF0Ng4idA2m3xCqY//3ea2SMOitxkjztO5l6wPxlqO8B1737XC45coySpoy2MTRjzbHTEbWHlxuqqAmVm8CeRgg+LhlTcpViLgfahtwnzNe4bjZ1ZYTTBXvk3aw==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 117 of
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                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Fire-King Stacking Mug SMILEY FACE Green 215ml Limited Glass Made in Japan | eBay

   URL
   https://www.ebay.com/itm/403858139721

   Collection Date
   Tue, 29 Aug 2023 08:26:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bw2yMcdpXJsLn/NJTN9whW3Oc7RyzXU5iFcDJL02wbbBfoZtIWZUuyV5KS2asNpr6gkO9DJrc/JRFesowgGHoa20cdue3fTyVBlGVT4k2Gk2FTeAZ9JnemiznvVfvunvn8RUh+Xua2Nmv2ghaMR0BK1Ki1rL6lEo8uyQexeWEkBqXYMlzf4TV9TuCBdjHOdxopBeEkFTo86fvg6J2cF
   +PGs3X7hhCXDXjWSKNckmveprdtyW6vff6+cD5mubIL/FpKqzBdkBd6B7iv/v84fk11mLiCt7aWgIlzjHbihyqiBVM2/8AlR6Ucn8cQrBBfR1fkK3RLgrKywKBPICDMZOwA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]403858139721]]_Tue,-29-Aug-2023-08-26-30-GMT.mhtml

   Hash (SHA256)
   7606be1199e464b72ae9c664d4fad26bc6662726cf4e4cb2d5bd9b4b4ab74472

   Signature (PKCS#1v1.5)
Xs9hkULQQB5s25hGAibmpxvtND46MhIgfIJfvr1Hw2FXW8usHVUr/IHEQFTLvnWC+bwvuy1mErvk4Pcf+0zuOFMXjBWe+jBeFKughmYH3w6Lqc8SfJefxuZSrvPQySf5ljMd5gSK8QKWPcZTTWqVJtXjPMpeXESOjBY4OKlDq+Txv+AVz0jeT/VPc0LnWXYBwoxOaUE4HQy1o68nIFV/
TmElmvJ6NWEGarw0xZKXJCpBnPnfkn4OyoaesgeJuCNfAi+fGpdTEDg43W77pWjoQTCLO9QsNsBHlzs/lg4ER6T0ID38odO0rr1m+feYXzIqfWKEK2gmN35ulwf47Q1JrQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 118 of
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                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 08:34:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b8R+E62mxG3tgQ9LbYGH72ZJMMJdYCWKVfdGevuH1O5zDJHz4uspjmCP+qNwMCFc6Nt/CNDmCKwRVoVHY7JBqM8BBSKZddWyZPfPeUqcG+ZVsa14u7SYAa89CxW+lHucI9UaXDta7nIaeQRhPVbHzLEQ2T/SJZzm8wuMBFRfXMnBau1TaTA2p/
   Hhfz3a9x7rTFnfgFP5q7Fwj61stx/4h1wxp6c2a/WoFdv9fIxayE6jXrqhYt5P/4VBnZZO5cHlR3YgsR4hulCX6Y3hRbO23RzEYaZxaZrDGOxoBIJ7uX+F6+WZcQbmW+TDRlrvv5oNjx9Vj1lHxyLbhX3Sfm0k/A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-08-34-13-GMT.mhtml

   Hash (SHA256)
   477643d7e2b3ff2cbdcad6332b38b9821263d72a695c004e9368a71578792f47

   Signature (PKCS#1v1.5)
Vij4cq8vrltyd1B5AsWw/FDlMvJs+Jhrq/
YXKKFyL7ysVe9BbYZOkswB2xrwpgwQ37n8t2acvacAVhgRcwUEexv4hZgxMtE0Ao5ZbGVLHvR8WoLACgRedGuTxCuGIpoj7hKZ8xNxkre9C7H4Ouc0cA2IqnJR2L1bQ5qoUZW5Ztp4Co78y1TFV2vFcLyB8J3N5hf21hqGuUI1hBewNg3GABFk2Qx1QDPSQxqkbqqPdDsknL8e9nMOhPeUeXS40Xt
Rg615ruBJ8wqLExMjYKENgogi1O/7DhrG7OWv6uc2wEHGkzr8A5M/HVEeJgTHq+DMM0Dr6HeH+9zY/fzQ4hMxzA==
                                                                                    Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 119 of
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                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                                Evidence Collection Report
   Page Title
   Smiley Face Cookie Pastry Biscuit Cutter Icing Fondant Baking Clay Kitchen Nice | eBay

   URL
   https://www.ebay.com/itm/264271601627

   Collection Date
   Mon, 07 Aug 2023 20:19:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RZU5+Od8y0BWQQZaQRWjKrXu3SNx4PpK1/lOSgPuYl1dNk69WKihmxVq1gRvk8dZDaoo+GYE58mECJqQRtuHpIJtJWV6RTmsDL2PdKc2dQxf7uoY6/aAC/Tm7VtyaTwzAu09cr9gcFS2/bZR0hBfds/qmd6n9vbjJmD6E67MLyY5q2yp6ERYWtlcR+5UNNEJSxcefihi6fzTPyB
   +F83p9xwZvSnwYhgRJpjxRdR6SQsraVv84ubd80BL9DBTOqAh8RMjwvaObbfc9s1vYg5KMCk+F2u0Dx0rH6UCXBG8BL5H2WRtprzTjdacBcC/ihkRdCVPZZMJHGFf5z6rK9m+tA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]264271601627]]_Mon,-07-Aug-2023-20-19-06-GMT.mhtml

   Hash (SHA256)
   2688cd4ef730b1ded91e25a2e9311d75a47755b90a70f513ea51d23282297815

   Signature (PKCS#1v1.5)
RPQZjYu6l1yEifpEZG48VG/L850mIb0rfx9N8yPKZoPy4rrphk48tMl6hSrRdR1NYpx+jPwxuR7eteHaqrJF1pjhgY+v5TBzbKjG9hDoXGtQzUoLSlnLhaPxP3EjURv+fjYRxY72A4clQRRI9fuILRO6EVy3XivkVs38O2tVkqaREFLMb0wXyNRIPTA
+ec7td1t6SPGcgmo9Li23O0vhRpvTmkk9g2qfOEH7N6aOp43h64KZQ6RQJ3WUqzlSae4TH1aYiQXg1u7+wvPoEZmcnoVUkb00lSWh7rwdRni4HWef+8zhsTnvbNu892Ncjs+XIvhU2xM/QYH7+IGfVhET8w==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 120 of
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                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 20:20:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZF9UvLR8zfqyMGeo+9vqY+5qBYVnqh92u3wBpHoHoUKQ7QmtIRFCd2iRYlMljYpFpBqzdyUfmtuqtnyspVuVr8CAOBCLdwcXLjoUllFVznppCe9tqjSOyhIH2TCH9LlujKV+shfWcZ2VMBRq5bFnMoHzs5bSTwOynz/yS9zEHQHSt/eW1HOaJRDpPp2nYZnQbJjpu6LPk3x4gMiSXTPI5dSiR/
   P62krQH146PK/YnuLfMV/BmxZ55w+ho6pIG9GfuTHs0Vw7/1RUBz6RuA0mIGIfGHrNePudtQlDsi0kG6P3fbA/vd/nDLa/VICPeWmCtkO+LYTX50UPw3pq36vEnw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-20-20-54-GMT.mhtml

   Hash (SHA256)
   89a87212309d04a84251fcdc27b0a67d77dcd1dced77047eb4f765d40c8b82af

   Signature (PKCS#1v1.5)
cT4edJ3n9z4VQy5G6U+tc0wIablKWKvRYzVK8jB1v97dr+XROY/RE0dUGkkV1U3UDYIohpp1UghfygA5/3h3ojZ4tj20kn8Cuetk7o5VxRa7pXVf0QjTgNr3XqHVhCDyuXqKgubwdqRdo3MrdXAzSn9T9A5dBCn0A9mlDtuDSJayceXu6m4du+hOmYDwbG/
WmMipKpN2DtEJqYv5xEOe3YANln3M36LEqG6yPOxz9ZUesKAGyGSJkLfpZ8xc2XqH1IRqcqTuYdWTCEUGAGtNhZhi5bJTFwQqjhSGCsY+nRf4R4uOBtsFYghNpvmWh6lYOTqsDk7kjD8irjZ2n37HTw==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 121 of
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                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: HAPPYHEIDI Fun Smiley Face Corduroy Travel Makeup Bag Cosmetics Storage Zipper Pouch,Purse Organizer, Fresh Green : Beauty & Personal Care

   URL
   https://www.amazon.com/dp/B0CBDJ2T8Y

   Collection Date
   Thu, 10 Aug 2023 09:15:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.244

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   I5CpMY02RxyWMZM1opoBoDjkT81W+VK3Ye+gX6U2SjxXoK6spL+7ieTx+Ikf4WAFzCOqhUSUOA3VTkPCYBVWz495bfYpMv9ZyojjAHMeUSN9ktMMnHTowyt9459+dEzvEbzofK3VvEklqL3FefdqgZcpC4Q7IE7aWnQX7uMPedY04IL+GeIpEfb36rBkOA
   +ra3N6Rm42/7IlaMCBqTcazXambB0K0Aj5OvzJhSKavN1e5vu2xgEsrBAYzebBxmFMO+HlQwU+jVyXF6stbqwDGEwpgqjEOGb1HYNBqIDTJ5wRoK++KSfJdNADmCo47aOUoNK8vrSJB30ChzWHpvQtSw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CBDJ2T8Y]]_Thu,-10-Aug-2023-09-15-16-GMT.mhtml

   Hash (SHA256)
   bb9d4180b30b0c584f371d1454dfe4716ff24ab9819c75ce5dd210645a05cf85

   Signature (PKCS#1v1.5)
UUwOW1+UaZXfjkzZ16GM+/u2Qbm2X1tlFNzq0gKZ2XPNKxsoDUskanDv/f6it1X2xN+tcSB/iBUOVfr0nPhYRk+rNjXeUvgN4po+wJAVG3LCAvYapxcLkkd/iP/3BhFKlUZW/yi/AqfYqnN4Jtn/cX8tyKQak7bSVjF2F5HXqVteKPVG8ngHW22fLk
+heiJtNZOt3NH4ohSGrluDkro08GveZA5VLP5WFs7ivOliC4NnImiYuP61d5vc4lG9S1S8D+btYCYCccBGHfWrwqbeWLol4l6oxWc5Wvxekc1RITxMH6S5xr0WQq3Sd16NUc9vcIAY6Im553yXKQGa1Bl/LQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 122 of
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                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 10 Aug 2023 09:17:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.244

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aeZF5RzzZ8Tof5MFIqIoB5ns4fPk3ZcsqpQEAQM43JPkHC+KP9r24HgzO28ArOGm068TsInj551woPoDSfLb+Z55y5tTAIXYW0NdkZXBpxRi4wp7oacsKdtOW4MunDm7QQj2A0g2JmMqeUxXWRgC8JYZAtx4H9saV+QLkM4q/EY/zBuOZJWwjxWfek6JmTjtX76kjXE+/
   MWxKTYM1P7210OOIVxqNXjOLbtfNJj8snfDG0NtshilH5xDD9BSvM5IL2c4gmrpYZVbqWX1kQ32qTchvMJLuCcjzNBMwD55AoUteTMhlV0znIoR195wLQ6zfmvDgMRjdunYU1f0cSzhQQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-10-Aug-2023-09-17-50-GMT.mhtml

   Hash (SHA256)
   297a5fbd4a40c1fe1bab79150fe1fc355221d8f9b7d7978100ac2d6469ba39ff

   Signature (PKCS#1v1.5)
dkYukqbfI5+gubk6wWMNhy6iuAp5R+u3rncvZ1zV+EmwSskAsnDEcP1kkRTRyNujAIfGuBDTeqRwdnWJFN76HiNU/5wtJ5aoyHiHVhOHGTnNjBL9AVx9Eb+SbNcUuFFzceUFNqHK87hzn1rky826tjqf3PD9c0zkHJqMxEG/
phc2qXmcCE3km0h8hesYUN7RUjB2cmuDF6wywgB7Dn41k1zogpG6Fq9HrPBzGlJ2f9GvrBtrmTxHSZwQaT3sQbbwBOaQk/m4t4Cil4Xl2FfDcmXVt3L3SFt3h3VAjnZrUuPxQD1W22CuKvcOcjCTD2YMCxwBEDjDJEJC9VET+kq7Tw==
                                                                                    Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 123 of
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                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Smiley Emoji Logo Patch Iron On Sew On Embroidered Applique For Clothes | eBay

   URL
   https://www.ebay.com/itm/385542082037

   Collection Date
   Mon, 07 Aug 2023 20:10:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R35nCAwmUVkB6yks7uehwujKa6M2c0TKB5mZxLAKNarw8AK9oA/LUXdqmcViHvZLvvLUjRrtrGtMYjAbpwX3s/uJA/qRdbTA+bNzpdB1gV+W/HgGmgzfazkBhHivppbnpttTvyxyLnueNwntAdm5dkP4fDt2NRL+QhLiABCHH8P+DHe+VY3lTnNrc4dnOX1bpj0O+Op3srPQ0YU43gxUe/47STF/
   pumCble2HFUn6DICZBJF0VqmdlLbl6uTAwHqYe/oxx2dnfZxa2w/XMAO9ikTkDQxHkkjz0cXxLCKgLoA8mtFLJz6f2UcstUIgz2oUFOKj9xKIOF4MeD5OUaR3g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]385542082037]]_Mon,-07-Aug-2023-20-10-27-GMT.mhtml

   Hash (SHA256)
   10ebedb9d02740326f9b3449017dcef4367e1fc83c2c1964ad196ab519fa6d04

   Signature (PKCS#1v1.5)
Yz4Dvk7TqodYrUUKCk0D0CNVnxO8wl64CJIjDRzTCDv4AmKY0kKJF2ZOZKt0zO4sXMYHO9KQyHgpbXvqS6SiIEjqHbX2wCbrk7Hx3x0fFYwb8j2EUrromntR3NRv3JR7nXpVOP8bFPDaJgRvKKrK0N7i6lpeHHexWWs511DW6l+s7uz16HPaeu2I2X9/3W1jb47OxLcIXEPg55W7mutQ5RaL3vewfn/
QpxBri2zbr1pxOYOhqVeYzgqbJKRLsLcXhSl3ZAYSPZjbGNaM8JMVYpJjDLpHZGgBGYVuALjZIj9pML/JzRdqSRQPzK8C7yxZ5ijdM9q3rsQ23CyXaLTW0Q==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 124 of
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                                                                                                                                                                                                                    Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 20:11:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d8Zrm/s3YfCsggiI66OJXUbe76g82Wrq6ah4SyYwdLGjBOr57fKiaVMxcsr2OTNanRfloc0p3LW56RBrLPKPvnIQMsjJph2VPiE+89BoJ8/ZsqBT1S6lcsEDJ/3La2vTbVtQeCIzr7opQcHDQ+ruGp6i81gweCwjmXL1jITsMtjenRGR9oj2eMSp4i/J5flgZlP3lJx26nlynhm6jtuh/
   gJ4e1ISJ9KflKKrLmK2MJhiG2DMkp6bYWYPl7k8SPt8EjVt4NIWR2fi1Exz6NFZu4xvysqTzU0iu/HZOWL2dl1x/J10+jRxP4An7bqlsAmyCbSRmoZ+A+1LmVu3THScnw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-20-11-25-GMT.mhtml

   Hash (SHA256)
   541a60bf8e8ce7054ff34f6f4878554956de0e19413d5a5825ae91a7e6fb0238

   Signature (PKCS#1v1.5)
gRmhT+dr+jdde4UhmiiRb/jF69AxmGbiSP8b/xGld0TqPSaZob6Lh/ogKf/T5T/8pTQvlCOsZ0LYPUG1J3QH1hOk4vZJpORu04vN+Tv/3xd2lrc7ZAWrjnb7cyXKj8wEDZOYkpsMb5D74/dq8V7mGUzQM1fIbsfM1Ttu1mOxUNWdY6pRhAnbzJJVNaZC+do6tvq+4iTda8/lDJZ7N7f52/kam1b/
r58PEtUTyOBN0xsLjXYcO+/K+o9qYkXtjfCjfSC9cN5y7Nr1ILdAwJtxCYsfKEDC6BzSueA6HN0xZelyNhpDXcAp6ohTtSoxKGv2nnaSmQtLmAbSrbtNSnS4BQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 125 of
                                                                                                                     134


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Smiling Face Smiling Face Silver Keychain Metal Pendant | eBay

   URL
   https://www.ebay.com/itm/284488226027

   Collection Date
   Wed, 09 Aug 2023 17:06:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LVjYk3XVeQ6Bar93WNevTJQznftkgTA3wk55vjAzQJ7FFHbClPfwQmiwYutJnfKdA297ctUdv9IjV6a8d1DVOFKPSVF0wiY9ZraNTYxCLKsgHbOPvNOPMUqFrLRDi/7yuDqVX5NTFlFj9Y/2sjHAe/DtLzB72Bm7BgzEW9bp6F+gEO/
   Yi4QBVnaoiioo00LQCLVhI3Rlw1BG8OrRyVvkspTjOBB8LkV2FZJus5ryOcqYI+f8JgxhDoAOScL0imMZ/nk8fIesE9AZeF7vI3FJD17/6VH9D2th18SaGtEhMTVpuRXtXWkPTk1EjZFYrLMPp7nJvWUl7dcrzpWXeG9HEQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]284488226027]]_Wed,-09-Aug-2023-17-06-41-GMT.mhtml

   Hash (SHA256)
   4d17a5b9405e864cf74b54be74497a4e0c3d1ececff9b079633c8b3f8cda89d2

   Signature (PKCS#1v1.5)
FD+4/t522As9ex5Ep9DEDKEtvtFbzEw/NnHwtGj1PhzApqIOXMgCKTeKY6LA3KTqFY2eu8q4AWgTrkybSAYGv
+0eXVeCgpVeClmJkzFytsNOLZjkEnPXcRolD9Dmx062TgBqWIAkyCl3gNsEPGqROIMyAKArrh6XSQ4sHTbvsNjhy0BkJyctAAyDlKbU2wUFbfc5ToTNLlyzWWBOhL7slyQhsGHL5Logu9sfmLoQOOl6qP7HgrrWNOlvUAMafWnQNUETS9cyLB67naYuOJ2qS33qqoBRWIBZiBFrzBCeMxIIaIvGGxYO
+0BBdqg/c8xb/g3pRR0kH9cYS+nADhV19A==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 126 of
                                                                                                                       134


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 17:08:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   V129GANhVMmGIRrIE0X95bnie15B0UBNoH7pJ2RBEvfDyoEkTHe/rLQo5rTZ1IgacAYZOkbzUh1yiohuGmWLFxHaQML/MUVv0GCEuJE+I6SKAYXVYkSDDlYzwvoaHcEPpz7a36CuLNKV7b1WYWpJF+0nC52xnXbdOCPlboXgsWuFIyvVwnTedM7PWRzP+hTqeHPvMX
   +obxuOxEBXZdPB6TMuHEQCS7usLx/I6lebwfrClSlSwA5BTfojh0eIoDHCWt7fMnEHTmlo3cVc/8NXqoM9xhW5OYUUrHDjTCudz+zRoaOsHEgX2h+GVKtAsXuh771Y8NooCR+mflbXf0lqNQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-17-08-20-GMT.mhtml

   Hash (SHA256)
   f45c548b2a5790aa33f6ad60460f01b5d5b2529b97d007196eafa53b10452887

   Signature (PKCS#1v1.5)
KSbSuEnF9L7kYEpZswIHko5a0lrM7zEOIwwZn3WLtzjwJSDK1mIsK1DQAv5DqDGnwR8fgI0RoMBCDpxoxz0YujwPag0IIHcQoKNjJx6RJ9UN2DAU8bTLP7AoWvnoBVUbXUviDOGA/3prXVnSbpKfompz+DckQR5HNt60TT3ZOMemLbXeUdyBHecWdIwKxiLJEILM5jqxwEqaLjz1xH+k3wuEu/
J5Oyi6mIbMRG8y3NgJqhWUnRhgjDVJhEIVjSGIiSWeQrdywcozggs6rmCkl36z3GHawCIAULejVUaDGiLppS6Lu/btQaUFMAl16InjmehhzqDaB6kr5alSx4Xytg==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 127 of
                                                                                                                     134


                                                                                                                                                                                                                 Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   smiley tshirt | Wish

   URL
   https://www.wish.com/c/648c70475ffd57dd252746a0

   Collection Date
   Thu, 10 Aug 2023 08:58:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IWT02CfJ+G8lav8SB1Qkypr/RfBG/zzH5SeA2wQD14elY2AjITqvLW85ZQzXf/58C1tlhezWwqyD83T1xMIcHFh7zkqSREeZINsmCQcjeNvi6iJ69mshOuTE+xtuZYI8UJQT8JyCpjwHJHgDnFFVY5XuszCYFa+cu8t8bGCuR7Uzh/y04pwJgtrfRU/hutaLrlunQoVt/Vyk4UQh/1/iQS/
   kJRQyFUmLAUMN9T3lgQGjR+iIoPfFqrOv0EtLmTm5PfKsSdDKyeD8piyLaA3ZwUFh65wnqDA3MFqhy3f+yxPC7DRyWjeuLPEac6uPV5hXwzB8tD9mo9SaL4zVJqG08g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]648c70475ffd57dd252746a0]]_Thu,-10-Aug-2023-08-58-25-GMT.mhtml

   Hash (SHA256)
   d36fa014831d6516709b3be13092d90a2aa3f4b00c3865e15fd5df54ca3f5f2a

   Signature (PKCS#1v1.5)
ep6VLBTc4epADGRKVxNTwX+5CoLKaSWOJIy2+E+PzJ2Q12C2GsPJrro4W/5AHXpwmrjJ+lkDCyLNE/CrjqNsq11UEE5ginHiozz9ktopuT5zxUuFS0NxUNYcFVbnmY1yhs3343vykuz0IwDiKAFqI0STQP88bMH/zkR0lbFT/tBWPZXdByzj5IliAHjfgZgVK0JWq7WJl4Zo1DPNYx
+WWmvn6h3I6QbRQOYtkEr3XpDdosZXlEPg4MyRnUUIkoIzWFjfgelCQ36cIu4OxgheCdQmicVDRbQ7o21/CYPM8SWeoABh8ZvCD+wJ3ioH1RcPA89xq8PDv8Kgod6Zk8Spng==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 128 of
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                                                                                                                                                                                                     Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Thu, 10 Aug 2023 08:59:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QI1MfK3G00ZanvJn8kdDOoeKZldGGoquQaVKik7FsGRN9SAqBRh5lpkUeBKnavoBlBCvZ+A5RhHxGrzZ4uga6WkPgsMRHyMyG2fHcqvEoi8eJthXtub84E8PmiUo6p06EL82HPC7+TkD6tUUZsY2kmMtNStoJah503gK9s6JflWRbG0HSJ8U6FbbNSf5XDK
   +DlwnSLlVqAYtjHXrBm1eWIVd9d3GMc4oG3O3Ai5KeX1LA8xRr83zIKJyNR+LQAD/NZlR8MBVIEFsHqPgJ6v7DgFQ30wvgea+zPF5I4Hld5RdV/VfAwvQQVpPA1UeuKy+DvAcdrCpenfN7xQrPK4t6Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Thu,-10-Aug-2023-08-59-26-GMT.mhtml

   Hash (SHA256)
   673473e9e440eccc8b0e61435d0457d4c40e10adf3e9e2212e251928ca5f2e90

   Signature (PKCS#1v1.5)
dlAbJsW8Hki8MW5Sgop83DQmFVhfOYQ1h/MfoOw/I+ocWqiYaeNm4nqCtam307/Ara/fQ6QvmuW+r1d3ONcCWJ5bTi9+8WszqvZHo5xkrKLO/gBsRVGpWVJaHFgIuKiGbksymsWCBN5hW9BPPuaKUZG20D5d3t94DWImlmZVhu1yOtCb18UFY0OF8yFLiMwS/
K/9rvdFpgXAKYosYBXspwlNN4TnSUCLp4gW47Vl3W4VrfghSiOCxMG33ZNmNUNIDLy/uiu5AwrC2FG8afd6MFBHL3s42MSHDL/Qe2ZKm4qEelKiRzQCB3VJwyZUAoSz8aid+MYvak6hI7g/PBRxtQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 129 of
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                                                                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 13Pcs Smiley Face Iron On Patches for Clothing Glitter Sew On/Iron On Patch Applique Multi Color Smiley Face Iron On Embroidered Patch for Clothes Bags Hats T-Shirts Jeans Jackets DIY Accessory(Smile) : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/dp/B0CBMMCKQ8

   Collection Date
   Tue, 15 Aug 2023 06:50:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   H1uiHIbDJjcTtfpS6USG5oN0SCVYKNXHIfI/MCz0QTAJKh/gg480oKStZ91ulz/+l+rmXw8S4c41cc0hz0/kHNcCdJyGoKkS//JB8XQiw0Vn0gnGZPd6nwLrGebUU3CsDEeTxVINOFENAdxUF/nkP/zsjnX4B/9suXIMkZoyMEBbpI4rb6M
   +pu9TLMzMUoHTUygno6sXlhJYCNtUauiipyHoU6Ng90DHJO0raZPphakfjCfH776B6XwzHJSdfXtw+uiI2HjFVMH6LZ4DyFfvjpHcylV4weDlLIDuj40V+rVB1HTvtNmDitmS8FKCMGBFn7JUnfx4d4wkkpTMRt02Cg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CBMMCKQ8]]_Tue,-15-Aug-2023-06-50-52-GMT.mhtml

   Hash (SHA256)
   80191e0c59894d7bd9ca7a96eb4c994eea041808c5f8e50b44049234ee53fbbe

   Signature (PKCS#1v1.5)
zcgpzSP1ClO4W4NWiJQN0ME22MVIeS67j+dXhs2STKUZhVdzx4Sgr0FU3jmCwkqyPzeXn1NvsWpHs2VKVGtbgky2i/+BD2p9B730U5LVHjg1C3h47DXNe89tEmQQJjWJfbHu1m0kLrZnDr7i21OTMQO5Lihs9vmCf7tBn2Z0X+7VKCrYq2OzLNnWoT67ZAiLL0uWZiQi+N7SJ/
ZuSM2bmTirRNoLmX1jxqXl+USyVmH++beLJVRYeChO+6jmwyt7ViYZyY7cHKRmQGWlT6iJQhB6YyII6fm7rj9wgDlPBDmmQHoXg6RO5FkB/PvZIZ9JuH0lTmNz+f3ywWDH/12f9g==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 130 of
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                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 06:53:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   u8UUcd50As3P/BNgYR+erAltNQ/Svs5oVQoHwhff7LEiwIH5xp1oo7xAFnpel/bA7WDFo6EN3aU4+jmu1e+y2HMXeMO2S89dgAdmm/UyrJZRQIklEAaBCBLTzSHtxhU4HY1F+xu6cCX90h3rqkqmm3bZYWziCvrFxY+8m6xmFHxQU4D2Ybjba4hRnrwF/hpClBqWarzbOxqXkaGO/
   +Nrdg0Pp4bM1Z426jpwM1VktWIHhO8pIBSc2rhjdY+UKCy2DvvKn7x8oOTm4SQNytgnMVxAJiQ5svQmD8+G6VImxxqtTRAtUqR3tjZh0k7mjv1AI9C63hW3OYtHOVZaab3WGw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-06-53-25-GMT.mhtml

   Hash (SHA256)
   0e0ced146f770eb92bfc254b80ca3a203aab9bba8a9e2b699d53e16782ac557a

   Signature (PKCS#1v1.5)
P4Ui+DguJbLOM+8GoP0V3pvvzVFMMY1bWtDFQ7zNcVc6WH8GnSQ5weCHoGYbnnfOd/L8CEFMvKD+O9ykU699zW/3St+vpSbvWNuoqbM7mFPP6sU412ZJ5ekgZEMZoGHpAQss77lLw/wYuIHhNzrhSfPrB/uLb3FeqBbSFyqOcyt/xjer0R+ocbxI/AX6yENaNU84R1EFv/c/
RHbOebY8G2IimqYzTIdogsi/BEEqEORrSsKFHFFhfwTGkpT0tq3FYSW1oDtQ2FVVIjU43OA/PcJCvFuwEJ3DI0zDwHnwh+El71VAVuMLcvLGbR5mErQ1SPKQ6XIxy4iF4/BsdGrABA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 131 of
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                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: SOFOC Round Cute 925 Sterling Silver Yellow Gold Over Zircone Smiley Happy Face Pendant Necklace for Women's Girls Yellow Gold Necklace… : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0BRCVGW57

   Collection Date
   Tue, 08 Aug 2023 05:15:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TV4ECv1QrmxbpKtE23O+DYKV++EUFikN8l3Dsxfre5u75ZDe2F3W0lf1fJuJXaN9//0rvL5raHlRYE3edktQhEnHim9qoUDnYML1Rd9g2mCw7scXU/4esAlFzzCycZI8R/ZNarjWH2xfro7sBdCHoIzhbWd8aN0tnS7LJ7yNdlMtVOfm8+EPLK7qxBBN9dzweXfVe6pkcjHGc
   +Q3hAQaarKBM543jcsL6VoriwfAr8f+LwRLTvj0ewO/FUfPld+v9pP7YeSAEVrrJ5z3FyLfijcRB4YQCYiVNx6BITNWxl1ehJ8gTg3Ah3vqGFHLu0Ziu51kN8o53hLRSfWNG5SN0Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BRCVGW57]]_Tue,-08-Aug-2023-05-15-37-GMT.mhtml

   Hash (SHA256)
   a245b3b4be5b048f854ffac93b72bf417374baa1a60ef54c3cb3a3453cc8602a

   Signature (PKCS#1v1.5)
P6F1WfByY1L/bbFuDLGFb/re7H6dFJutmQ1Cp3v53BcKzoJ3uu83CkC91i/q2ZaD5dubjaA9ykVYFsu+xUBwuqRORzCjaTVK6Sc0cbA4/LlSwCNJt+3QPRxzmuNXbsdybd6i/BkYc0zpPuAOCsvcTGj6QNLEQ59Bs2weOZCvVu3kKk3/
i44vbd6C9hIjr52SOMRYkFAwHhU9Qq3d8L9wPoXZYLSEGiTw514DjfNLzAPqY9osg5Nb9PNAdShu342lhqzioip4EWk2qvm6GCweUHKKg+zHxroKQwUWTsFznc5VWp2R7Mps+bN89/UQ2OxCFXfvFmBRoH3WF+wZxJgU1w==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 132 of
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                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 05:17:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Xk1JXuxtlG0xNGHKyj1JQwxBDQ9Y4CxUH+VbcwFF+KtY0E2Sld+ZJhNhG1H86ArHLBEm4ZmvIQzcpt0QAVAqxl4a63mmTS8y4NfaSJjqN91v9k+4s/cbSh5kYFkPl6R5XdD0FtzDDOoQ/MSbhBbNti9Te5S
   +Gfb1w94n/9iPls3S6HwpOyM59EUx6j256bysFsrSTXh8OdR498OAlNehqmP49pE0zTl2vjD0ZfFh8kp9H3z7AXeCVgQvQRc6Z+d2Nc7gaghEDcKKSHMjY+Daalo+B9OF9bCZfB6HFOz67gy+GxcZhl8sm9TZA+xflqr1DnG9nNjNGEnY94h3XNxEww==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-05-17-10-GMT.mhtml

   Hash (SHA256)
   75ade7b37f60ebd9931b78094571ca34f03cc93daf4717cae3f08b7d3b84bb35

   Signature (PKCS#1v1.5)
jw1QX493d1YWHyKJbxn1k00NMcZ9beW7pV4CbMEXfWeUvL9hAxEBTwWtcvQGd/Bj4keXIPnnUhtevqRCxGuGEz00xRmKXUAbenVqh/Llr
+FOa4slgFyXMGBVtaAkN1DMyeJ9uZCEkWJiUFo2RCZZBfVCHijtX8VH/5+NISoq4KidTmyAuODxYK4EWloXYphYb36X3gv2+uo1b0rnUCrfpVFGOmN0BZtqi/BO7vygkForuw24Df1vwm7HevBJHy4joSMPqGK6TQbcEJX7dVAPbRZh7Oqp8DBHVGC5I/5UO/bQcEOqxaw4Y38vJ0Chi
+BAoX40E5f57Hs4vYlWR/qrqQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 133 of
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                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Fridge Magnets Memo Magnet Whiteboard Notice Board Magnet Free P&P | eBay

   URL
   https://www.ebay.com/itm/166039387232

   Collection Date
   Tue, 08 Aug 2023 15:30:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.65.0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MS9lbvvz/JJZ9wEpxNv5fh716DpvEToDTDxQBHLRZSIi368o3upcyS/nTn5d+G5cba6gSlJzTZSJ9gEDA7BR26117lY+fRTmWT82qzOO8GGgyDvLZOGOl83CfXEtVMGjtFO9nKHNiODvBeaP/thVT+QIS9gmAqTZY1XD/KL5ScI/Vxq0ks
   +k3jacBCqt3uSYQ9gqGmtbrlhL1vLCNC95ypRJ6KKfpx75jubhgriZJGUBTg9kuWotwPva6PJQN5jZnQrCcGDytJP1Yeu5eWjIy5KH4g8w1yWEIQBr5ZKizebPbKVpwQehuiwjJMoEgXpkuLcXcZBpgZtQ7Nn2b7kGiQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]166039387232]]_Tue,-08-Aug-2023-15-30-21-GMT.mhtml

   Hash (SHA256)
   3ba7a2012b03d7aacc537f019c90aa7626b4657e2478e92acf7b386f94a4b7a1

   Signature (PKCS#1v1.5)
IOeKMycixLLeMHerWvvE3ID+45KdB4//wZOHjnPM4bHyuQ70NWqm53eDFB5bHGUsW9FLAFd+UXKERVCln9tp1AQl0hb//fKlRNDjH0V4/bmcSdgdT7c/u+biYvgPN1ghZJTqW93mQKdIJSxv3ypga+Q18ZbLXcOFvX3xSOj2nUR6GTVSf1uCljO6pmXP9VX+O5e2sho/mKdW6q4/
TpIk5vUkq6lv7xyRG092ekZnEue7aGDav1jANUj+LWU3CSwljkQ9Gu/dme4FE3+rV5EArensHH0P/+aFTTLRiYabDi0i0+hyg0DUZ/E28Dznn1LyhR7Lh0jNaRa/Tn481t8rpg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-8 Entered on FLSD Docket 10/18/2023 Page 134 of
                                                                                                                       134


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 15:32:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.65.0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OLK/ecXpJeh7atPiokpzMLsGZTq+mu8ahqJI7aiH+QyyI7WKs+/6FRnQN4Y7/RARj+LE0PIm2bHdfoZUEhzna2VzhhrXLGkprdpE7EuAb3slxhF4wll9D1g5XKpovaSagFrFl1gOmyNqmHMILJmrd42+BjfGTU2CIGO25K8Dfa97i3dqtL1A2UXuMFtC4+U+vYqBBaT/
   jXePGtyOWGgjBGwWk615vXa3iP/W/bTzzGqn7dHyHe3OLZ+cEIbVlZtriyc3BtOK2IZtjuCh0btD9OOrhoEidY/QAC5xd19EVhMtNh514LCvMD0ouPRkcYE9NOV9GJPeKRhsnXKxZQUeXQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-15-32-25-GMT.mhtml

   Hash (SHA256)
   1e9e3265de7d4f9450cb7c3168b04579e814a33196fbf78468feca1dd16a79ab

   Signature (PKCS#1v1.5)
V1sPOAi5GGvMSND1F+nU+26RS1Qhe9NPYoMRLeGQa2ZSpEQqkjF0vHmC2UbQj6+3ymQCxZeaJVxJbNr6k5Aby8Eoda3cgaqDp0mYTm5qR5McLKXoC21LnPFBJup4ZG4hpxSWlxBffmRyViEvHrx+JVrnR26WdBCcIGW/u5Ue
+b2iwbTYOVXse72AVuHEBGOrqGiBuTSYhOCyJUzBfRVFdwlKBaSl658wjSrKMq4OnnlC8d4pF3eKG3EyJIQWuiH+wwfKAZlmvCYdxIR3UdLV5rJ3xg9okkWCbBVVZK4u0dYZnMCi/hxgIgIOtb+9VfwlTGunegZHX1BoBArS+9cXoQ==
